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                             CASE NO. 23-1268



              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT



                    PANOCHE ENERGY CENTER, LLC,
                                  Petitioner,
                                       v.
   U.S. ENVIRONMENTAL PROTECTION AGENCY; MICHAEL REGAN,
    Administrator of the U.S. Environmental Protection Agency, in his official
capacity; and MARTHA GUZMAN ACEVES, Regional Administrator of the U.S.
                  Environmental Protection Agency, Region IX

                                 Respondents.


           On Appeal from the U.S. Environmental Protection Agency
                       Permit No. R9UIC-CA1-FY17-2R


               DECLARATION OF ANKUR K. TOHAN
         IN SUPPORT OF PETITIONER’S MOTION FOR STAY


                                            K&L GATES LLP
                                            Ankur K. Tohan, WSBA No. 36752
                                            J. Timothy Hobbs, WSBA No. 42665
                                            Shelby R. Stoner, WSBA No. 52837
                                            925 Fourth Avenue, Suite 2900
                                            Seattle, WA 98104-1158
                                            Tel: 206-623-7580
                                            ankur.tohan@klgates.com
                                            tim.hobbs@klgates.com
                                            shelby.stoner@klgates.com

                                            Attorneys for Petitioner
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      I, Ankur K. Tohan, declare under penalty of perjury the following:

      1.     I am an attorney duly licensed to practice law in the States of

Washington and Oregon, I am in the process for applying to admission to the U.S.

Court of Appeals for the Ninth Circuit, and I am counsel of record for Petitioner,

Panoche Energy Center, LLC (“Panoche”), in the above-captioned matter. I have

personal knowledge of the facts stated herein and, if called as a witness, would testify

competently thereto.

      2.     A true and correct copy of the draft Underground Injection Control

(“UIC”) permit that U.S. Environmental Protection Agency (“EPA”) published for

public comment on April 12, 2021, is attached hereto as Exhibit A.

      3.     The draft permit dated April 12, 2021, eliminated the “corrective

action” requiring Panoche to construct an offsite ambient monitoring well within

100 feet of the plugged and abandoned Silver Creek 18 Well, which is located about

1.25 miles from Panoche’s property. EPA eliminated this corrective action after

Panoche presented additional evidence that its onsite injection activities are not

endangering underground sources of drinking water located at or near the Silver

Creek 18 Well.

      4.     Yet, when EPA published the final permit for public comment and then

issued the final permit, UIC Permit No. R9UIC-CA1-FY17-2R, on September 30,

2022, EPA included the same requirement—to construct an offsite ambient
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monitoring well within 100 feet of the Silver Creek 18 Well—but the agency simply

re-characterized this requirement as a new “monitoring condition.”

      5.      EPA provided no evidentiary basis for its decision to re-impose the

offsite ambient monitoring requirement as a new condition of the final permit.

Apparently recognizing that it lacks such evidence, EPA now appears to seek

information concerning the mud conditions and underground water quality around

the Silver Creek 18 Well—again, a plugged and abandoned well that has no

affiliation with Panoche and is located on property that Panoche does not own or

control. After EPA decided it could not obtain that information by imposing

corrective action on Panoche, EPA instead seeks to require Panoche to collect this

information around the Silver Creek 18 Well as a condition of Panoche’s renewed

UIC permit.

      6.      Panoche has challenged this offsite ambient monitoring requirement

throughout the UIC permit-renewal process. After the final permit was issued on

September 30, 2022, Panoche petitioned the Environmental Appeals Board (“EAB”)

for review. On May 26, 2023, the EAB entered an order denying review, thereby

approving the contested permit condition that would require Panoche to construct an

offsite ambient monitoring well. After EAB denied review of Panoche’s petition, I

twice attempted to engage EPA in discussions to negotiate alternatives to

constructing an offsite ambient monitoring well to address the agency’s concerns

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and avoid the need for further litigation. EPA did not respond to my outreach.

        7.   EPA’s Regional Administrator for Region 9, Martha Guzman Aceves,

signed and issued the Notice of Final Permit Decision on June 7, 2023. Id., Ex. E

(Notice). In issuing this Notice, EPA lifted the automatic stay of the Permit’s

contested conditions, concluding that the “contested conditions shall become fully

effective and enforceable . . . two weeks after this Notice was signed,” on June 21,

2023.

        8.   Less than a week later, on June 13, 2023, Panoche submitted a letter to

EPA requesting that the agency stay the UIC permit condition to construct an offsite

ambient monitoring well pending judicial review of the contested condition.

Panoche indicated that after the UIC final permit becomes effective, on June 21,

2023, Panoche would challenge EPA’s final decision by filing a petition for review

in the U.S. Court of Appeals for the Ninth Circuit. A true and correct copy of

Panoche’s letter requesting a stay of the contested permit condition is attached hereto

as Exhibit B.

        9.   On June 21, 2023, EPA responded, granting Panoche a 60-day

temporary stay, until August 20, 2023, “to allow [Panoche] time to negotiate access

with the appropriate property owner(s) on the location of the newly required

monitoring well,” i.e., the Silver Creek 18 Well site.        EPA further instructed

Panoche to propose “alternative location(s) for monitoring near the abandoned wells

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of concern,” assuming Panoche is unable to secure access to the Silver Creek 18

Well site. A true and correct copy of EPA’s response to Panoche’s request for a

stay, dated June 21, 2023, is attached hereto as Exhibit C.

      10.    On June 22, 2023, after receiving EPA’s letter dated June 21, 2023,

Panoche again reached out to the property owner of the Silver Creek 18 Well site to

explore his interest in drilling and operating a nearly 4,000 foot deep monitoring

well on his almond orchard. To date, we have not received a response from the

property owner.

      I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

foregoing is true and correct.



      Dated this 23rd day of June, 2023.



                                        /s/ Ankur K. Tohan
                                       Ankur K. Tohan, WSBA No. 36752




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  United States Environmental Protection Agency
    Underground Injection Control Program



                   DRAFT PERMIT



   Class I Non-hazardous Waste Injection Wells

  Permit No. R9UIC-CA1-FY17-2R (the Permit)



Well Names:      IW1, IW2, IW3, IW4, IW5, and IW6



                        Issued to:


           Panoche Energy Center, LLC
            43883 West Panoche Road
              Firebaugh, CA 93622




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                         PART I. AUTHORIZATION TO INJECT
       Pursuant to the Underground Injection Control (UIC) regulations of the U.S.
       Environmental Protection Agency (EPA) codified at Title 40 of the Code of Federal
       Regulations (CFR) Parts 124, 144, 145, 146, 147, and 148,
                               Panoche Energy Center, LLC (PEC or the Permittee)
                               43883 West Panoche Road
                               Firebaugh, CA 93622
       is hereby authorized, as owner and operator, and contingent upon Permit conditions, to
       operate an existing injection well facility. In April 2008, EPA issued UIC Program
       Permit CA10600001, authorizing the construction and operation of up to six (6) injection
       wells (IW1, IW2, IW3, IW4, IW5, and IW6). IW1, IW2, IW3, and IW4 were installed at
       the PEC site in 2009. This Permit authorizes continued operation of wells IW1, IW2,
       IW3, and IW4. The Permit also authorizes the construction and operation of up to two (2)
       potential additional wells, IW5 and IW6, with no change in injection volume or
       maximum allowable injection pressure.

       The facility is in the southwest quarter of Section 5, Township 15 South, Range 13 East,
       approximately 16 miles southwest of the City of Firebaugh, California.

       EPA authorizes the Permittee to continue operating the four (4) Class I wells conditioned
       upon the Permittee meeting the Monitoring Requirements set forth in Section II.E.2 of
       this Permit, and the Financial Assurance requirements set forth in Section II.G of this
       Permit. Injection operation of the permitted wells will continue to be limited to the
       maximum volume and pressure as established by the previously conducted Step-Rate
       Test under EPA Permit No. CA10600001, and in accordance with terms and conditions
       in this Permit. If potential additional wells IW5 and/or IW6 are constructed during the
       term of the Permit, Financial Assurance requirements must be met prior to construction.
       No changes to the operating conditions or total volume injected and pressure limitations
       will be authorized if the additional wells are constructed.

       The Permittee is limited to injecting into the four (4) wells fluids that consist of cooling
       tower blowdown water, reverse osmosis system reject water, evaporative cooler
       blowdown water, combustion turbine intercooler condensate, enhanced wastewater
       system (EWS) water, and oil/water separator discharge water associated with operations
       of a simple cycle power generation plant that consists of four natural gas-fired
       combustion turbine generators. If authorized, the fluids authorized to be injected into IW5
       and/or IW6 will be identical to those listed above.
       This Permit authorizes injection by Wells IW1, IW2, IW3, IW4 and potential additional
       Wells IW5 and IW6 to dispose of these wastewaters into the Panoche Formation at
       depths ranging between approximately 7,199 to 8,897 feet below ground surface. The
       Panoche Formation at the location of the wells has greater than 10,000 mg/L total
       dissolved solids and is confined above by the approximately 1,148-foot-thick Tierra


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       Loma Member of the Moreno Formation and the 308 foot-thick Marca Member of the
       Moreno Formation.
       All conditions set forth herein are based on 40 CFR Parts 124, 144, 145, 146, 147 and
       148, and are regulations that are in effect on the date that this Permit is effective.
       This Permit consists of thirty-three (33) pages plus the appendices, and includes all items
       listed in the Table of Contents of the Permit. Further, the Permit is based upon
       representations made by PEC and on other information contained in the administrative
       record. It is the responsibility of the Permittee to read, understand, and comply with all
       terms and conditions of this Permit.

       This Permit is issued for a period of ten (10) years unless the Permit is terminated under
       the conditions set forth in Section III.B.1 or administratively extended under the
       conditions set forth in Section III.E.12 of this Permit.
       This Permit is issued on          and becomes effective on            .



                                  ___________________________
                                  Tomás Torres, Director
                                  Water Division, EPA Region 9




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                       PART II. SPECIFIC PERMIT CONDITIONS

A.     REQUIREMENTS PRIOR TO DRILLING, TESTING, CONSTRUCTING, OR
       OPERATING

       1. Financial Assurance

           The Permittee’s plugging and abandonment cost estimate and chosen financial
           assurance mechanism for the wells authorized by this Permit meet the requirements of
           40 CFR § 144.52(a)(7).

       2. Field Demonstration Submittal, Notification, and Reporting

               a. Prior to each field demonstration required by and described in the following
                  Sections II.B.4.a. and 4.b., and Sections II.D.1.a., 2.a., and 2.b., the Permittee
                  shall submit plans for procedures and specifications to the EPA Region 9
                  Groundwater Protection Section for approval at a minimum of sixty (60) days
                  prior to the planned demonstration. Submittals shall be made in accordance
                  with Section III.E.9 of this Permit. No demonstration in the Sections listed
                  above may proceed without prior written approval from EPA.

               b. After receipt of approval of the Permittee’s proposed field demonstrations in
                  writing from EPA, the Permittee must provide notice to EPA in accordance
                  with Section E.9.b. of this Permit at least thirty (30) days prior to performing
                  any required field demonstrations.

               c. Unless otherwise specified elsewhere in this Permit, the Permittee shall
                  submit results of each such field demonstration required by Sections II.B.
                  through D. to EPA within sixty (60) days of completion, unless otherwise
                  directed by EPA (Refer to Part III.E.9.b).

B.     CONDITIONS FOR EXISTING WELL AND FUTURE WELL CONSTRUCTION

       1. Surface Location

           The four (4) injection wells authorized by this Permit are located as follows:

           Well IW1: Located at 36° 39' 2.321" N, 120° 35' 1.777" W
           Well IW2: Located at 36° 39' 2.164" N, 120° 35' 5.637" W
           Well IW3: Located at 36° 39' 2.264" N, 120° 35' 0.170" W
           Well IW4: Located at 36° 39' 3.372" N, 120° 35' 9.076" W

           The two (2) potential additional wells authorized by this Permit are proposed to be
           located as follows:




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           Well IW5: Located at 36° 39' 0.201" N, 120° 35' 1.069" W
           Well IW6: Located at 36° 39' 0.248" N, 120° 35' 8.834" W

           The facility is in the southwest quarter of Section 5, Township 15 South, Range 13
           East, approximately 16 miles south-southwest of the City of Firebaugh, California.

       2. Well Construction Details

           Well schematics for the four (4) existing wells authorized by this Permit are
           contained in Appendix B of this Permit. The Permittee shall at all times maintain the
           wells consistent with these Well Schematics.

           The Permittee shall submit updated Well Schematics for the proposed additional
           wells, IW5 and/or IW6, and must receive EPA approval prior to commencing drilling
           and construction of each of the wells. Appendix B contains draft Well Schematics for
           these potential additional wells, for informational purposes only.

       3. Injection Formation Testing


               a. Pressure Fall Off Test (FOT)

                         A. A FOT shall be performed approximately six (6) months after the
                            permit becomes effective, if an FOT has not been conducted within
                            the last six (6) months under the prior permit. If an FOT has been
                            performed within six (6) months under the prior permit, the next
                            FOT shall be performed one year after the prior FOT.

                         B. The Permittee shall conduct this FOT in Well IW2 to determine and
                            monitor formation characteristics. The Permittee shall conduct the
                            FOT after a radial flow regime has been established at an injection
                            rate that is representative of the wastewater contribution to the well.
                            The other injection wells shall either be inactive, or operated at a
                            constant rate, prior to and during the FOT, in order to obtain
                            reliable pressure data and accurate results. The Permittee shall
                            conduct the FOT in accordance with EPA Region 9 guidance found
                            in Appendix E, and as follows.

                         C. The Permittee shall submit to EPA for review and approval a
                            detailed plan for the FOT that is developed in accordance with EPA
                            Region 9 guidance in Appendix E. Once EPA provides written
                            approval of the test plan, the Permittee may schedule the FOT,
                            providing EPA at least thirty (30) days’ notice before the test is
                            conducted. The final FOT report shall be submitted to EPA within
                            sixty (60) days of test completion.


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                            D. The Permittee shall use the test results to recalculate the Zone of
                               Endangering Influence (ZEI), consistent with procedures set forth at
                               40 CFR § 146.6, and to evaluate whether any corrective action will
                               be required (refer to Section II.C.). The Permittee shall include a
                               summary of the ZEI recalculation with the FOT report.

                            E. After conducting the FOT required in Section II.B.4.b.1 above, the
                               Permittee shall conduct a FOT annually thereafter following the
                               same procedures described in Sections II.B.4.b.i. and ii. The
                               Permittee may conduct the annual FOT in conjunction with the
                               annual External Mechanical Integrity Test (MIT) demonstration, as
                               required by Section II.D.2.a.iii.

                            F. The Permittee shall create a plot/graph of the latest static reservoir
                               pressure of the injection zone and its cumulative behavior over time,
                               the plot shall be included with the annual FOT report each year.

       4. Injection Interval

               Wells IW1, IW2, IW3, and IW4 are currently authorized to inject into the Panoche
               Formation, which has greater than 10,000 mg/L total dissolved solids. Injection by
               the wells is only permitted into the Panoche Formation, within the depth range as
               depicted in the well schematics in Appendix B (i.e., at depths ranging between 7,199
               and 8,897 feet below ground surface). Potential Wells IW5 and IW6 may be
               authorized to inject into the Panoche Formation, within the depth range as depicted
               in the draft well schematics in Appendix B (i.e., at depths ranging between
               approximately 7,500 and 9,000 feet below ground surface).

       5. Monitoring Devices

           The Permittee shall maintain in good operating condition at all times during operation
           of Wells IW1, IW2, IW3, and IW4, and the potential additional wells IW5 and IW6,
           the following monitoring devices:

                 a. A tap on the discharge line between the injection pump and the wellhead or an
                    alternative location proposed in a detailed written request by the Permittee and
                    approved in writing by the EPA Director or their delegated representative for
                    the purpose of obtaining representative samples of injection fluid; and

                 b. Devices to continuously measure and record injection pressure, annulus
                    pressure, flow rate, and injection volume, subject to the following:

                       i.    Pressure gauges shall be of a design to provide:




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                              (a) A full pressure range of at least fifty (50) percent greater than
                                  the anticipated operating pressure; and

                              (b) A certified deviation accuracy of five (5) percent or less
                                  throughout the operating pressure range.

                    ii.   Flow meters shall measure cumulative volumes and be certified for a
                          deviation accuracy of five (5) percent or less throughout the range of
                          injection rates allowed by the Permit.

       6. Proposed Changes and Workovers

               a. The Permittee shall give advance notice to EPA, as soon as possible, pursuant
                  to and in accordance with 40 CFR § 144.51(l), of any planned physical
                  alterations or additions to any of the wells authorized by this Permit, including
                  sidetracking and deepening or perforating additional intervals. Any changes in
                  well construction, including changes in casing, tubing, packers, and/or
                  perforations other than minor changes, require prior written approval by EPA
                  and may require a permit modification application under the requirements of
                  40 CFR § 144.39 or § 144.41. Modifications that are considered routine in
                  well construction details, such as tubing dimensions and strengths, packer
                  models, types and setting depths, and perforation interval changes within the
                  permitted injection zone, may be processed by EPA as minor permit
                  modifications, consistent with 40 CFR § 144.41 and Section III.B.1 of this
                  Permit.

               b. For each well authorized by this Permit, the Permittee shall provide all records
                  of well workovers, logging, or other subsequent test data to EPA within sixty
                  (60) days of completion of the activity.

               c. The Permittee shall submit all reports required by this Permit using the
                  appropriate reporting forms (see Appendix C).

               d. The Permittee shall perform a MIT on each well authorized by this Permit
                  using the procedures set forth in Sections II.D.1.a. and II.D.2. within thirty
                  (30) days of completion of workovers or alterations and prior to resuming
                  injection activities, in accordance with Section II.D.1. The Permittee shall
                  provide results of the MIT to EPA within sixty (60) days of completion.

C. CORRECTIVE ACTION

   Prior to granting authorization to inject under this Permit, the Permittee is not required to
   conduct any corrective action, in accordance with 40 CFR §§144.55 and 146.7.
   Determination of future corrective action and implementation is discussed below:




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            Determination and Implementation of Future Corrective Action

       1.   Annual Zone of Endangering Influence Review

                Annually, beginning with the first FOT conducted under this Permit, the
                Permittee shall review the ZEI calculation based on any new data obtained from
                the FOT and static reservoir pressure observations required by Section II.B.4.b.
                The Permittee shall provide to EPA a copy of the modified ZEI calculations,
                along with all associated assumptions and justifications, with the next Quarterly
                Report, as required by Section II.E.6.c. This review shall address the Permittee’s
                interpretation of the pressure and specific conductance monitoring and chemical
                analyses in the report required in Section II.E.6.e.

       2. Implementation of Future Corrective Actions

            a. If any additional wells are found within the modified ZEI referenced above, a list
               of the wells along with their locations and construction data shall be provided to
               EPA within thirty (30) days of their identification.

            b. If required by EPA, the Permittee shall submit a plan for approval by EPA to re-
               enter, plug, and abandon the wells listed in Section II.C.3.a., above, in a way that
               prevents the migration of fluids into a USDW. The Permittee may submit an
               alternative plan to address the potential for fluid migration in any of these wells to
               EPA.

            c. Corrective action may be required after permit issuance to address any wells
               within the area of review that may allow migration of fluids into underground
               sources of drinking water. EPA will use the annual FOT results and re-calculation
               of the ZEI, along with USDW monitoring results from the monitoring well, as
               described in Section V. Monitoring, Recordkeeping, and Reporting of Results
               below, to determine the potential need for any future corrective action.

            d. The Permittee shall not commence corrective action activities without prior
               written approval from EPA.

D. WELL OPERATION

       1. Required Demonstrations

                a. Mechanical Integrity

                      i.   Within one (1) year of the most recent mechanical integrity testing
                           conducted under the existing EPA Permit No. CA10600001, the
                           Permittee shall conduct an MIT to demonstrate that each well
                           authorized by this Permit has mechanical integrity consistent with 40
                           CFR § 146.8 and with Section II.D.2.a. The Permittee shall

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                          demonstrate that there are not significant leaks in the casing and tubing
                          (internal mechanical integrity) and that there is not significant fluid
                          movement into or between USDWs through the casing wellbore
                          annulus or vertical channels adjacent to the injection wellbore
                          (external mechanical integrity).

                b. Injectate Hazardous Waste Determination

                       i. Within sixty (60) days of the effective date of this Permit, the
                          Permittee shall certify as unchanged, the existing Injectate “Hazardous
                          Waste Determination” of each unique waste stream source injected
                          into each well authorized by this Permit, as listed in Section II.D.5.a,
                          in accordance with 40 CFR § 262.11. If a change is identified, a new
                          determination must be performed within sixty (60) days of the
                          effective date of this Permit.

                       ii. Whenever there is a process change or a change in fluid chemical
                           constituents or characteristics of the injectate at the power generating
                           plant, the Permittee shall perform an additional “Hazardous Waste
                           Determination” for each unique waste stream source listed in Section
                           II.D.5.a. The Permittee should also refer to injectate testing
                           requirements set forth in Section II.E.1., below. A letter with the
                           results of the analyses shall be submitted to EPA within sixty (60) days
                           of the “Hazardous Waste Determination” completion.

       2. Mechanical Integrity

                a. Mechanical Integrity Tests

                   Mechanical integrity testing shall conform to the following requirements
                   throughout the life of each well authorized by this Permit and in accordance
                   with the requirements set forth at 40 CFR §§ 144.51(q) and 146.8:

                       i. Casing/Tubing Annular Pressure (Internal MIT)

                           In accordance with the timing requirements defined in Section
                           II.D.2.b., below, the Permittee shall perform a pressure test on the
                           annular space between the tubing and long string casing to
                           demonstrate the absence of significant leaks in the casing, tubing
                           and/or liner. This test shall be for a minimum of thirty (30) minutes at
                           a pressure equal to or greater than the maximum allowable surface
                           injection pressure (MAIP). A well passes the MIT if there is less than
                           a five (5) percent change in pressure over the thirty (30) minute
                           period. A pressure differential of at least three hundred and fifty (350)
                           pounds per square inch (psig) between the tubing and annular
                           pressures shall be maintained throughout the MIT. This test shall be


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                           performed on each well authorized by this Permit initially as
                           described in Section II. D.1.a.

                           Detailed plans for conducting the Internal MIT must be submitted to
                           EPA for review and approval. Once approved, the Permittee may
                           schedule the Internal MIT, providing EPA at least thirty (30) days’
                           notice before the Internal MIT is conducted. The final test report shall
                           be submitted to EPA within sixty (60) days of test completion.

                      ii. Continuous Pressure Monitoring

                          The Permittee shall continuously monitor and record the tubing/casing
                          annulus pressure and injection pressure by a digital instrument with a
                          resolution of one tenth (0.1) psig. The average, maximum, and
                          minimum monthly results shall be included in the next Quarterly
                          Report submitted to EPA pursuant to Section II.E.6.b., along with any
                          additional records or data requested by EPA regarding the continuous
                          monitoring data described in this Section.

                      iii. Injection Profile Survey (External MIT)

                          In conjunction with and consistent with the deadlines for the first FOT
                          conducted under this Permit, as required in Section II.B.4.b., the
                          Permittee shall conduct a demonstration that the injectate is confined
                          to the proper zone and submit the results of the demonstration to EPA
                          for approval.

                          This demonstration shall consist of a radioactive tracer survey and a
                          temperature log (as specified in Appendix D) or other diagnostic tool
                          or procedure as approved by EPA.

                          Detailed plans for conducting the External MIT must be submitted to
                          EPA for review and approval. Once approved, the Permittee may
                          schedule the External MIT, providing EPA at least thirty (30) days’
                          notice before the External MIT is conducted. The final test report shall
                          be submitted to EPA within sixty (60) days of test completion.

                b. Schedule for MITs

                   EPA may require that an Internal and/or External MIT be conducted, upon
                   written request, at any time during the permitted life of each well authorized
                   by this Permit. The Permittee shall also arrange and conduct MITs in each
                   well authorized by this Permit according to the following requirements and
                   schedule:




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                       i. Within thirty (30) days from completion of any work-over operation
                          where well integrity is compromised, an Internal MIT shall be
                          conducted, and the results submitted to EPA for approval to verify that
                          the well has mechanical integrity. Prior to this field demonstration, the
                          Permittee shall submit testing plans to EPA, as described in Section
                          II.A.2.

                       ii. At least annually, an injection profile survey External MIT shall be
                           conducted in accordance with 40 CFR § 146.8 and Section II.D.2.a.iii.,
                           above.

                       iii. At least once every five (5) years, an Internal MIT shall be conducted
                            in accordance with 40 CFR § 146.8 and Section II.D.2.a.i., above.

                c. If Well IW5 and/or IW6 are constructed, the Permittee must conduct internal
                   and extermal MITs in accordance with the procedures and schedules outlined
                   in Part II.D.2, above.


                d. Loss of Mechanical Integrity

                   Within twenty-four (24) hours from the time the Permittee becomes aware of
                   any loss of mechanical integrity in any well authorized by this Permit, the
                   Permittee shall notify EPA of the situation and specify which of the following
                   circumstances apply:

                       i. The well fails to demonstrate mechanical integrity during a test; or

                       ii. A loss of mechanical integrity becomes evident during operation; or

                       iii. A significant change in the annulus or injection pressure occurs during
                            normal operating conditions. See Section II.D.6.b.

                   In the event of a loss of mechanical integrity, the Permittee shall immediately
                   suspend injection activities in the affected well and shall not resume operation
                   until it has taken necessary actions to restore and confirm mechanical integrity
                   of the affected well, and EPA has provided written approval to recommence
                   injection into the affected well.

                   The Permittee may not recommence injection after a workover which has
                   compromised well integrity (e.g., unseating the packer, etc.) until it has
                   received written approval from EPA that the demonstration of mechanical
                   integrity is satisfactory.




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       3. Injection Pressure Limitation

           For each well authorized by this Permit:

                a. MAIP measured at the wellhead shall not exceed the values listed below at
                   each well for injection into the Panoche Formation.

                   IW1: 2,478 psi
                   IW2: 2,416 psi
                   IW3: 2,478 psi
                   IW4: 2,478 psi

                b. In no case shall the Permittee inject at pressures that (i) initiate new fractures
                   or propagate existing fractures in the injection zone or the confining zone, (ii)
                   cause the movement of injection or formation fluids into or between USDWs,
                   or (iii) allow injection fluids to migrate to oilfield production wells.


                c. Step Rate Testing (SRT), in accordance with EPA guidance is required prior
                   to final establishment of injection presssure limits for the potential additional
                   wells IW5 and/or IW6. Initial injection pressure(s) will not be greater than
                   those set for the existing wells (as above).

       4. Injection Volume (Rate) Limitation

           For each well authorized by this Permit:

                a. The daily injection rate at each well shall not exceed the values listed below at
                   any time. This rate will be subject to an annual review based on the annual
                   ZEI determinations performed as described in Section II.C.2. If IW5 and/or
                   IW6 are constructed, no increase in the total volume authorized to be injected
                   under this Permit is authorized.

                   IW1: 144,039 gallons
                   IW2: 172,041 gallons
                   IW3: 155,147 gallons
                   IW4: 164,002 gallons

                b. The Permittee may request an increase in the maximum rate allowed in
                   Section II.D.4.a., above. Any such request shall be made in writing, along
                   with a justification for the proposed increase, to EPA for its review and
                   approval.

                c. Should any increase in injection rate be requested, the Permittee shall
                   demonstrate to the satisfaction of EPA that the proposed increase will not
                   interfere with the operation of the facility, its ability to meet conditions


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                   described in this Permit, change its well classification, or cause migration of
                   injectate or pressure buildup to occur beyond the AOR.

                d. The injection rate shall not cause an exceedance of the injection pressure
                   limitation established pursuant to Section II.D.3.a.

       5. Injection Fluid Limitation

                a. This Permit authorizes injection of the following fluids into the wells
                   authorized by this Permit: cooling tower blowdown water, reverse osmosis
                   system reject water, evaporative cooler blowdown water, combustion turbine
                   intercooler condensate, enhanced wastewater system (EWS) water, and
                   oil/water separator discharge water generated from the power generating
                   plant.

                b. The Permittee shall not inject any hazardous waste, as defined by 40 CFR §
                   261, at any time. See also Section II.D.1.b.

                c. Injection fluids shall be limited to those authorized by this Permit, which
                   includes those fluids produced by the Permittee as described in Section
                   II.D.5.a., above.

                d. Particulate Filters may be used upstream of any well authorized by this
                   Permit, at the discretion of the Permittee, to prevent formation plugging or
                   damage from particulate matter. The Permittee shall include any filter
                   specifications in the Quarterly Report due annually in January as required in
                   Section II.E.6.c., including proposed particle size removal with any associated
                   justification for the selected size. For any particulate filters used, the Permittee
                   shall follow appropriate waste analysis and disposal practices consistent with
                   local, state, and federal law, and provide documentation to EPA.

                e. Any well stimulation or treatment procedure (e.g., acidizing) performed at the
                   discretion of the Permittee shall be proposed and submitted to EPA for
                   approval. After approval is granted, notification to EPA is required at least
                   thirty (30) days prior to performing the approved procedure. This requirement
                   may be modified if the Permittee submits a standard operating procedure for
                   well stimulation or treatment for EPA approval after the effective date of this
                   Permit. If the standard operating procedure plan is approved by EPA in
                   writing, the Permittee may notify EPA within fifteen (15) days of the
                   proposed well stimulation or treatment procedure, provided the procedure
                   does not deviate in any way from the EPA-approved plan.




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        6. Tubing/Casing Annulus Requirements

            For any well authorized by this Permit:

                 a. The Permittee shall use and maintain corrosion-inhibiting annular fluid during
                    well operation. See Appendix H for a complete, generic description and
                    characterization of the annular fluid.

                 b. The Permittee shall maintain a minimum pressure of one hundred (100) psig
                    at shut-in conditions on the tubing/casing annulus.

                 c. Any annular pressure measured outside of the established normal pressure
                    range, as previously determined under existing EPA Permit No. CA10600001,
                    regardless of whether it otherwise meets the requirements of this Permit, shall
                    be reported orally to EPA within twenty-four (24) hours, followed by a
                    written submission within five (5) days, as a potential loss of mechanical
                    integrity. In the submission, the Permittee must describe the event and include
                    details, such as associated injection pressures and temperatures. The Permittee
                    shall provide any additional information regarding the reported annular
                    pressure event requested by EPA within sixty (60) days of receipt of a written
                    request from EPA, or such other time frame established in writing by EPA.

E. MONITORING, RECORDKEEPING, AND REPORTING OF RESULTS

        1. Injection Fluid Monitoring Program

            The Permittee shall sample and analyze injection fluids to yield representative data on
            their physical, chemical, and other relevant characteristics. Test results shall be
            submitted by the Permittee to EPA on a quarterly basis (see Section II.E.6., below).

            Samples and measurements shall be representative of the monitored activity. The
            Permittee shall utilize applicable analytical methods described in Table I of 40 CFR §
            136.3 or in EPA Publication SW-846, “Test Methods for Evaluating Solid Waste,
            Physical/Chemical Methods,” and as described below, unless other methods have
            been approved by EPA or additional approved methods or updates to the methods
            listed below become available.

                 a. Summary of Acceptable Analytic Methods

                        i. Inorganic Constituents – USEPA Method 300.0, Part A for Major
                           Anions (with the exception of Fluoride, which may be analyzed by
                           SM-4500-F), and USEPA Method 200.8 or USEPA Method 200.7 for
                           Cations and Trace Metals.




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                       ii. Solids – Standard Methods 2540C and 2540D for Total Dissolved
                           Solids (TDS) and Total Suspended Solids (TSS).

                       iii. General and Physical Parameters – appropriate USEPA methods for
                            Turbidity, pH, Conductivity, Hardness, Specific Gravity, Alkalinity,
                            and Biological Oxygen Demand (BOD); and Density and Viscosity
                            (see EPA Bulletin 712-C-96-032) under standard conditions.

                       iv. Volatile Organic Compounds (VOCs) – USEPA Method 8260D.

                       v. Semi-Volatile Organic Compounds (SVOCs) – USEPA Method
                          8270E.

                b. Timing of Analysis of Injection Fluids

                   Injection fluid sampling and analyses as outlined in Section II.E.1.a. above
                   shall be performed, at the required timing or frequency:

                   i) Within thirty (30) days after the effective date of this Permit. If no change
                      in injection fluid has occurred from the prior permit, the Permittee shall
                      certify there has been no change within the specified timeframe; and

                   ii) On a quarterly basis; and

                   iii) Whenever there is a change in injection fluids such as whenever the
                        injection fluid is no longer representative of previous samples and
                        measurements that have been submitted and approved.

      2. USDW Monitoring

           Monitoring Well Installation – pursuant to 40 CFR §§ 146.13 (b) and (d) :

           a. The Permittee shall install one (1) monitoring well to perform chemical analysis
              and measure specific conductance and formation pressure in order to identify
              potential changes in the USDW in the vicinity of one (1) nearby abandoned well,
              as described below in Monitoring Requirements. The one (1) monitoring well
              shall be located within 100 feet to the south-southwest of the Silver Creek 18
              Well.,

           b. Within 60 days of the effective date of this Permit, and prior to drilling the
              monitoring well, the Permittee shall submit to EPA, for review and approval, a
              detailed construction plan and procedures, including the proposed field
              coordinates (Section, Township, Range, with latitude/longitude) for the surface
              location of the proposed monitoring well. The plans and procedures must describe
              how the Permittee will:



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                      i.   Drill the wellbore to the base of the USDW, located at the stratigraphic
                           contact between the Kreyenhagen Shale and the sandy interval in the
                           overlying Tumey Formation;

                     ii.   Equip the well with a transducer to monitor pressure and specific
                           conductance within the USDW, and with water quality monitoring
                           equipment to allow sampling of the USDW; and

                    iii.   Perform baseline characterization of ground water chemistry, to meet
                           the analytical requirements in Part II.E.2., below.

           c. Drilling for the installation of the monitoring well must commence within 120
              days of the approval of the construction plans and procedures as described in (b)
              above. Proposed financial assurance for the plugging and abandonment of the
              monitoring well must also be provided to EPA within 60 days of the effective date
              of the Permit. Financial assurance is described in Part II.G. 1, below.

           d. The Permittee must submit a final well construction report, including logging, and
              other results, with a schematic diagram and detailed description of construction,
              including geophysical logs, driller’s log, materials used (i.e., tubing tally), and
              cement (and other) volumes to EPA within sixty (60) days after completion of the
              monitoring well.

           e. The Permittee must also submit a notice of completion of construction to EPA
              (using EPA Form 7520-18; see Appendix C) within sixty (60) days after
              completion of the well.

           Monitoring Requirements

           The Permittee shall perform the following chemical analysis and measure specific
           conductance and formation pressure in the monitoring well to be installed as
           described in Part II.C.1, in order to identify potential changes within the lowest
           USDW. The lowest USDW is defined by the sandy interval in the Tumey Formation,
           overlying the stratigraphic contact with the Kreyenhagen Shale:

                a. Record pressure and specific conductance measurements via transducers
                   daily;

                b. Sample and perform chemical analysis for the following parameters using the
                   Analytical Methods in Section E.1.a: TDS, alkalinity, anions and cations,
                   trace metals, hardness, pH, specific gravity, total sulfide, oil and grease, and
                   total metals. This analysis shall be performed monthly for the first year of
                   monitoring, and quarterly thereafter; and

                c. Report the results to EPA as described in Section II.E.6.



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      3. Monitoring Information

           The Permittee shall maintain records of monitoring activity required under this
           Permit, including the following information and data:

                a. Date, exact location, and time of sampling or measurements;

                b. Name(s) of individual(s) who performed sampling or measuring;

                c. Exact sampling method(s) used;

                d. Date(s) laboratory analyses were performed;

                e. Name(s) of individual(s) who performed laboratory analyses;

                f. Types of analyses; and

                g. Results of analyses.

       4. Monitoring Devices

                a. Continuous Monitoring Devices

                   During all periods of operation of any authorized well, the Permittee shall
                   measure the following wellhead parameters: (i) injectate rate/volume, (ii)
                   injectate temperature, (iii) annular pressure, and (iv) injection pressure. The
                   Permittee shall also measure pressure and specific conductance as described in
                   Section II.E.2 at the monitoring well to be installed pursuant to Section II.C.1.
                   All measurements must be recorded at minimum to a resolution of one tenth
                   (0.1) of the unit of measure as shown in the table below (i.e., injection rate
                   and volume must be recorded to a resolution of one tenth (0.1) of a gallon;
                   pressure must be recorded to a resolution of one tenth (0.1) of a psig; injection
                   fluid temperature must be recorded to a resolution of one tenth (0.1) of a
                   degree Fahrenheit; and specific conductance must be recorded to a resolution
                   of one tenth (0.1) of a micromhos/cm). Exact dates and times of
                   measurements, when taken, must be recorded and submitted. Each injection
                   well shall have a dedicated flow meter, installed so it records all injection
                   flow. To meet the requirements of this Section, the Permittee shall monitor the
                   following parameters, at the prescribed frequency, and record the
                   measurements at this required frequency, using the prescribed instruments
                   (continuous monitoring requires a minimum frequency of at least one (1) data
                   point every thirty (30) seconds):




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                        Monitoring Parameter                    Frequency                  Instrument
                    Injection Rate (gallons per             Continuous               Digital recorder
                    minute)
                    Daily Injection Volume                  Daily                    Digital totalizer
                    (gallons)
                    Total Cumulative Volume                 Continuous               Digital totalizer
                    (gallons)
                    Well Head Injection Pressure            Continuous               Digital recorder
                    (psig)
                    Annular Pressure (psig)                 Continuous               Digital recorder
                    Injection Fluid Temperature             Continuous               Digital recorder
                    (degrees Fahrenheit)
                    Pressure in USDW (psig)                 Daily                    Digital recorder
                    Specific conductance in the             Daily                    Digital recorder
                    USDW (micromhos/cm)

                   The Permittee must adhere to the required format below for reporting
                   injection rate and well head injection pressure. An example of the required
                   electronic data format:

                   DATE                TIME           INJ. PRESS (PSIG)      INJ. RATE (GPM)
                   mm/dd/yy            hh:mm:ss       XXXX.X                 XXXX.X

                   Each data line shall include four (4) values separated by a consistent
                   combination of spaces or tabs. The first value contains the date measurement
                   in the format of mm/dd/yy or mm/dd/yyyy, where mm is the number of the
                   month, dd is the number of the day and yy or yyyy is the number of the year.
                   The second value is the time measurement, in the format of hh:mm:ss, where
                   hh is the hour, mm are the minutes and ss are the seconds. Hours should be
                   calculated on a twenty-four (24)-hour basis, i.e., 6 PM is entered as 18:00:00.
                   Seconds are optional. The third value is the well head injection pressure in
                   psig. The fourth column is injection rate in gallons per minute (gpm).

                b. Calibration and Maintenance of Equipment

                   The Permittee shall calibrate and maintain on a regular basis all monitoring
                   and recording equipment to ensure proper working order of all equipment.

       5. Recordkeeping

                a. The Permittee shall retain the following records and shall have them available
                   at the facility at all times for inspection by EPA or other authorized personnel,
                   in accordance with the following:

                      i.   All monitoring information, including required observations,
                           calibration and maintenance records, recordings for continuous

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                           monitoring instrumentation, copies of all reports required by this
                           Permit, and records of all data used to complete the permit application;

                     ii.   Information on the physical nature and chemical composition of all
                           injected fluids;

                    iii.   Results of the injectate “Hazardous Waste Determination” according
                           to 40 CFR § 262.11 (see Section II.D.1.b.). Results shall demonstrate
                           that the injectate does not meet the definition of hazardous waste as
                           defined in 40 CFR § 261;

                    iv.    The geophysical logging and results of the chemical analyses of the
                           USDW from the monitoring well pursuant to Section II.C.1;

                     v.    Pressure and specific conductance readings recorded pursuant to
                           Section II.E.2; and

                    vi.    Records and results of MITs, FOTs, and any other tests and logs
                           required by EPA, and any well work and workovers completed.

                b. The Permittee shall maintain copies (or originals) of all records described in
                   Sections II.E.5.a.i. through vi., above, during the operating life of any well
                   authorized by this Permit and shall make such records available at all times
                   for inspection at the facility. The Permittee shall only discard the records
                   described in Sections II.E.5.a.i. through vi., if:

                      i.   The records are delivered to the EPA Region 9 Groundwater
                           Protection Section; or

                     ii.   Written approval from EPA to discard the records is obtained.

       6. Reporting

                a. The Permittee shall submit to EPA Quarterly Reports containing, at minimum,
                   the following information gathered during the Reporting Period identified in
                   Section II.E.6.b.:

                      i.   Injection fluid characteristics for parameters specified in Section
                           II.E.1.a.;

                     ii.   The results of pressure and specific conductance monitoring and
                           chemical analyses required in Section II.E.6.d.ii;

                    iii.   When appropriate, Injectate Hazardous Waste Determination
                           according to Section II.D.1.b.;



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                    iv.    The results of any additional MITs, FOTs, logging or other tests, as
                           required by EPA;

                     v.    Any pressure tests, as required by Section II.D.2.a.i.;

                    vi.    Shut-in static reservoir pressure cumulative behavior plot of the
                           injection zone, as required by Section II.B.4.b.v.;

                    vii.   Hourly and daily values, submitted in electronic format, for the
                           continuously monitored parameters specified for the injection wells in
                           Section II.E.4.a.; and

                   viii.   Monthly cumulative total volumes, as well as monthly average,
                           minimum, and maximum values for the continuously monitored rate,
                           pressure, and temperature parameters specified for the injection wells
                           in Section II.E.4.a., unless more detailed records are requested by
                           EPA.

                b. Quarterly Reports, with the applicable Appendix C forms, shall be submitted
                   for the reporting periods by the respective due dates as listed below:

                       Reporting Period               Report Due

                       Jan, Feb, Mar                  Apr 28
                       Apr, May, June                 July 28
                       July, Aug, Sept                Oct 28
                       Oct, Nov, Dec                  Jan 28

                c. For the Quarterly Report covering the reporting period of January, February,
                   and March, the Permittee shall also include in that Report the following
                   information collected during the prior year covering January through
                   December:

                       i. Annual reporting summary;

                       ii. Annual injection profile survey results as required in Section
                           II.D.2.a.iii.;

                       iii. The report on the results of pressure and specific conductance
                            monitoring and chemical analyses required in Section II.E.6.e; and

                       iv. A narrative description of all non-compliance with the Permit that
                           occurred during the past year.

                 d. The Permittee shall also submit to EPA reports of the results of formation
                    pressure and specific conductance monitoring and chemical analyses


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                    performed pursuant to Section II.E.2. The reports shall include pressure and
                    specific conductance measurements and the results of chemical analyses,
                    and means and standard deviations of these values in a tabular (i.e.,
                    spreadsheet) format, along with graphical representations of the data, and be
                    submitted as follows:

                       i. For the first year following the commencement of monitoring
                          activities required under this Permit, the Permittee shall submit this
                          information to EPA monthly, on the 15th day of the month.

                      ii. Following one (1) year of monthly monitoring reporting, the Permittee
                          shall submit this information to EPA with the quarterly reports
                          required in Section II.E.6.a.

                e. At the end of each year, the Permittee shall submit a report that summarizes
                   the pressure, specific conductance, and water quality monitoring data
                   collected that includes: a cumulative tabulation of the
                   measurements/analytical results (since the commencement of monitoring
                   activities), a description of trends in the measurements over time, and an
                   interpretation regarding whether the data demonstrate that there is no
                   hydraulic communication between the injection zone and the USDW via
                   abandoned wells in the AOR and that USDWs are not endangered.

                f. In addition to meeting the submittal requirements of Section III.E.9., digital
                   e-copies of all Quarterly Reports shall also be provided to the following:

                   California Geologic Energy Management Division
                   Inland District
                   Attention: District Engineer
                   Mark.Ghann-Amoah@conservation.ca.gov

                   Central Valley Regional Water Quality Control Board
                   Attention: Permit Section
                   Dale.Harvey@waterboards.ca.gov

F. PLUGGING AND ABANDONMENT

       1. Notice of Plugging and Abandonment

           The Permittee shall notify EPA no less than sixty (60) days before abandonment of
           any well authorized by this Permit and shall not perform the plugging and
           abandonment activities until the Permittee receives written notice of approval by
           EPA.

       2. Plugging and Abandonment Plans



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           The Permittee shall plug and abandon the well(s) as provided by the Plugging and
           Abandonment Plan submitted by the Permittee (see Appendix G) and approved by
           EPA, consistent with CalGEM’s “Onshore Well Regulations” of the California Code
           of Regulations, found in Title 14, Natural Resources, Division 2, Department of
           Conservation, Chapter 4, Article 3, Sections 1722-1723 and 40 CFR § 146.10. Upon
           written notice to the Permittee, EPA may change the manner in which a well will be
           plugged, based upon but not limited to the following reasons: (a) if the well is
           modified during its permitted life, (b) if the proposed Plugging and Abandonment
           Plan for the well is not consistent with EPA requirements for construction or
           mechanical integrity, or (c) otherwise at EPA’s discretion. Upon written notice, EPA
           may periodically require the Permittee to update the estimated plugging cost. To
           determine the appropriate level of financial assurance for the Plugging and
           Abandonment Plan, the Permittee has obtained a cost estimate from an independent
           third-party firm in the business of plugging wells. The estimate includes the costs of
           all the materials and activities necessary to pay an independent third-party contractor
           to completely plug and abandon the injection and monitoring wells, as established in
           the Plugging and Abandonment Plan.

       3. Cessation of Injection Activities

           After a cessation of injection operations for two (2) years for any wells authorized by
           this Permit, a well is considered inactive. In this case, the Permittee shall plug and
           abandon the inactive well in accordance with the approved Plugging and
           Abandonment Plans, contained in Appendix G, unless the Permittee:

                a. Provides notice to EPA of an intent to re-activate the well(s);

                b. Has demonstrated that the well(s) will be used in the future;

                c. Has described actions or procedures, satisfactory to EPA and approved in
                   writing by EPA, which will be taken to ensure that the well(s) will not
                   endanger USDWs during the period of inactivity, including annually
                   demonstrating external mechanical integrity of the well(s); and

                d. Conducts an initial, Internal MIT on the inactive well(s) and subsequent
                   Internal MITs every two (2) years thereafter while the well(s) remains
                   inactive, demonstrating no loss of mechanical integrity. Note that the
                   Permittee must restore mechanical integrity of the inactive well(s) or plug and
                   abandon the well(s) if it fails the MIT.

       4. Plugging and Abandonment Report

           Within sixty (60) days after plugging any well authorized by this Permit, or at the
           time of the next Quarterly Report (whichever is sooner), the Permittee shall submit a
           report on Form 7520-19 (see Appendix C), as well as the detailed procedural activity



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           of engineer’s log and daily rig log to EPA. The report shall be certified as accurate by
           the person who performed the plugging operation and shall consist of either:

                a. A statement that the well was plugged in accordance with the approved
                   Plugging and Abandonment Plan contained in Appendix G; or

                b. Where actual plugging differed from the Plugging and Abandonment Plan
                   contained in Appendix G, a statement specifying and justifying the different
                   procedures followed.

G. FINANCIAL ASSURANCE REQUIREMENTS

       1. Demonstration of Financial Assurance

           The Permittee is required to demonstrate and maintain financial assurance and
           resources sufficient to close, plug, and abandon any authorized underground injection
           operations by this Permit, as provided in the Plugging and Abandonment Plan
           contained in Appendix G and consistent with 40 CFR § 144 Subpart D.

           In addition, the Permittee shall meet the following specific financial assurance
           requirements:

                a. Prior to the issuance of this Permit, the Permittee provided, and EPA approved
                   in writing, a financial assurance instrument, consistent with Section II.A.1 of
                   this Permit, to guarantee closure of the wells authorized by this Permit, as
                   follows, in the amount of:

                   Well IW1: $302,627
                   Well IW2: $348,156
                   Well IW3: $273,787
                   Well IW4: $270,431

                   These values were determined by the Permittee and have factored in the cost
                   for an independent third party to plug and abandon the wells, plus a 20%
                   contingency.

                   Prior to the installation of the monitoring well described in Part II.C.1(a),
                   financial assurance must also be provided, for EPA approval, consistent with
                   the schedule set forth in Part II.C.1 (c).

                   If the Permittee requests to construct IW5 and/or IW6, the Permittee is
                   required to provide for EPA approval adequate financial assurance to
                   guarantee closure of the well(s) before construction may be authorized.

                b. For each well authorized by this Permit, the Permittee shall review and
                   update, if needed, the financial assurance mechanism annually; a description


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                   of that review and any updates shall be set forth in the Quarterly Report due
                   on January 28 of each year. At its discretion, and upon written request, EPA
                   may require the Permittee to change to an alternate method of financial
                   assurance. Any such change must be approved in writing by EPA prior to the
                   change.

                c. EPA may periodically require the Permittee to update the estimated Plugging
                   and Abandonment Plan (see Appendix G) and/or the cost associated with it,
                   and the Permittee shall make such an adjustment within sixty (60) days of
                   notice from EPA. Alternately, EPA may independently adjust the required
                   financial assurance amount, as warranted.

       2. Failure of Financial Assurance

           The Permittee must notify EPA of the insolvency of a financial institution supporting
           the financial assurance as soon as possible, but no later than ten (10) days after the
           Permittee becomes aware of the insolvency. The Permittee shall submit to EPA a
           revised and/or new instrument of financial assurance, consistent with the terms of this
           Permit, within sixty (60) days after any of the following events occur:

                a. The institution issuing the bond or other financial instrument files for
                   bankruptcy;

                b. The authority of the trustee institution to act as trustee, or the authority of the
                   institution issuing the financial instrument, is suspended or revoked; or

                c. The institution issuing the financial instrument lets it lapse or decides not to
                   extend it.

           Failure to submit acceptable financial assurance may result in the termination of this
           Permit pursuant to 40 CFR § 144.40(a)(1).

       3. Insolvency of Owner or Operator

           An owner or operator must notify EPA by certified mail of the commencement of
           voluntary or involuntary proceedings under U.S. Code Title 11 (Bankruptcy), naming
           the owner or operator as debtor, within ten (10) business days after such an event
           occurs. A guarantor of a corporate guarantee must make such a notification if he/she
           is named as debtor, as required under the terms of the guarantee.




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H. DURATION OF PERMIT

This Permit and the authorization to inject are issued for a period of ten (10) years unless
terminated under the conditions set forth in Section III.B.1 or administratively extended under
the conditions set forth in Section III.E.12.


                       PART III. GENERAL PERMIT CONDITIONS

A. EFFECT OF PERMIT

   The Permittee is allowed to engage in underground injection well construction and operation
   in accordance with the conditions of this Permit. The Permittee shall not construct, operate,
   maintain, convert, plug, abandon, or conduct any injection activity not otherwise allowed by
   this Permit, as such activities may allow the movement of fluid containing any contaminant
   into USDWs (as defined by 40 CFR §§ 144.3 and 146.3).

   No injection fluids are allowed to migrate to any nearby oilfield production wells. Further,
   this Permit requires systematic and predictive documentation over the facility’s operational
   life to ensure that no injection fluids, either presently or in the future, will migrate to oilfield
   operation or geothermal production wells.

   Any underground injection activity not specifically authorized in this Permit is prohibited (40
   CFR § 144.11). The Permittee must comply with all applicable provisions of the Safe
   Drinking Water Act (SDWA) and 40 CFR Parts 124, 144, 145, 146, 147 and 148. Such
   compliance does not constitute a defense to any action brought under Section 1431 of the
   SDWA, 42 U.S.C. § 300(i), or any other common law, statute, or regulation other than Part C
   of the SDWA. Issuance of this Permit does not convey property rights of any sort or any
   exclusive privilege, nor does it authorize any injury to persons or property, any invasion of
   other private rights, or any infringement of State or local law or regulations. Nothing in this
   Permit shall be construed to relieve the Permittee of any duties under all applicable,
   including future, laws or regulations.

B. PERMIT ACTIONS

       1. Modification, Revocation and Reissuance, or Termination

           EPA may, for cause or upon request from the Permittee, modify, revoke and reissue,
           or terminate this Permit in accordance with 40 CFR §§ 124.5, 144.12, 144.39, 144.40,
           and 144.51(f). The Permit is also subject to minor modifications for cause as
           specified in 40 CFR § 144.41. The filing of a request for a permit modification,
           revocation and reissuance, or termination, or a notification of planned changes or
           anticipated non-compliance by the Permittee, does not stay the applicability or
           enforceability of any permit condition. EPA may also modify, revoke and reissue, or
           terminate this Permit in accordance with any amendments to the SDWA if the
           amendments have applicability to this Permit.


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       2. Transfers

           This Permit is not transferable to any person unless notice is first provided to EPA
           and the Permittee complies with requirements of 40 CFR § 144.38. See also 40 CFR
           § 144.51(l)(3). EPA may require modification or revocation and reissuance of the
           Permit to change the name of the Permittee and incorporate such other requirements
           as may be necessary under the SDWA.

C. SEVERABILITY

   The provisions of this Permit are severable, and if any provision of this Permit or the
   application of any provision of this Permit to any circumstance is held invalid, the
   application of such provision to other circumstances and the remainder of this Permit shall
   not be affected thereby.

D. CONFIDENTIALITY

   In accordance with 40 CFR §§ 2 and 144.5, any information submitted to EPA pursuant to
   this Permit may be claimed as confidential by the submitter. Any such claim must be asserted
   at the time of submission by stamping the words "confidential business information" on each
   page containing such information. If no claim is made at the time of submission, EPA may
   make the information available to the public without further notice. If a claim is asserted, the
   validity of the claim will be assessed in accordance with the procedures contained in 40 CFR
   § 2 (Public Information). Claims of confidentiality for the following information will be
   denied:

       1. Name and address of the Permittee; or

       2. Information dealing with the existence, absence, or level of contaminants in drinking
          water.

E. GENERAL DUTIES AND REQUIREMENTS

   The provisions of 40 CFR § 144.51 are incorporated by reference into this Permit, except as
   modified by specific provisions in this Permit. In addition, the following general duties and
   requirements apply to this Permit and the Permittee.

       1. Duty to Comply

           The Permittee shall comply with all applicable UIC Program regulations and all
           conditions of this Permit, except to the extent and for the duration such non-
           compliance is authorized by an emergency permit issued in accordance with 40 CFR
           § 144.34. Any permit non-compliance constitutes a violation of the SDWA and is
           grounds for enforcement action, permit termination, revocation and reissuance, or
           modification, or denial of a permit renewal application. Such non-compliance may


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           also be grounds for enforcement action under the Resource Conservation and
           Recovery Act (RCRA).

       2. Penalties for Violations of Permit Conditions

           Any person who violates a permit requirement is subject to civil penalties, fines, and
           other enforcement action under the SDWA and may also be subject to enforcement
           actions pursuant to RCRA or other actionable authorities. Any person who willfully
           violates a permit condition may be subject to criminal prosecution.

       3. Need to Halt or Reduce Activity Not a Defense

           It shall not be a defense for the Permittee in an enforcement action that it would have
           been necessary to halt or reduce the permitted activity in order to maintain
           compliance with the conditions of this Permit.

       4. Duty to Mitigate

           The Permittee shall take all reasonable steps to minimize and correct any adverse
           impact on the environment resulting from non-compliance with this Permit.

       5. Proper Operation and Maintenance

           The Permittee shall at all times properly operate and maintain all facilities and
           systems of treatment and control (and related appurtenances) which are installed or
           used by the Permittee to achieve compliance with the conditions of this Permit.
           Proper operation and maintenance includes effective performance, adequate funding,
           adequate operator staffing and training, and adequate laboratory and process controls,
           including appropriate quality assurance procedures. This provision requires the
           operation of back-up or auxiliary facilities or similar systems only when necessary to
           achieve compliance with the conditions of this Permit.

       6. Property Rights

           This Permit does not convey any property rights of any sort, or any exclusive
           privilege.

       7. Duty to Provide Information

           The Permittee shall furnish to EPA, within a time specified, any information which
           EPA may request to determine whether cause exists for modifying, revoking and
           reissuing, or terminating this Permit, or to determine compliance with this Permit.
           The Permittee shall also furnish to EPA, upon request, copies of records required to
           be kept by this Permit.




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       8. Inspection and Entry

           The Permittee shall allow EPA, or an authorized representative, upon the presentation
           of credentials and other documents as may be required by law, to:

                a. Enter upon the Permittee's premises where a regulated facility or activity is
                   located or conducted, or where records are kept under the conditions of this
                   Permit;

                b. Have access to and copy, at reasonable times, any records that are kept under
                   the conditions of this Permit;

                c. Inspect and photograph, at reasonable times, any facilities, equipment
                   (including monitoring and control equipment), practices, or operations
                   regulated or required under this Permit; and

                d. Sample or monitor at reasonable times, for the purposes of assuring permit
                   compliance or as otherwise authorized by the SDWA, any substances or
                   parameters at any location.

       9. Submittal Requirements

           The Permittee shall follow the procedures set forth below for all submittals made to
           EPA under this Permit, including all notices and reports:

                a. All submittals to EPA shall be signed and certified by a responsible corporate
                   officer or duly authorized representative consistent with the requirements of
                   40 CFR §§ 122.22, 144.32, and 144.51(k).

                b. Unless otherwise required by this Permit or rule, all submissions (including
                   correspondence, reports, records and notifications) required under this Permit
                   shall be in writing and mailed first class mail to the following address:

                       U.S. Environmental Protection Agency, Region 9
                       Water Division
                       UIC Program
                       Groundwater Protection Section (WTR-4-2)
                       75 Hawthorne St.
                       San Francisco, CA 94105-3901

                       and by e-mail to: albright.david@epa.gov.

                c. The compliance date for submittal of a report is the day it is mailed.




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       10. Additional Reporting Requirements

                a. Planned Changes

                   The Permittee shall give notice to EPA as soon as possible of any planned
                   physical alterations or additions to the permitted facility.

                b. Anticipated Non-compliance

                   The Permittee shall give advance notice to EPA of any planned changes in the
                   permitted facility or activity which may result in non-compliance with permit
                   requirements.

                c. Compliance Schedules

                   Reports of compliance or non-compliance with, or any progress reports on,
                   interim and final requirements contained in any compliance schedule of this
                   Permit shall be submitted to EPA no later than thirty (30) days following each
                   schedule date.

                d. Monitoring Reports

                   Monitoring results shall be reported at the intervals specified elsewhere in this
                   Permit.

                e. Twenty-four Hour Reporting

                      i. The Permittee shall report to EPA any non-compliance which may
                         endanger health or the environment, including:

                              (a) Any monitoring or other information which indicates that any
                                  contaminant may cause an endangerment to a USDW; or

                              (b) Any non-compliance with a permit condition, or malfunction
                                  of the injection system, which may cause fluid migration into
                                  or between USDWs.

                      ii. Any information shall be provided orally within twenty-four (24)
                          hours from the time the Permittee becomes aware of the
                          circumstances. A written submission of all non-compliance as
                          described in Section III.E.10.e.i., above, shall also be provided to EPA
                          within five (5) days of the time the Permittee becomes aware of the
                          circumstances. The written submission shall contain: a description of
                          the non-compliance and its cause; the period of non-compliance,
                          including exact dates and times; if the non-compliance has not been
                          corrected, the anticipated time it is expected to continue; and steps


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                          taken or planned to reduce, eliminate, and prevent recurrence of the
                          non-compliance.

                f. Other Non-compliance

                   At the time monitoring reports are submitted, the Permittee shall report in
                   writing all other instances of non-compliance not otherwise reported pursuant
                   to other reporting requirements outlined in this Permit. The Permittee shall
                   submit the information listed in Section III.E.10.d.

                g. Other Information

                   If the Permittee becomes aware that it failed to submit all relevant facts in the
                   permit application, or submitted incorrect information in the permit
                   application or in any report to EPA, the Permittee shall submit such facts or
                   information within two (2) weeks of the time such facts or information
                   becomes known.

       11. Requirements Prior to Commencing Injection, Plugging and Abandonment Report,
           Duty to Establish and Maintain Mechanical Integrity

           The Permittee shall comply with all applicable requirements set forth at 40 CFR §§
           144.51(m)-(q) and as outlined throughout this Permit.

       12. Continuation of Expiring Permit

                a. Duty to Re-apply

                   If the Permittee wishes to continue an activity regulated by this Permit after
                   the expiration date of this Permit, the Permittee must submit a complete
                   application to EPA for a new permit at least three hundred and sixty five (365)
                   days before this Permit expires.

                e. Permit Extensions

                   The conditions and requirements of an expired permit continue in force and
                   effect in accordance with 5 U.S.C. § 558(c) until the effective date of a new
                   permit, if:

                      i. The Permittee has submitted a timely and complete application for a
                         new permit; and

                      ii. EPA, through no fault of the Permittee, does not issue a new permit
                          with an effective date on or before the expiration date of the previous
                          permit.



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       13. Records of Permit Application

           The Permittee shall maintain records of all data required to complete the permit
           application and any supplemental information submitted with the permit application.

       14. Availability of Reports

           Except for information determined to be confidential under 40 C.F.R. Part 2, Subpart
           B, all permit applications, permits, reports, and well operation data prepared in
           accordance with the conditions of this Permit shall be available for public inspection
           at appropriate offices of the EPA.




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Appendix A

Project Maps
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                                                                                                                                                                          Case: 23-1268, 06/23/2023, DktEntry: 5.1, Page 41 of 119                                                    (41 of 119)

                                                                                                                                                             121°15'0"W    121°0'0"W        120°45'0"W            120°30'0"W     120°15'0"W       120°0'0"W         119°45'0"W    119°30'0"W
                                                                                                                                                  37°45'0"N




                                                                                                                                                  37°30'0"N




                                                                                                                                                  37°15'0"N




                                                                                                                                                  37°0'0"N




                                                                                                                                                                                                                          Firebaugh
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                                                                                                                                                  36°45'0"N
                                                                                                                                                                                               PANOCHE
                                                                                                                                                                                                 HILLS                   SITE




                                                                                                                                                  36°30'0"N




                                                                                                                                                  36°15'0"N




                                                                                                                                                  36°0'0"N




                                                                                                                                                                                                                                          PANOCHE ENERGY CENTER
                                                                                                                                                                                                                                          43833 WEST PANOCHE ROAD
                                                                                                                                                                                                                                          FIREBAUGH, CALIFORNIA




                                                                                                                                                                                           0             10        20                     SITE VICINITY
                                                                                                                                                                                                 SCALE IN MILES
                                                                                                                                                                    CA
                                                                                                                                                                                                MAP SOURCE: ESRI                          APPROXIMATE SCALE: 1 IN = 20 MI
                                                                                                                                                                             SITE COORDINATES: 36°39'3"N, 120°35'4"W                      OCTOBER 2017                           FIGURE 1
                                                                                                                                                                      Case: 23-1268, 06/23/2023, DktEntry: 5.1, Page 42 of 119                                                                       (42 of 119)

                                                                                                                                                             120°37'0"W       25                         120°36'0"W            30          120°35'0"W                              120°34'0"W
                                                                                                                                                    26                                                                                                       29                                 28




                                                                                                                                                        35                    36                                                                                 32
                                                                                                                                                                                                                          31

                                                                                                                                                                                                                                                                                                33

                                                                                                                                                 36°40'0"N


                                                                                                                                                    14S 12E                                                                            14S 13E
                                                                                                                                                    15S 12E                                                                            15S 13E


                                                                                                                                                                          1                                           6                                     5
                                                                                                                                                    2

                                                                                                                                                                                                                                SITE                                                            4



                                                                                                                                                 36°39'0"N
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                                                                                                                                                                                                                                                        SWSW 1/4, S5, T15S, R13E




                                                                                                                                                                                                                      7                                     8
                                                                                                                                                   11                 12


                                                                                                                                                                                                                                                                                                9




                                                                                                                                                 36°38'0"N




                                                                                                                                                   14                 13                                              18                                    17

                                                                                                                                                                                                                                                                                                16
                                                                                                                                                                                ¦
                                                                                                                                                                                §
                                                                                                                                                                                ¨  5




                                                                                                                                                                           24                                             19                                    20
                                                                                                                                                   23                                                                                                                                           21
                                                                                                                                                 36°37'0"N

                                                                                                                                                                                                                                             PANOCHE ENERGY CENTER
                                                                                                                                                                                                                                             43833 WEST PANOCHE ROAD
                                                                                                                                                                                                                                             FIREBAUGH, CALIFORNIA




                                                                                                                                                                                       0           0.5                1                      PROJECT LOCUS
                                                                                                                                                             CA                              SCALE IN MILES

                                                                                                                                                                                                   MAP SOURCE: ESRI                          APPROXIMATE SCALE: 1 IN = 1 MI
                                                                                                                                                                                SITE COORDINATES: 36°39'5"N, 120°35'7"W                      SEPTEMBER 2017                               FIGURE 2
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Appendix B

Well Schematics
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                         Panoche Energy Center                                                                          FIGURE M-1
                               Well IW1
EPA UIC Permit # CA10600001                                          Spud: September 26, 2008 Final Drilling Rig (Kenai #5)
Operator: Panoche Energy Center, LLC                                 Report: December 17, 2008 Final Completion Rig (Rival #9)
Location: Section Sec 5 T15S R13E                                    URS Completion Report: February 19, 2009
County/ State: Fresno / California
                                                                     Surface Elevation: 408 feet above Mean Sea level (MSL)
Wellhead Location:                                                   Rig Kelly busing (KB) depth =13 feet (ft.) above Ground
Latitude: 36.650645 and                                              Surface (KB =421 ft. MSL)
                                                                     (All depths listed below are referenced to a depth below KB.)
Longitude:-120.5838281
                                               Wellbore Diagram
                                                                                                                   GROUND SURFACE
                                                                               20 inch (in.) Conductor Casing run to 80 feet and
                                                                               cemented to surface.
                                                                               Surface Casing String cemented to surface with 850 cubic
                                                                               feet (ft.3) of Type III cement in two stages (280 ft.3
1,000 feet                                                                     circulated to surface).
             17-1/2 in. borehole
                                                                             13-3/8 in. Surface Casing (54.5#, grade K-55, LTC threads)
                                                                             set from surface to 975 feet.

2,000 feet


     Alluvium / Tulare Formation /
                                                                         Intermediate Casing String cemented to surface with 2,437 ft.3
      Undifferentiated Sandstone                                         of Type G cement in four stages (168 ft.3 circulated to surface).
               and Shale
3,000 feet
               12-1/4 in. borehole
                                                                           Base of Lowermost Underground Source of Drinking
                                                                           Water (USDW) at a depth of approximately 3,430 feet
         Kreyenhagen Formation
            (Confining Strata)                                       5-1/2 in. Injection Tie-Back String (17#, grade L-80, LTC threads). The
4,000 feet
                                                                     injection tubing was strung into the Polished Borehole Receptacle
                                                                     (PBR) which was included in the Slotted Liner Hanger Assembly (see
             Domengine / Lodo                                        below for details).
               Formations                                                  9-5/8 in. First Intermediate Casing String (40/36#, grade K-55,
                                                                           LTC threaded tubing) set from surface to 4,980 feet.
5,000 feet


                 9-7/8 in. borehole
                                                                        Second Intermediate Casing String cemented to top of liner
                                                                        with 1,263 ft3 of Type G cement in one stage (196 ft.3
                                                                        circulated off the top of liner to surface).
6,000 feet

             Moreno Formation
             (Confining Strata)                                       5-1/2 in. Slotted Liner Hanger Assembly (consisting of: a Select
                                                                      Tools PBR, a 5-1/2 in. x 7-5/8 in. Texas Iron Works HLX15
7,000 feet
                                                                      retrievable liner top packer and a liner top hanger), top of
                                                                      assembly set at 7,351 feet.
                                                                        7-5/8 in. Second Intermediate Casing String (29.7 N-80 and P-110
                                                                        and 26.4#, K55, LTC treaded tubing) run from 4,700 to 7,470 feet.
Panoche Formation (Injection Zone)                               Top of 3-1/2 in. Weatherford’s HSP Packer and 3-1/2 in.
                                                                 liner set at 7,389 feet.
8,000 feet
                     71/2 in. borehole                              5-1/2 in. Slotted Liner (17#, grade L-80, LTC threads) set from 7,351 to
                                                                    8,330 feet with blank sections at 7,351 to 7,460 feet and 8,024 to
                       Total Depth: 8,360 feet
                                                                    8,179 feet.
                                 Bottomhole Location:
                                                                    3-1/2 in. Wire Wrapped Screen (0.12G) Sand Control Liner from
                                 Latitude: 36.6504136 and
                                                                    7,389 to 8,323 feet.
9,000 feet
                                 Longitude:-120.5845274
               Top of fill at 8,245 feet on 12/ 09/2016               5-1/2 in. Slotted Liner Shoe to 8,341 feet.
                                                                    3-1/2 in. Sand Control Liner Shoe to 8,329 feet.
                                                            UPDATED BY HALEY & ALDRICH, INC AND WEEGAR-EIDE & ASSOCIATES, LLC ON 12/18/2018
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                       Panoche Energy Center                                                                        FIGURE M-2
                             Well IW2
EPA UIC Permit # CA10600001                                       Spud: December 19, 2008 Final Drilling Rig (Kenai #5)
                                                                  Report: January 17, 2008 Final Completion Rig (Rival #9)
Operator: Panoche Energy Center, LLC
                                                                  Report: January 29, 2009
Location: Section Sec 5 T15S R13E
County/ State: Fresno / California
                                                                  Surface Elevation: 408 feet above Mean Sea level (MSL)
                                                                  Rig Kelly busing (KB) depth =13 feet (ft.) above Ground
Wellhead Location:                                                Surface (KB =421 ft. MSL)
Latitude: 36.650588 and                                           (All depths listed below are referenced to a depth below KB.)
Longitude:-120.5849399
                                               Wellbore Diagram
                                                                                                                GROUND SURFACE
                                                                          16-1/4 in. Conductor Casing run to 80 feet in 20 inch
                                                                          (in.) borehole and cemented to surface.
                                                                          Surface Casing String cemented to surface with 1,175 cubic
                                                                          feet (ft.3) of Type III cement in two stages (353 ft.3
1,000 feet
                                                                          circulated to surface).
             14-3/4 in. borehole
                                                                           10-3/4 in. Surface Casing (40.5#, grade K-55, STC threads)
                                                                           set from surface to 1,612 feet.




     Alluvium / Tulare Formation /                                 5-1/2 in. Injection Tie-Back String (17#, grade L-80, LTC threads)
                                                                   and bottom seal assembly set from surface to 7,502 feet. The
      Undifferentiated Sandstone
                                                                   injection tubing was stung into the Polished borehole receptacle
               and Shale                                           (PBR) which was included in the Slotted Liner Hanger Assembly
3,000 feet                                                         (see below for details).
                    9-7/8 in.borehole
                                                                    Base of Lowermost Underground Source of Drinking
                                                                    Water (USDW) at a depth of approximately 3,430 feet
          Kreyenhagen Formation
4,000 feet
             (Confining Strata)

                                                                     Hole packed-off while circulating through DV tool, unable to
             Domengine / Lodo                                        finish cement to surface.
               Formations                                            2 stage cement differential valve (DV) tool at 4,826 feet.
5,000 feet




                 9-7/8 in. borehole                                  Intermediate Casing String cemented with 913 ft3 of Type G
                                                                     cement (only one stage was pumped due to pack-off hole).
6,000 feet


             Moreno Formation
             (Confining Strata)
                                                                   5-1/2 in. Liner Hanger Assembly (consisting of a Select Tools PBR, a
7,000 feet
                                                                   5-1/2 in. x 7-5/8 in.Texas Iron Works HLX15 retrievable liner top
                                                                   packer and a liner top hanger), top of assembly set at 7,502 feet.


                                                                      7-5/8 in. Intermediate Casing String (29.7 and 26.4#, grades
Panoche Formation (Injection Zone)                                    N80 and K-55, LTC threads) run from surface to 7,609 feet.
8,000 feet
                                                                  5-1/2 in. Steel Wire Wrapped Screen (0.012 in. slot) and blank Liner
   71/2 in. reaming while drilling                                Interval (17#, grade L-80, LTC threads)set from 7,502 to 8,781 feet
   borehole                                                       with blank sections at 7,530 to 7,604 feet and 7,981 to 8,169 feet.


9,000 feet
                     Total Depth: 8,901 feet                      5-1/2 in. Liner Shoe top set at 8,781 feet.
                                   Bottomhole Location:           Top of fill at 8,520 feet on 12/12/2016
        Latitude: 36.6505542 and Longitude:-120.5860567
                                                         UPDATED BY HALEY & ALDRICH, INC AND WEEGAR-EIDE & ASSOCIATES, LLC ON 12/18/2018
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                       Panoche Energy Center                                                                                   FIGURE M-3
                             Well IW3
EPA UIC Permit # CA10600001                                                Spud: April 30, 2009
Operator: Panoche Energy Center, LLC                                       Final Original Hole Drilling Rig Report : May 25, 2009
Location: Section Sec 5 T15S R13E                                          Start of Well Deepening Sidetrack: October 19, 2011
County/ State: Fresno / California                                         Final Well Deepening Report: May 15, 2012

Wellhead Location:                                                 Surface Elevation: 408 feet above Mean Sea level (MSL)
Latitude: 36.6506313 and                                           Rig Kelly busing (KB) depth = 19 feet (ft.) above Ground
                                                                   Surface (KB =427 ft. MSL)
Longitude:-120.5833801
                                                  Wellbore Diagram (All depths listed below are referenced to a depth below KB.)
                                                                                                            GROUND SURFACE
                                                                                     16 inch (in.) Conductor Casing run to 80 feet and
                                                                                     cemented to surface.

                                                                                     Surface Casing String cemented to surface with 1,292 cubic
                                                                                     feet (ft3)of Type III cement in two stages (224 ft3 were
1,000 feet                                                                           circulated to surface).
              14-3/4 in. borehole

                                                                                     10-3/4 in. Surface Casing (40.5 lb/ft,K-55, LTC) set from
                                                                                     surface to 1,652 feet.

2,000 feet


     Alluvium / Tulare Formation /                                               Intermediate Casing String cemented to surface with 1,583
      Undifferentiated Sandstone                                                 ft.3 of Type G cement in two stages (112 ft.3 were circulated
               and Shale                                                         to surface).
3,000 feet


                                                                               Base of Lowermost Underground Source of Drinking
                                                                               Water (USDW) at a depth of approximately 3,430 feet
          Kreyenhagen Formation
                                                                            Tapered Injection Tie-Back String composed of 51/2 in. (17 lb/ft, N-
4,000 feet
             (Confining Strata)                                             80, SMAX) tubing set to 5,705 feet; a Crossover [5-1/2 in. SMAX box
                        9-7/8 in. hole                                      to 3-1/2 in. EUE (8rd) pin] section set from 5,705 to 5,706 feet; and
                                                                            3-1/2 in. (9.3 lb/ft, N-80, EUE) set from 5,706 to 7,365 feet.
             Domengine / Lodo
                                                                                7-5/8 in. Intermediate Casing (mixed string consisting of K-55
               Formations                                                       and N-80,26.4 lb/ft and P110, 29.7 lb/ft.,LTC threaded) set from
5,000 feet                                                                      surface to 6,147 feet


                                                                             Liner Hanger Assembly consisting of a Weatherford‘s
             Moreno Formation                                                polished borehole receptcale, TSP liner hanger packer and a
             (Confining Strata)                                              7-5/8 in. x 5-1/2 in. PHR liner hanger set starting at 5,784 feet.
6,000 feet
           Whipstock set at 5,989 feet.
Abandoned completion: cement plug                                               Milled window from 5,976 to 5,986 feet.
placed from 5,985 to 6,753 feet in original                                             5-1/2 in. sidetrack liner (#7lb/ft, N-80, LTC threads) ran
hole using 123 ft.3 of Class G cement. Plug                                             from 5,784 to 8,995 feet with Weatherford float shoe
dressed to 5,990 feet.                                                                  and float collar.
7,000 feet
                                        Original Completion
                                      Total Depth = 6,847 feet
                                                                                                     5-1/2 in. x 2-7/8 in. Weatherford Arrowset I-X
                                                                                                     packer and bottomhole assembly with a
    Panoche Formation (Injection Zone)                                                               minimum bore through bottomhole
                                    6-3/4 in. sidetrack borehole                                     assembly of 2.31 in. at profile nipple. Center
8,000 feet
                                                                                                     of packer elements at 7,365 feet.
      Sidetrack Casing cemented with 460 ft.3 Bondcem cement.                                                 Casing perforated in selected
      Circulated out approximately 112 ft.3 excess cement.                                                    intervals from 8,220 to 8,800 feet
                                                                                                              at 6 shot per foot and 60 degree
                                                                                                              phasing.

9,000 feet
                                                                   Total Depth: 9,000 feet                      PBTD =8,947 feet
                                                                                      Bottomhole Location:
        Top of fill at 8,785 feet on 12/14/2016            Latitude: 36.6510755 and Longitude:-120.5837323
                                                                 UPDATED BY HALEY & ALDRICH, INC AND WEEGAR-EIDE & ASSOCIATES, LLC ON 12/18 / 2018
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                          Panoche Energy Center                                                                           FIGURE M-4
                                Well IW4
EPA UIC Permit # CA10600001                                            Spud: May 6, 2009
Operator: Panoche Energy Center, LLC                                   Final Original Hole Drilling Rig Report: June 4, 2009
Location: Section Sec 5 T15S R13E                                      Start of Well Deepening Sidetrack: October 20, 2011
County/ State: Fresno / California                                     Final Well Deepening Report: May 15, 2012

Wellhead Location:                                                Surface Elevation: 410 feet above Mean Sea level (MSL)
Latitude: 36.6509366 and                                          Rig Kelly busing (KB) depth =19 feet (ft.) above Ground
                                                                  Surface (KB =429 ft. MSL)
Longitude:-120.585846
                                                 Wellbore Diagram (All depths listed below are referenced to a depth below KB.)
                                                                                                           GROUND SURFACE
                                                                                 16 inch (in.) Conductor Casing run to 80 feet and
                                                                                 cemented to surface.

                                                                                 Surface Casing String cemented to surface with 1,856
                14-3/4 in. borehole                                              cubic feet (ft.3) of Type III cement in two stages (196
1,000 feet
                                                                                 ft.3 circulated to surface).


                                                                                 10-3/4 in. Surface Casing (40.5 lb/ft,K-55, LTC threads)
                                                                                 set from surface to 1,56 feet.

2,000 feet


     Alluvium / Tulare Formation /
      Undifferentiated Sandstone                                            Intermediate Casing String cemented to surface with 1,673
                                                                            ft.3 of Type G cement in two stages (84 ft.3 were circulated
               and Shale                                                    to surface).
3,000 feet


                                                                           Base of Lowermost Underground Source of Drinking
                                                                           Water (USDW) at a depth of approximately 3,430 feet
         Kreyenhagen Formation
            (Confining Strata)                                           Tapered Injection Tie-Back String composed of 5-1/2 in. (17 lb./ft.,
4,000 feet
                       9-7/8 in. borehole                                N-80, SMAX) tubing currently from surface to 5,592 feet; a
                                                                         Crossover [5-1/2 in. SMAX box to 3-1/2 in. EUE (8rd) pin] section
                                                                         set from 5,592 to 5,593 feet; and 3-1/2 in. (9.3 lb/ft, N80, EUE) set
              Domengine / Lodo                                           from 5,593 to 7,223 feet.
                Formations
                                                                            7-5/8 in. Intermediate Casing mixed string consisting of K-55
5,000 feet
                                                                            and N-80 (both 26.4 lb/ft) and P110 (29.7 lb./ft.) LTC threaded
                                                                            set from surface to 6,258 feet

                                                                         Liner hanger Assembly consisting of a Weatherford‘s polished
              Moreno Formation                                           borehole receptacle, TSP liner hanger packer and a PHR liner
              (Confining Strata)                                         7-5/8 in. x 5-1/2 in.; hanger set starts at 5,788 feet.
6,000 feet
             Whipstock set at 6,038 feet.
Abandoned Completion: cement plug                                          Milled window from 6,021 to 6,031 feet.
placed from 5,744 to 6,704 feet in original                                          5-1/2 in. sidetrack liner (#17lb./ft., N-80, LTC threads)
hole using 156 ft.3 of Class G cement. Plug                                          ran from 5,788 to 8,950 feet with Weatherford float
Dressed to 6,039 feet.                                                               shoe and float collar.
7,000 feet                   Original Completion Borehole
                                   Total Depth = 6,800 feet                                5.5 in. x 2.688 in. Weatherford ArrowDrill
                                                                                           Sealbore Packer bottomhole assembly with a
    Panoche Formation (Injection Zone)                                                     minimum bore through seal assembly of 1.938 in.
                                                                                           Packer set from 7,230 to 7,236 feet.
                                      6-3/4 in. sidetrack borehole
8,000 feet
     Sidetrack Casing cemented with 435 ft.3 Bondcem cement .                                            Casing perforated in selected
     Circulated out approximately 56 ft.3 excess cement.                                                 intervals from 7,380 to 8,785 feet
                                                                                                         at 6 shot per foot and 60 degree
                                                                                                         phasing.

                                                              Total Depth: 8,955 feet                  PBTD =8,903 feet
9,000 feet
             Top of fill at 8,799 feet on 12/12/2016                               Bottomhole Location:
                                                       Latitude:36.6518668 and Longitude:-120.5856758
                                                              UPDATED BY HALEY & ALDRICH, INC AND WEEGAR-EIDE & ASSOCIATES, LLC ON 12/18 /2017
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Provide by Hadaway Consulting & Engineering
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Appendix C

EPA Reporting Forms
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EPA Reporting Forms List

Form 7520-7: Application to Transfer Permit

Form 7520-8: Quarterly Injection Well Monitoring Report
Form 7520-18: Completion Report for Injection Wells

Form 7520-19: Well Rework Record, Plugging and Abandonment Plan, or Plugging and
Abandonment Affidavit

These forms are available for downloading at:
https://www.epa.gov/uic/underground-injection-control-reporting-forms-owners-or-operators
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Appendix D

Logging Requirements
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      UNITED STATES ENVIRONMENTAL PROTECTION AGENCY

                                          REGION 9

           RADIOACTIVE TRACER SURVEY (RTS) GUIDELINES


Introduction:
The intent of this guideline document is to provide general guidance to owners and operators of
Class I non-hazardous underground injection wells for performing radioactive tracer surveys
(RTS) used as a means of testing and measuring the external mechanical integrity of these wells
as defined in 40 CFR Part 146.8(a)(2). These guidelines are general in nature and individual
well conditions may require deviations from these procedures. All proposed plans and any
deviations from these guidelines to conduct radioactive tracer surveys must be approved in
advance by the EPA Region 9 Drinking Water Protection Section.

Basic Guidelines:
Prior to commencing performance of the RTS, the operator must have available onsite the
following:
    - EPA approved plan for conducting the RTS
    - Reference Gamma Ray (GR) or Open Hole logs and complete well construction details

The logging company must provide a drawing of their tool configuration with tool diameter, tool
length, spacing between detectors, ejector location, casing collar log (CCL), a sketch of the well
to be tested construction details and equipment details as part of the logging record.

Tool must include dual GR detectors spaced below the ejector port, centralized with a bow
spring centralizer (or motorized centralizer) and be run in conjunction with a CCL.

GR logs are usually run at approximately 60 ft /min. at a time constant of 1 second or 30 ft/min.
at a time constant of 2 seconds. Indicate the logging speed and time constant on the logging
record. The log scale should preferably correspond with that of the Reference lithology logs that
are made available for onsite correlation.

The radioisotope typically utilized for tracer surveys in injection wells is sodium iodine 131 with
a half-life of 8.05 days. It is important that the isotope be completely soluble with the injectate
fluid.
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Example Procedure:

Indicate the beginning and ending clock times on each log pass. Indicate the volume of water
injected between log passes. Indicate the volume and concentration of each slug of tracer
material and the depth and location of each slug. Where possible, the tracer survey should be
conducted utilizing the facility’s permitted injectate. If that is not possible, the injected water
should have a specific gravity equivalent to that of the facility wastewater and be compatible
with the formation and previously injected wastewater. A hydraulically actuated packoff
(lubricator) should be utilized even when high well pressures are not expected.

Install the RTS tool with an upper and lower detector and CCL. The RTS tool should be
configured to run a standard RTS and to conduct velocity shots. Place the RTS tool in the
lubricator and mount lubricator onto the injection wellhead. Open the master valve and slowly
start pumping into the well until the desired flow rate is reached.

Radioactive Baseline Survey
   1. Run a Correlation GR log with a CCL for 200 to 400 feet at or near the injection
      interval, provided lithology changes are sufficient for correlation purposes. This
      will allow equipment to be set on proper depths with the Reference Open Hole or
      GR logs for the well. The CCL should be run through the packer setting depth
      and preferably past a short casing joint to collect reference depth information.

   2. Run a Base GR log from total depth to approximately 400 feet above the packer
      setting depth. The log sensitivity should be set such that the slug trace response
      will take up the entire horizontal log scale in API units. The Base log need not
      be sensitive enough to show lithology. Record the Total Depth for this initial
      Base log.

   3. Record the injection rate and pressure on the well log record for each log pass.
      The test should be conducted at the rate corresponding to the Maximum
      Authorized Injection Pressure (MAIP); however, where the well has been
      operating at a pressure and rate that are lower than the MAIP, the operator may
      request approval in advance that the RTS should be run at those operating
      pressures and rates in which the well normally operates (lower than the MAIP).

Radioactive Tracer Depth Drive Survey
   4. Initiate the first slug/ejection with the ejector situated approximately 200 feet
      above the packer. Record the depth and time, verify ejection of the slug, then
      drop below the slug and record the time, logging speed, time constant, flow rate,
      etc. Proceed to make the first logging run up through the slug to above where
      the slug was initially ejected. Note the time when logging terminated, then again
      drop past the slug and repeat the logging procedure, each time overlapping the
      previous log and up to a point where the log returns to baseline. Repeat the
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       logging sequence until all tracer material has exited the wellbore or has
       diminished substantial amounts.

Radioactive Tracer Time Drive Survey
   5. Initiate a second ejection with the tool set 2 to 5 feet above the injection interval and on
      time drive. Wait for the pre-calculated Wait-Time to observe whether any vertical
      migration is occurring. Increase the pump rate to the anticipated operating injection rate
      and leave on time drive for another 10 to 15 minutes. Note times, flow rates, pressures,
      and slug depth.

Radioactive Tracer Vertical Migration Survey
   6. Initiate a third ejection approximately 200 feet above the packer, then follow the
      slug to the injection zone using multiple log passes as with the first slug/ejection
      to check for leakage around the packer.

Radioactive Tracer Velocity Survey
   7. These can be performed at this juncture of the testing. First, run a velocity
      profile over the injection horizon noting injection rate. Make velocity shots of
      tracer material at recorded intervals while injection is occurring at less than
      normal or peak pumping rates. Run the gamma ray tool through the injection
      zone and record injectate across the intervals injected. Increase the well injection
      rate to maximum or normal pumping rate and repeat velocity shots of tracer
      material at recorded intervals. Run the GR tool through the injection zone and
      record injectate across the intervals injected at the higher well pumping rate. The
      information gathered from the two passes made at different pumping rates will
      allow flow distribution to be compared at the different rates.

Radioactive Post Tracer Survey
   8. After sufficient testing has been done to determine the exit point of the tracer
      material and for indications of vertical migration, drop to and record this second
      total depth and run a final Base GR log from total depth to approximately 400
      feet above the packer at the same logging speed and sensitivity as with initial
      base log. These two logs should overlay each other with all the “hot spots” being
      explainable.

Post Survey Requirements
   9. Interpretation of the log must be provided by the logging company on the log
       itself. The well log heading should be completely filled out with all essential
       information provided such as well name and number, coordinates, well
       owner/operator, reference logs, and elevations, etc. documented. The log should
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       be depicted in a manner that fully describes the operations conducted with
       explanations inserted to minimize the possibility of misinterpretation. Three
       copies of the final prints must be forwarded to the EPA Region 9 Groundwater
       Office within 30 days of the survey. The electronic copy may be provided via
       mailed storage disk, email or a web accessed site. Courtesy field copies
       provided to the onsite EPA Inspector are not official records.

   10. The operator provides an analytical interpretation of the logging results
       performed by a qualified analyst. This must include a written description of the
       procedure, the methodology used to calculate the Wait-Time and conclusions
       drawn from the test. The submittal must also include a fluid loss profile across
       the injection interval.

NOTE: The above referenced method for performing a Radioactive Tracer Survey
(RTS) is not necessarily prescriptive of how all tests are to be conducted. Each
underground injection well presents unique subsurface geological, pressure and injection
rate situations which must be properly accounted for when designing specific RTS plans
and procedures and approved in advance.

References and Additional Information:

Refer to the following EPA publications for additional information and guidance on running and
interpreting radioactive tracer and temperature logs for evaluation of injection well integrity:

   •   Dr. R. M. McKinley’s publication EPA/600/R-94/124, Temperature, Radioactive Tracer,
       and Noise Logging for Injection Well Integrity.
       It is out of print, but can be downloaded (searched as “600R94124”) from the National
       Service Center for Environmental Publications (NSCEP) site:

       https://www.epa.gov/nscep

   •   EPA Region 8 UIC Program Staff Guidance Document at:
       http://www2.epa.gov/sites/production/files/documents/INFO-RATS.pdf


Special acknowledgments for additional consultation with:
       Texas World Operations, Inc.
       Dr. R.M. McKinley
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              UNITED STATES ENVIRONMENTAL PROTECTION AGENCY

                                               REGION 9

                            TEMPERATURE LOGGING GUIDELINES

A Temperature “Decay” Log (two separate temperature logging passes) must satisfy the following criteria
to be considered a valid MIT as specified by 40 CFR §146.8(c)(1). Variances to these requirements are
expected for certain circumstances, but they must be approved prior to running the log. As a general rule,
the well shall inject for approximately six (6) months prior to running a temperature decay progression
sequence of logs.
1. With the printed log, also provide raw data for both logging runs (at least one data reading per foot
depth) unless the logging truck is equipped with an analog panel as the processing device.
2. The heading on the log must be complete and include all the pertinent information, such as correct well
name, location, elevations, etc.
3. The total shut-in times must be clearly shown in the heading. Minimum shut-in time for active injectors
is twelve (12) hours for running the initial temperature log, followed by a second log, a minimum of four
(4) hours later. These two log runs will be superimposed on the same track for final presentation.
4. The logging speed must be kept between twenty (20) and fifty (50) feet per minute (30 ft/min
optimum) for both logs. The temperature sensor should be located as close to the bottom of the tool string
as possible (logging downhole).
5. The vertical depth scale of the log should be one (1) or two (2) inches per one-hundred (100) feet to
match lithology logs (see 7(b)). The horizontal temperature scale should be no more than one Fahrenheit
degree per inch spacing.
6. The right hand tracks must contain the "absolute" temperature and the "differential" temperature curves
with both log runs identified and clearly superimposed for comparison and interpretation purposes.
7. The left hand tracks must contain (unless impractical, but EPA must pre-approve any deviations):
        (a) a collar locator log,
        (b) a lithology log which includes either:
                (i) an historic Gamma Ray that is "readable", i.e. one that demonstrates lithologic
                changes without either excessive activity by the needle or severely dampened responses;
                or
                (ii) a copy of an original spontaneous potential (SP) curve from either the subject well or
                from a representative, nearby well.
        (c) A clear identification on the log showing the base of the lowermost Underground Source of
        Drinking Water (USDW). A USDW is basically a formation that contains less than ten thousand
        (10,000) parts per million (ppm) Total Dissolved Solids (TDS) and is further defined in 40 CFR
        §144.3.
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Appendix E

EPA Region 9 UIC Pressure Falloff Requirements
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             EPA Region 9
       UIC PRESSURE FALLOFF
           REQUIREMENTS


          Condensed version of the
              EPA Region 6
     UIC PRESSURE FALLOFF
      TESTING GUIDELINE
                   Third Revision




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                Layered Reservoir



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     Semilog Plot Determination of the Appropriate Time Function for the Semilog Plot
     Parameter Calculations and Considerations
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                                    REQUIREMENTS
                    UIC PRESSURE FALLOFF TESTING GUIDELINE
                                        Third Revision
                                        August 8, 2002


1.0 Background

Region 9 has adopted the Region 6 UIC Pressure Falloff Testing Guideline requirements for
monitoring Class 1 Non Hazardous waste disposal wells. Under 40 CFR 146.13(d)(1), operators
are required annually to monitor the pressure buildup in the injection zone, including at a
minimum, a shut down of the well for a time sufficient to conduct a valid observation of the
pressure falloff curve.

All of the following parameters (Test, Period, Analysis) are critical for
evaluation of technical adequacy of UIC permits:
A falloff test is a pressure transient test that consists of shutting in an injection well and
measuring the pressure falloff. The falloff period is a replay of the injection preceding it;
consequently, it is impacted by the magnitude, length, and rate fluctuations of the injection
period. Falloff testing analysis provides transmissibility, skin factor, and well flowing and
static pressures.


2.0 Purpose of Guideline

This guideline has been adopted by the Region 9 office of the Evironmental Protection Agency
(EPA) to assist operators in planning and conducting the falloff test and preparing the
annual monitoring report.

Falloff tests provide reservoir pressure data and characterize both the injection interval reservoir
and the completion condition of the injection well. Both the reservoir parameters and pressure
data are necessary for UIC permit demonstrations. Additionally, a valid falloff test is a
monitoring requirement under 40 CFR Part 146 for all Class I injection wells.

The ultimate responsibility of conducting a valid falloff test is the task of the operator.
Operators should QA/QC the pressure data and test results to confirm that the results “make
sense” prior to submission of the report to the EPA for review.




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3.0 Timing of Falloff Tests and Report Submission

Falloff tests must be conducted annually. The time interval for each test should not be less
than 9 months or greater than 15 months from the previous test. This will ensure that the tests
will be performed at relatively even intervals.

The falloff testing report should be submitted no later than 60 days following the test. Failure
to submit a falloff test report will be considered a violation and may result in an enforcement
action. Any exceptions should be approved by EPA prior to conducting the test.


4.0 Falloff Test Report Requirements

In general, the report to EPA should provide:
       (1) general information and an overview of the falloff test,
       (2) an analysis of the pressure data obtained during the test,
       (3) a summary of the test results, and
       (4) a comparison of those results with previously used parameters.

Some of the following operator and well data will not change so once acquired, it can be copied
and submitted with each annual report. The falloff test report should include the following
information:

1.     Company name and address
2.     Test well name and location
3.     The name and phone number of the facility contact person. The contractor contact may
       be included if approved by the facility in addition to a facility contact person.
4.     A photocopy of an openhole log (SP or Gamma Ray) through the injection interval
       illustrating the type of formation and thickness of the injection interval. The entire log is
       not necessary.
5.     Well schematic showing the current wellbore configuration and completion information:
       Χ        Wellbore radius
       Χ        Completed interval depths
       Χ        Type of completion (perforated, screen and gravel packed, openhole)
6.     Depth of fill depth and date tagged.
7.     Offset well information:
       Χ        Distance between the test well and offset well(s) completed in the same interval
                or involved in an interference test
       Χ        Simple illustration of locations of the injection and offset wells
8.     Chronological listing of daily testing activities.
9.     Electronic submission of the raw data (time, pressure, and temperature) from all
       pressure gauges utilized on CD-ROM. A READ.ME file or the disk label should list all
       files included and any necessary explanations of the data. A separate file containing any

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      edited data used in the analysis can be submitted as an additional file.
10.   Tabular summary of the injection rate or rates preceding the falloff test. At a
      minimum, rate information for 48 hours prior to the falloff or for a time equal to twice the
      time of the falloff test is recommended. If the rates varied and the rate information is
      greater than 10 entries, the rate data should be submitted electronically as well as a hard
      copy of the rates for the report. Including a rate vs time plot is also a good way to
      illustrate the magnitude and number of rate changes prior to the falloff test.
11.   Rate information from any offset wells completed in the same interval. At a
      minimum, the injection rate data for the 48 hours preceding the falloff test should be
      included in a tabular and electronic format. Adding a rate vs time plot is also helpful to
      illustrate the rate changes.
12.   Hard copy of the time and pressure data analyzed in the report.
13.   Pressure gauge information: (See Appendix, page A-1 for more information on
      pressure gauges)
      Χ        List all the gauges utilized to test the well
      Χ        Depth of each gauge
      Χ        Manufacturer and type of gauge. Include the full range of the gauge.
      Χ        Resolution and accuracy of the gauge as a % of full range.
      Χ        Calibration certificate and manufacturer's recommended frequency of calibration
14.   General test information:
      Χ        Date of the test
      Χ        Time synchronization: A specific time and date should be synchronized to an
               equivalent time in each pressure file submitted. Time synchronization should also
               be provided for the rate(s) of the test well and any offset wells.
      Χ        Location of the shut-in valve (e.g., note if at the wellhead or number of feet from
               the wellhead)
15.   Reservoir parameters (determination):
      Χ        Formation fluid viscosity, μf cp (direct measurement or correlation)
      Χ        Porosity, φ fraction (well log correlation or core data)
      Χ        Total compressibility, ct psi-1 (correlations, core measurement, or well test)
      Χ        Formation volume factor, rvb/stb (correlations, usually assumed 1 for water)
      Χ        Initial formation reservoir pressure - See Appendix, page A-1
      Χ        Date reservoir pressure was last stabilized (injection history)
      Χ        Justified interval thickness, h ft - See Appendix, page A-15
16.   Waste plume:
      Χ        Cumulative injection volume into the completed interval
      Χ        Calculated radial distance to the waste front, rwaste ft
      Χ        Average historical waste fluid viscosity, if used in the analysis, μwaste cp




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17.    Injection period:
       Χ       Time of injection period
       Χ       Type of test fluid
       Χ       Type of pump used for the test (e.g., plant or pump truck)
       Χ       Type of rate meter used
       Χ       Final injection pressure and temperature
18.    Falloff period:
       Χ       Total shut-in time, expressed in real time and Δt, elapsed time
       Χ       Final shut-in pressure and temperature
       Χ       Time well went on vacuum, if applicable
19.    Pressure gradient:
       Χ       Gradient stops - for depth correction
20.    Calculated test data: include all equations used and the parameter values assigned for
       each variable within the report
       Χ       Radius of investigation, ri ft
       Χ       Slope or slopes from the semilog plot
       Χ       Transmissibility, kh/μ md-ft/cp
       Χ       Permeability (range based on values of h)
       Χ       Calculation of skin, s
       Χ       Calculation of skin pressure drop, ΔPskin
       Χ       Discussion and justification of any reservoir or outer boundary models used to
               simulate the test
       Χ       Explanation for any pressure or temperature anomaly if observed
21.    Graphs:
       Χ     Cartesian plot: pressure and temperature vs. time
       Χ     Log-log diagnostic plot: pressure and semilog derivative curves. Radial flow
             regime should be identified on the plot
       Χ     Semilog and expanded semilog plots: radial flow regime indicated and the
             semilog straight line drawn
       Χ     Injection rate(s) vs time: test well and offset wells (not a circular or strip chart)
22.    A copy of the latest radioactive tracer run and a brief discussion of the results.


5.0 Planning

The radial flow portion of the test is the basis for all pressure transient calculations.
Therefore the injectivity and falloff portions of the test should be designed not only to reach
radial flow, but to sustain a time frame sufficient for analysis of the radial flow period.

General Operational Concerns
Χ      Adequate storage for the waste should be ensured for the duration of the test


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Χ     Offset wells completed in the same formation as the test well should be shut-in, or at a
      minimum, provisions should be made to maintain a constant injection rate prior to and
      during the test
Χ     Install a crown valve on the well prior to starting the test so the well does not have to be
      shut-in to install a pressure gauge
Χ     The location of the shut-in valve on the well should be at or near the wellhead to
      minimize the wellbore storage period
Χ     The condition of the well, junk in the hole, wellbore fill or the degree of wellbore damage
      (as measured by skin) may impact the length of time the well must be shut-in for a valid
      falloff test. This is especially critical for wells completed in relatively low
      transmissibility reservoirs or wells that have large skin factors.
Χ     Cleaning out the well and acidizing may reduce the wellbore storage period and therefore
      the shut-in time of the well
Χ     Accurate recordkeeping of injection rates is critical including a mechanism to
      synchronize times reported for injection rate and pressure data. The elapsed time format
      usually reported for pressure data does not allow an easy synchronization with real time
      rate information. Time synchronization of the data is especially critical when the
      analysis includes the consideration of injection from more than one well.
Χ     Any unorthodox testing procedure, or any testing of a well with known or anticipated
      problems, should be discussed with EPA staff prior to performing the test.
Χ     If more than one well is completed into the same reservoir, operators are encouraged to
      send at least two pulses to the test well by way of rate changes in the offset well
      following the falloff test. These pulses will demonstrate communication between the
      wells and, if maintained for sufficient duration, they can be analyzed as an interference
      test to obtain interwell reservoir parameters.

Site Specific Pretest Planning

1.    Determine the time needed to reach radial flow during the injectivity and falloff portions
      of the test:
      Χ       Review previous welltests, if available
      Χ       Simulate the test using measured or estimated reservoir and well completion
              parameters
      Χ       Calculate the time to the beginning of radial flow using the empirically-based
              equations provided in the Appendix. The equations are different for the
              injectivity and falloff portions of the test with the skin factor influencing the
              falloff more than the injection period. (See Appendix, page A-4 for equations)
      Χ       Allow adequate time beyond the beginning of radial flow to observe radial flow
              so that a well developed semilog straight line occurs. A good rule of thumb is 3
              to 5 times the time to reach radial flow to provide adequate radial flow data for
              analysis.

2.    Adequate and consistent injection fluid should be available so that the injection rate into
      the test well can be held constant prior to the falloff. This rate should be high enough to
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      produce a measurable falloff at the test well given the resolution of the pressure gauge
      selected. The viscosity of the fluid should be consistent. Any mobility issues (k/μ)
      should be identified and addressed in the analysis if necessary.

3.    Bottomhole pressure measurements are required. (See Appendix, page A-2 for additional
      information concerning pressure gauge selection.)

4.    Use two pressure gauges during the test with one gauge serving as a backup, or for
      verification in cases of questionable data quality. The two gauges do not need to be the
      same type. (See Appendix, page A-1 for additional information concerning pressure
      gauges.)

6.0 Conducting the Falloff Test

1.    Tag and record the depth to any fill in the test well

2.    Simplify the pressure transients in the reservoir
      Χ      Maintain a constant injection rate in the test well prior to shut-in. This injection
             rate should be high enough and maintained for a sufficient duration to produce a
             measurable pressure transient that will result in a valid falloff test.
      Χ      Offset wells should be shut-in prior to and during the test. If shut-in is not
             feasible, a constant injection rate should be recorded and maintained during the
             test and then accounted for in the analysis.
      Χ      Do not shut-in two wells simultaneously or change the rate in an offset well
             during the test.

3.    The test well should be shut-in at the wellhead in order to minimize wellbore storage and
      afterflow. (See Appendix, page A-3 for additional information.)

4.    Maintain accurate rate records for the test well and any offset wells completed in the
      same injection interval.

5.    Measure and record the viscosity of the injectate periodically during the injectivity
      portion of the test to confirm the consistency of the test fluid.


7.0 Evaluation of the Falloff Test

1.    Prepare a Cartesian plot of the pressure and temperature versus real time or elapsed
      time.
      Χ      Confirm pressure stabilization prior to shut-in of the test well
      Χ      Look for anomalous data, pressure drop at the end of the test, determine if
             pressure drop is within the gauge resolution

2.    Prepare a log-log diagnostic plot of the pressure and semilog derivative. Identify the
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      flow regimes present in the welltest. (See Appendix, page A-6 for additional
      information.)
      Χ      Use the appropriate time function depending on the length of the injection period
             and variation in the injection rate preceding the falloff (See Appendix, page A-10
             for details on time functions.)
      Χ      Mark the various flow regimes - particularly the radial flow period
      Χ      Include the derivative of other plots, if appropriate (e.g., square root of time for
             linear flow)
      Χ      If there is no radial flow period, attempt to type curve match the data

3.    Prepare a semilog plot.
      Χ      Use the appropriate time function depending on the length of injection period and
             injection rate preceding the falloff
      Χ      Draw the semilog straight line through the radial flow portion of the plot and
             obtain the slope of the line
      Χ      Calculate the transmissibility, kh/μ
      Χ      Calculate the skin factor, s, and skin pressure drop, ΔP skin
      Χ      Calculate the radius of investigation, ri

4.    Explain any anomalous results.


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                                      APPENDIX
Pressure Gauge Usage and Selection

Usage
Χ     EPA recommends that two gauges be used during the test with one gauge serving as a
      backup.
Χ     Downhole pressure measurements are less noisy and are required.
Χ     A bottomhole surface readout gauge (SRO) allows tracking of pressures in real time.
      Analysis of this data can be performed in the field to confirm that the well has reached
      radial flow prior to ending the test.
Χ     The derivative function plotted on the log-log plot amplifies noise in the data, so the use
      of a good pressure recording device is critical for application of this curve.
Χ     Mechanical gauges should be calibrated before and after each test using a dead weight
      tester.
Χ     Electronic gauges should also be calibrated according to the manufacturer’s
      recommendations. The manufacturer's recommended frequency of calibration, and a
      copy of the gauge calibration certificate should be provided with the falloff testing report
      demonstrating this practice has been followed.

Selection
Χ       The pressures must remain within the range of the pressure gauge. The larger percent of
        the gauge range utilized in the test, the better. Typical pressure gauge limits are 2000,
        5000, and 10000 psi. Note that gauge accuracy and resolution are typically a function of
        percent of the full gauge range.
Χ       Electronic downhole gauges generally offer much better resolution and sensitivity than a
        mechanical gauge but cost more. Additionally, the electronic gauge can generally run for
        a longer period of time, be programmed to measure pressure more frequently at various
        intervals for improved data density, and store data in digital form.
Χ       Resolution of the pressure gauge must be sufficient to measure small pressure changes at
        the end of the test.


Test Design

General Operational Considerations
Χ      The injection period controls what is seen on the falloff since the falloff is replay of the
       injection period. Therefore, the injection period must reach radial flow prior to shut-in of
       the well in order for the falloff test to reach radial flow
Χ      Ideally to determine the optimal lengths of the injection and falloff periods, the test
       should be simulated using measured or estimated reservoir parameters. Alternatively,
       injection and falloff period lengths can be estimated from empirical equations using
       assumed reservoir and well parameters.

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Χ    The injection rate dictates the pressure buildup at the injection well. The pressure
     buildup from injection must be sufficient so that the pressure change during radial flow,
     usually occurring toward the end of the test, is large enough to measure with the pressure
     gauge selected.

Χ    Waste storage and other operational issues require preplanning and need to be addressed
     prior to the test date. If brine must be brought in for the injection portion of the test,
     operators should insure that the fluid injected has a consistent viscosity and that there is
     adequate fluid available to obtain a valid falloff test. The use of the wastestream as the
     injection fluid affords several distinct advantages:
     1.      Brine does not have to be purchased or stored prior to use.
     2.      Onsite waste storage tanks may be used.
     3.      Plant wastestreams are generally consistent, i.e., no viscosity variations

Χ    Rate changes cause pressure transients in the reservoir. Constant rate injection in the
     test well and any offset wells completed in the same reservoir are critical to simplify
     the pressure transients in the reservoir. Any significant injection rate fluctuations at
     the test well or offsets must be recorded and accounted for in the analysis using
     superposition.

Χ    Unless an injectivity test is to be conducted, shutting in the well for an extend period of
     time prior to conducting the falloff test reduces the pressure buildup in the reservoir and
     is not recommended.

Χ    Prior to conducting a test, a crown valve should be installed on the wellhead to allow the
     pressure gauge to be installed and lowered into the well without any interruption of the
     injection rate.

Χ    The wellbore schematic should be reviewed for possible obstructions located in the well
     that may prevent the use or affect the setting depth of a downhole pressure gauge. The
     fill depth in the well should also be reported. The fill depth may not only impact the
     depth of the gauge, but usually prolongs the wellbore storage period and depending on
     the type of fill, may limit the interval thickness by isolating some of the injection
     intervals. A wellbore cleanout or stimulation may be needed prior to conducting the test
     for the test to reach radial flow and obtain valid results.

Χ    The location of the shut-in valve can impact the duration of the wellbore storage period.
     The shut-in valve should be located near the wellhead. Afterflow into the wellbore
     prolongs the wellbore storage period.
Χ    The area geology should be reviewed prior to conducting the test to determine the
     thickness and type of formation being tested along with any geological features such as
     natural fractures, a fault, or a pinchout that should be anticipated to impact the test.

Wellbore and Reservoir Data Needed to Simulate or Analyze the Falloff Test
Χ    Wellbore radius, rw - from wellbore schematic
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Χ      Net thickness, h - See Appendix, page A-15
Χ      Porosity, φ - log or core data
Χ      Viscosity of formation fluid, μf - direct measurement or correlations
Χ      Viscosity of waste, μwaste - direct measurement or correlations
Χ      Total system compressibility, ct - correlations, core measurement, or well test
Χ      Permeability, k - previous welltests or core data
Χ      Specific gravity of injection fluid, s.g. - direct measurement
Χ      Injection rate, q - direct measurement

Design Calculations
When simulation software is unavailable the test periods can be estimated from empirical
equations. The following are set of steps to calculate the time to reach radial flow from
empirically-derived equations:

1.     Estimate the wellbore storage coefficient, C (bbl/psi). There are two equations to
       calculate the wellbore storage coefficient depending on if the well remains fluid filled
       (positive surface pressure) or if the well goes on a vacuum (falling fluid level in the
       well):
       a.      Well remains fluid filled:
                                         C =V w ⋅ c waste
                                                        where, Vw is the total wellbore volume, bbls
                                                  cwaste is the compressibility of the injectate, psi-1
       b.     Well goes on a vacuum:
                                                 Vu
                                         C =
                                                 ρ⋅ g
                                               144 ⋅ g c where,   Vu is the wellbore volume per unit
                                                 length, bbls/ft
                                         ρ is the injectate density, psi/ft
                                         g and gc are gravitational constants

2.     Calculate the time to reach radial flow for both the injection and falloff periods. Two
       different empirically-derived equations are used to calculate the time to reach radial flow,
       tradial flow, for the injectivity and falloff periods:
       a.          Injectivity period:
                                    (200000 +12000s ) ⋅ C
                    t radial flow >                       hours
                                            k ⋅h
                                         μ
       b.     Falloff period:
                              170000 ⋅ C ⋅ e 0.14⋅s
              t radial flow >                       hours
                                   k ⋅h
                                     μ
       The wellbore storage coefficient is assumed to be the same for both the injectivity and
       falloff periods. The skin factor, s, influences the falloff more than the injection period.
       Use these equations with caution, as they tend to fall apart for a well with a large
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       permeability or a high skin factor. Also remember, the welltest should not only reach
       radial flow, but also sustain radial flow for a timeframe sufficient for analysis of the
       radial flow period. As a rule of thumb, a timeframe sufficient for analysis is 3 to 5 times
       the time needed to reach radial flow.

3.     As an alternative to steps 1 and 2, to look a specific distance “L” into the reservoir and
       possibly confirm the absence or existence of a boundary, the following equation can be
       used to estimate the time to reach that distance:
                                    948 ⋅ φ ⋅ μ ⋅ c t ⋅ L boundary
                       t boundary =                                hours
                                                 k
               where, Lboundary = feet to boundary
                      tboundary = time to boundary, hrs

       Again, this is the time to reach a distance “L” in the reservoir. Additional test time is
       required to observe a fully developed boundary past the time needed to just reach the
       boundary. As a rule of thumb, to see a fully developed boundary on a log-log plot, allow
       at least 5 times the time to reach it. Additionally, for a boundary to show up on the
       falloff, it must first be encountered during the injection period.

4.     Calculate the expected slope of the semilog plot during radial flow to see if gauge
       resolution will be adequate using the following equation:
                      162.6 ⋅ q ⋅ Β
        m semilog =
                         k ⋅h
                     μ
       where, q = the injection rate preceding the falloff test, bpd
              B = formation volume factor for water, rvb/stb (usually assumed to be 1)

Considerations for Offset Wells Completed in the Same Interval
Rate fluctuations in offset wells create additional pressure transients in the reservoir and
complicate the analysis. Always try to simplify the pressure transients in the reservoir. Do not
simultaneously shut-in an offset well and the test well. The following items are key
considerations in dealing with the impact of offset wells on a falloff test:

Χ      Shut-in all offset wells prior to the test
Χ      If shutting in offset wells is not feasible, maintain a constant injection rate prior to and
       during the test
Χ      Obtain accurate injection records of offset injection prior to and during the test
Χ      At least one of the real time points corresponding to an injection rate in an offset well
       should be synchronized to a specific time relating to the test well
Χ      Following the falloff test in the test well, send at least two pulses from the offset well
       to the test well by fluctuating the rate in the offset well. The pressure pulses can
       confirm communication between the wells and can be simulated in the analysis if
       observed at the test well. The pulses can also be analyzed as an interference test using an
       Ei type curve.

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Χ      If time permits, conduct an interference test to allow evaluation of the reservoir without
       the wellbore effects observed during a falloff test.

Falloff Test Analysis

In performing a falloff test analysis, a series of plots and calculations should be prepared to
QA/QC the test, identify flow regimes, and determine well completion and reservoir parameters.
 Individual plots, flow regime signatures, and calculations are discussed in the following
sections.

Cartesian Plot
Χ      The pressure data prior to shut-in of the well should be reviewed on a Cartesian plot to
       confirm pressure stabilization prior to the test. A well that has reached radial flow during
       the injectivity portion of the test should have a consistent injection pressure.

Χ      A Cartesian plot of the pressure and temperature versus real time or elapsed time should
       be the first plot made from the falloff test data. Late time pressure data should be
       expanded to determine the pressure drop occurring during this portion of the test. The
       pressure changes should be compared to the pressure gauges used to confirm adequate
       gauge resolution existed throughout the test. If the gauge resolution limit was reached,
       this timeframe should be identified to determine if radial flow was reached prior to
       reaching the resolution of the pressure gauge. Pressure data obtained after reaching the
       resolution of the gauge should be treated as suspect and may need to be discounted in the
       analysis.

Χ      Falloff tests conducted in highly transmissive reservoirs may be more sensitive to the
       temperature compensation mechanism of the gauge because the pressure buildup
       response evaluated is smaller. Region 6 has observed cases in which large temperature
       anomalies were not properly compensated for by the pressure gauge, resulting in
       erroneous pressure data and an incorrect analysis. For this reason, the Cartesian plot of
       the temperature data should be reviewed. Any temperature anomalies should be noted
       to determine if they correspond to pressure anomalies.

Χ      Include the injection rate(s) of the test well 48 hours prior to shut-in on the Cartesian plot
       to illustrate the consistency of the injection rate prior to shut-in and to determine the
       appropriate time function to use on the log-log and semilog plots. (See Appendix, page
       A10 for time function selection)




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Log-log Diagnostic Plot

Χ    Plot the pressure and semilog derivative versus time on a log-log diagnostic plot. Use the
     appropriate time function based on the rate history of the injection period preceding the
     falloff. (See Appendix, page A-10 for time function selection) The log-log plot is used
     to                                                                               identify
     the flow                        Example Log-log Plot                             regimes
     present                                                    Pressure              in the
                                                                Data                  welltest.
     An                                                                               example
     log-log                                                                          plot is
     shown             Wellbore Storage Period                                        below:
                                                                    Semilog Pressure
                                                                   Derivative Function


                                         Transition period                   Radial
                                                                             Flow

                         Unit slope during
                         wellbore storage
                                                              Derivative flattens




Identification of Test Flow Regimes

Χ    Flow regimes are mathematical relationships between pressure, rate, and time. Flow
     regimes provide a visualization of what goes on in the reservoir. Individual flow regimes
     have characteristic slopes and a sequencing order on the log-log plot.

Χ    Various flow regimes will be present during the falloff test, however, not all flow
     regimes are observed on every falloff test. The late time responses correlate to distances
     further from the test well. The critical flow regime is radial flow from which all
     analysis calculations are performed. During radial flow, the pressure responses
     recorded are representative of the reservoir, not the wellbore.

Χ    The derivative function amplifies reservoir signatures by calculating a running slope of a
     designated plot. The derivative plot allows a more accurate determination of the radial
     flow portion of the test, in comparison with the old method of simply proceeding 1½ log
     cycles from the end of the unit slope line of the pressure curve.

Χ    The derivative is usually based on the semilog plot, but it can also be calculated based on
     other plots such as a Cartesian plot, a square root of time plot, a quarter root of time plot,
     and the 1/square root of time plot. Each of these plots are used to identify specific flow
     regimes. If the flow regime characterized by a specialized plot is present then when the
     derivative calculated from that plot is displayed on the log-log plot, it will appear as a
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     “flat spot” during the portion of the falloff corresponding to the flow regime.

Χ    Typical flow regimes observed on the log-log plot and their semilog derivative patterns
     are listed below:

            Flow Regime                             Semilog Derivative Pattern
            Wellbore Storage .................            Unit slope
            Radial Flow .........................         Flat plateau
            Linear Flow .........................         Half slope
            Bilinear Flow .......................         Quarter slope
            Partial Penetration ...............           Negative half slope
            Layering ..............................       Derivative trough
            Dual Porosity .......................         Derivative trough
            Boundaries ..........................         Upswing followed by plateau
            Constant Pressure ................            Sharp derivative plunge

Characteristics of Individual Test Flow Regimes

Χ    Wellbore Storage:
     1.    Occurs during the early portion of the test and is caused by the well being shut-in
           at the surface instead of the sandface
     2.    Measured pressure responses are governed by well conditions and are not
           representative of reservoir behavior and are characterized by both the pressure
           and semilog derivative curves overlying a unit slope on the log-log plot
     3.    Wellbore skin or a low permeability reservoir results in a slower transfer of fluid
           from the well to the formation, extending the duration of the wellbore storage
           period
     4.    A wellbore storage dominated test is unanalyzable

Χ    Radial Flow:
     1.     The pressure responses are from the reservoir, not the wellbore
     2.     The critical flow regime from which key reservoir parameters and completion
            conditions calculations are performed
     3.     Characterized by a flattening of the semilog plot derivative curve on the log-log
            plot and a straight line on the semilog plot

Χ    Spherical Flow:
     1.    Identifies partial penetration of the injection interval at the wellbore
     2.    Characterized by the semilog derivative trending along a negative half slope on
           the log-log plot and a straight line on the 1/square root of time plot
     3.    The log-log plot derivative of the pressure vs 1/square root of time plot is flat




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Χ    Linear Flow:
     1.    May result from flow in a channel, parallel faults, or a highly conductive fracture
     2.    Characterized by a half slope on both the log-log plot pressure and semilog
           derivative curves with the derivative curve approximately 1/3 of a log cycle lower
           than the pressure curve and a straight line on the square root of time plot. 3.
                   The log-log plot derivative of the pressure vs square root of time plot is
           flat

Χ    Hydraulically Fractured Well:
     1.   Multiple flow regimes present including wellbore storage, fracture linear flow,
          bilinear flow, pseudo-linear flow, formation linear flow, and pseudo-radial flow
     2.   Fracture linear flow is usually hidden by wellbore storage
     3.   Bilinear flow results from simultaneous linear flows in the fracture and from the
          formation into the fracture, occurs in low conductivity fractures, and is
          characterized by a quarter slope on both the pressure and semilog derivative
          curves on the log-log plot and by a straight line on a pressure versus quarter root
          of time plot
     4.   Formation linear flow is identified by a half slope on both the pressure and
          semilog derivative curves on the log-log plot and by a straight line on a pressure
          versus square root of time plot
     5.   Psuedo-radial flow is analogous to radial flow in an unfractured well and is
          characterized by flattening of semilog derivative curve on the log-log plot and a
          straight line on a semilog pressure plot

Χ    Naturally Fractured Rock:
     1.    The fracture system will be observed first on the falloff test followed by the total
           system consisting of the fractures and matrix.
     2.    The falloff analysis is complex. The characteristics of the semilog derivative
           trough on the log-log plot indicate the level of communication between the
           fractures and the matrix rock.

Χ    Layered Reservoir:
     1.    Analysis of a layered system is complex because of the different flow regimes,
           skin factors or boundaries that may be present in each layer.
     2.    The falloff test objective is to get a total tranmissibility from the whole reservoir
           system.
     3.    Typically described as commingled (2 intervals with vertical separation) or
           crossflow (2 intervals with hydraulic vertical communication)

Semilog Plot

Χ    The semilog plot is a plot of the pressure versus the log of time. There are typically four
     different semilog plots used in pressure transient and falloff testing analysis. After
     plotting the appropriate semilog plot, a straight line should be drawn through the points
     located within the equivalent radial flow portion of the plot identified from the log-log
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       plot.

Χ      Each plot uses a different time function depending on the length and variation of the
       injection rate preceding the falloff. These plots can give different results for the same
       test, so it is important that the appropriate plot with the correct time function is used for
       the analysis. Determination of the appropriate time function is discussed below.

Χ      The slope of the semilog straight line is then used to calculate the reservoir
       transmissibility - kh/μ, the completion condition of the well via the skin factor - s, and
       also the radius of investigation - ri of the test.

Determination of the Appropriate Time Function for the Semilog Plot
The following four different semilog plots are used in pressure transient analysis:
1.      Miller Dyes Hutchinson (MDH) Plot
2.      Horner Plot
3.      Agarwal Equivalent Time Plot
4.      Superposition Time Plot
These plots can give different results for the same test. Use of the appropriate plot with the
correct time function is critical for the analysis.

Χ      The MDH plot is a semilog plot of pressure versus Δt, where Δt is the elapsed shut-in
       time of the falloff.
       1.      The MDH plot only applies to wells that reach psuedo-steady state during
               injection. Psuedo-steady state means the pressure response from the well has
               encountered all the boundaries around the well.
       2.      The MDH plot is only applicable to injection wells with a very long injection
               period at a constant rate. This plot is not recommended for use by EPA Region 6.

Χ      The Horner plot is a semilog plot of pressure versus (tp+Δt)/Δt. The Horner plot is only
       used for a falloff preceded by a single constant rate injection period.
       1.     The injection time, tp=Vp/q in hours, where Vp=injection volume since the last
              pressure equalization and q is the injection rate prior to shut-in for the falloff test.
               The injection volume is often taken as the cumulative injection since completion.

       2.      The Horner plot can result in significant analysis error if the injection rate varies
               prior to the falloff.

Χ      The Agarwal equivalent time plot is a semilog plot of the pressure versus Agarwal
       equivalent time, Δte.
       1.     The Agarwal equivalent time function is similar to the Horner plot, but scales the
              falloff to make it look like an injectivity test.
       2.     It is used when the injection period is a short, constant rate compared to the length
              of the falloff period.
       3.     The Agarwal equivalent time is defined as: Δte=log(tp Δt)/(tp+Δt), where tp is
              calculated the same as with the Horner plot.
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Χ        The superposition time function accounts for variable rate conditions preceding the
falloff.
         1.    It is the most rigorous of all the time functions and is usually calculated using
               welltest software.
         2.    The use of the superposition time function requires the operator to accurately
               track the rate history. As a rule of thumb, at a minimum, the rate history for twice
               the length of the falloff test should be included in the analysis.

The determination of which time function is appropriate for the plotting the welltest on semilog
and log-log plots depends on available rate information, injection period length, and software:
1.     If there is not a rate history other than a single rate and cumulative injection, use a Horner
       time function
2.     If the injection period is shorter than the falloff test and only a single rate is available, use
       the Agarwal equivalent time function
3.     If you have a variable rate history use superposition when possible. As an alternative to
       superposition, use Agarwal equivalent time on the log-log plot to identify radial flow.
       The semilog plot can be plotted in either Horner or Agarwal time if radial flow is
       observed on the log-log plot.

Parameter Calculations and Considerations

Χ       Transmissibility - The slope of the semilog straight line, m, is used to determine the
        transmissibility (kh/μ) parameter group from the following equation:
                         k ⋅ h 162.6 ⋅ q ⋅ Β
                              =
                           μ        m
        where, q = injection rate, bpd (negative for injection)
                       B = formation volume factor, rvb/stb (Assumed to be 1 for formation
                       fluid)
                       m = slope of the semilog straight line through the radial flow portion of
                       the plot in psi/log cycle
                       k = permeability, md
                       h = thickness, ft (See Appendix, page A-15)
                       μ = viscosity, cp

Χ       The viscosity, μ , is usually that of the formation fluid. However, if the waste plume size
        is massive, the radial flow portion of the test may remain within the waste plume. (See
        Appendix, page A-14)
        1.     The waste and formation fluid viscosity values usually are similar, however, if the
               wastestream has a significant viscosity difference, the size of the waste plume and
               distance to the radial flow period should be calculated.
        2.     The mobility, k/μ, differences between the fluids may be observed on the
               derivative curve.

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Χ     The permeability, k, can be obtained from the calculated transmissibility (kh/μ) by
      substituting the appropriate thickness, h, and viscosity, μ, values.

Skin Factor

Χ     In theory, wellbore skin is treated as an infinitesimally thin sheath surrounding the
      wellbore, through which a pressure drop occurs due to either damage or stimulation.
      Industrial injection wells deal with a variety of waste streams that alter the near wellbore
      environment due to precipitation, fines migration, ion exchange, bacteriological
      processes, and other mechanisms. It is reasonable to expect that this alteration often
      exists as a zone surrounding the wellbore and not a skin. Therefore, at least in the case of
      industrial injection wells, the assumption that skin exists as a thin sheath is not always
      valid. This does not pose a serious problem to the correct interpretation of falloff testing
      except in the case of a large zone of alteration, or in the calculation of the flowing
      bottomhole pressure. Region 6 has seen instances in which large zones of alteration were
      suspected of being present.

Χ     The skin factor is the measurement of the completion condition of the well. The skin
      factor is quantified by a positive value indicating a damaged completion and a negative
      value indicating a stimulated completion.
      1.      The magnitude of the positive value indicating a damaged completion is dictated
              by the transmissibility of the formation.
      2.      A negative value of -4 to -6 generally indicates a hydraulically fractured
              completion, whereas a negative value of -1 to -3 is typical of an acid stimulation
              in a sandstone reservoir.
      3.      The skin factor can be used to calculate the effective wellbore radius, rwa also
              referred to the apparent wellbore radius. (See Appendix, page A-13)
      4.      The skin factor can also be used to correct the injection pressure for the effects of
              wellbore damage to get the actual reservoir pressure from the measured pressure.

Χ     The skin factor is calculated from the following equation:
                ⎡P − P            ⎛        k ⋅t p       ⎞      ⎤
      s =1.1513 ⎢ 1hr     wf
                             −log ⎜                     ⎟ +3.23⎥
                ⎢
                ⎣
                      m            (
                                  ⎝ p     )
                                  ⎜ t +1 ⋅φ ⋅ μ⋅ c ⋅r 2 ⎟
                                                   t  w ⎠
                                                               ⎥
                                                               ⎦
      where, s = skin factor, dimensionless
             P1hr = pressure intercept along the semilog straight line at a shut-in time of 1 hour,
             psi
             Pwf = measured injection pressure prior to shut-in, psi
             μ = appropriate viscosity at reservoir conditions, cp (See Appendix, page A-14)
             m = slope of the semilog straight line, psi/cycle
             k = permeability, md
             φ = porosity, fraction
             ct = total compressibility, psi-1
             rw = wellbore radius, feet
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               tp = injection time, hours
       Note that the term tp/(tp +Δt), where Δt=1 hr, appears in the log term. This term is
       usually assumed to result in a negligible contribution and typically is taken as 1 for large
       t. However, for relatively short injection periods, as in the case of a drill stem test (DST),
       this term can be significant.

Radius of Investigation

Χ      The radius of investigation, ri, is the distance the pressure transient has moved into a
       formation following a rate change in a well.

Χ      There are several equations that exist to calculate the radius of investigation. All the
       equations are square root equations based on cylindrical geometry, but each has its own
       coefficient that results in slightly different results, (See Oil and Gas Journal, Van Poollen,
       1964).

Χ      Use of the appropriate time is necessary to obtain a useful value of ri. For a falloff time
       shorter than the injection period, use Agarwal equivalent time function, Δte, at the end of
       the falloff as the length of the injection period preceding the shut-in to calculate ri.

    Χ The following two equivalent equations for calculating ri were taken from SPE
      Monograph 1, (Equation 11.2) and Well Testing by Lee (Equation 1.47), respectively:

                                  k ⋅t          k ⋅t
               ri = 0.00105              ≡
                               φ ⋅ μ⋅c t   948 ⋅ φ ⋅ μ⋅c t

Effective Wellbore Radius
Χ      The effective wellbore radius relates the wellbore radius and skin factor to show the
       effects of skin on wellbore size and consequently, injectivity.

    Χ The effective wellbore radius is calculated from the following:

               rwa = rw e −s

Χ      A negative skin will result in a larger effective wellbore radius and therefore a lower
       injection pressure.




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Reservoir Injection Pressure Corrected for Skin Effects

Χ      The pressure correction for wellbore skin effects, ΔPskin, is calculated by the following:

               ΔPskin = 0.868 ⋅ m ⋅ s

       where, m = slope of the semilog straight line, psi/cycle
              s = wellbore skin, dimensionless

    Χ The adjusted injection pressure, Pwfa is calculated by subtracting the ΔPskin from the
      measured injection pressure prior to shut-in, Pwf. This adjusted pressure is the calculated
      reservoir pressure prior to shutting in the well, Δt=0, and is determined by the following:

               Pwfa = Pwf −ΔPskin

Χ      From the previous equations, it can be seen that the adjusted bottomhole pressure is
       directly dependent on a single point, the last injection pressure recorded prior to shut-in.
       Therefore, an accurate recording of this pressure prior to shut-in is important. Anything
       that impacts the pressure response, e.g., rate change, near the shut-in of the well should
       be avoided.

Determination of the Appropriate Fluid Viscosity

Χ      If the wastestream and formation fluid have similar viscosities, this process is not
       necessary.

Χ      This is only needed in cases where the mobility ratios are extreme between the
       wastestream, (k/μ)w, and formation fluid, (k/μ)f. Depending on when the test reaches
       radial flow, these cases with extreme mobility differences could cause the derivative
       curve to change and level to another value. Eliminating alternative geologic causes, such
       as a sealing fault, multiple layers, dual porosity, etc., leads to the interpretation that this
       change may represent the boundary of the two fluid banks.

Χ      First assume that the pressure transients were propagating through the formation fluid
       during the radial flow portion of the test, and then verify if this assumption is correct.
       This is generally a good strategy except for a few facilities with exceptionally long
       injection histories, and consequently, large waste plumes. The time for the pressure
       transient to exit the waste front is calculated. This time is then identified on both the log-
       log and semilog plots. The radial flow period is then compared to this time.

Χ      The radial distance to the waste front can then be estimated volumetrically using the
       following equation:


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                                  0.13368 ⋅V wasteinjected
                rwaste plume =
                                           π ⋅ h ⋅φ

       where, Vwaste injected = cumulative waste injected into the completed interval, gal
                        rwaste plume = estimated distance to waste front, ft
                       h = interval thickness, ft
                       φ = porosity, fraction

    Χ The time necessary for a pressure transient to exit the waste front can be calculated using
    the following equation:

                       126.73 ⋅ μw ⋅ c t ⋅V wasteinjected
                tw =
                                    π⋅k ⋅h

       where,            tw= time to exit waste front, hrs
                         Vwaste injected = cumulative waste injected into the completed interval, gal
                         h = interval thickness, ft
                         k = permeability, md
                         μw = viscosity of the historic waste plume at reservoir conditions, cp
                         ct = total system compressibility, psi-1

Χ      The time should be plotted on both the log-log and semilog plots to see if this time
       corresponds to any changes in the derivative curve or semilog pressure plot. If the time
       estimated to exit the waste front occurs before the start of radial flow, the assumption that
       the pressure transients were propagating through the reservoir fluid during the radial flow
       period was correct. Therefore, the viscosity of the reservoir fluid is the appropriate
       viscosity to use in analyzing the well test. If not, the viscosity of the historic waste
       plume should be used in the calculations. If the mobility ratio is extreme between the
       wastestream and formation fluid, adequate information should be included in the report to
       verify the appropriate fluid viscosity was utilized in the analysis.

Reservoir Thickness

Χ      The thickness used for determination of the permeability should be justified by the
       operator. The net thickness of the defined injection interval is not always appropriate.

Χ      The permeability value is necessary for plume modeling, but the transmissibility value,
       kh/μ, can be used to calculate the pressure buildup in the reservoir without specifying
       values for each parameter value of k, h, and μ.

Χ      Selecting an interval thickness is dependent on several factors such as whether or not the
       injection interval is composed of hydraulically isolated units or a single massive unit and
       wellbore conditions such as the depth to wellbore fill. When hydraulically isolated sands
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      are present, it may be helpful to define the amount of injection entering each interval by
      conducting a flow profile survey. Temperature logs can also be reviewed to evaluate the
      intervals receiving fluid. Cross-sections may provide a quick look at the continuity of the
      injection interval around the injection well.

Χ     A copy of a SP/Gamma Ray well log over the injection interval, the depth to any fill, and
      the log and interpretation of available flow profile surveys run should be submitted with
      the falloff test to verify the reservoir thickness value assumed for the permeability
      calculation.

Use of Computer Software

Χ     To analyze falloff tests, operators are encouraged to use well testing software. Most
      software has type curve matching capabilities. This feature allows the simulation of the
      entire falloff test results to the acquired pressure data. This type of analysis is
      particularly useful in the recognition of boundaries, or unusual reservoir characteristics,
      such as dual porosity. It should be noted that type curve matching is not considered a
      substitute, but is a compliment to the analysis.

Χ     All data should be submitted on a CD-ROM with a label stating the name of the facility,
      the well number(s), and the date of the test(s). The label or READ.Me file should
      include the names of all the files contained on the CD, along with any necessary
      explanations of the information. The parameter units format (hh:mm:ss, hours, etc.)
      should be noted for the pressure file for synchronization to the submitted injection rate
      information. The file containing the gauge data analyzed in the report should be
      identified and consistent with the hard copy data included in the report. If the injection
      rate information for any well included in the analysis is greater than 10 entries, it should
      also be included electronically.

Common Sense Check

Χ     After analyzing any test, always look at the results to see if they “make sense” based on
      the type of formation tested, known geology, previous test results, etc. Operators are
      ultimately responsible for conducting an analyzable test and the data submitted to the
      regulatory agency.

Χ     If boundary conditions are observed on the test, review cross-sections or structure maps
      to confirm if the presence of a boundary is feasible. If so, the boundary should be
      considered in the AOR pressure buildup evaluation for the well.

Χ     Anomalous data responses may be observed on the falloff test analysis. These data
      anomalies should be evaluated and explained. The analyst should investigate physical
      causes in addition to potential reservoir responses. These may include those relating to
      the well equipment, such as a leaking valve, or a channel, and those relating to the data

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    acquisition hardware such as a faulty gauge. An anomalous response can often be traced
    to a brief, but significant rate change in either the test well or an offset well.

Χ   Anomalous data trends have also been caused by such things as ambient temperature
    changes in surface gauges or a faulty pressure gauge. Explanations for data trends may
    be facilitated through an examination of the backup pressure gauge data, or the
    temperature data. It is often helpful to qualitatively examine the pressure and/or
    temperature channels from both gauges. The pressure data should overlay during the
    falloff after being corrected for the difference in gauge depths. On occasion, abrupt
    temperature changes can be seen to correspond to trends in the pressure data. Although
    the source of the temperature changes may remain unexplainable, the apparent
    correlation of the temperature anomaly to the pressure anomaly can be sufficient reason
    to question the validity of the test and eliminate it from further analysis.

Χ   The data that is obtained from pressure transient testing should be compared to permit
    parameters. Test derived transmissibilities and static pressures can confirm compliance
    with non-endangerment (Area Of Review) conditions.




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APPENDIX F


EPA Region 9 Step Rate Test Procedure Guidelines
UIC Permit R9UIC-CA1-FY17-2R


Refer also to:
Society of Petroleum Engineers (SPE) Paper #16798, Systematic Design and Analysis of Step-
Rate Tests to Determine Formation Parting Pressure
(This paper can be ordered from the SPE website.)
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            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                REGION IX
                      DRINKING WATER PROTECTION
                          75 HAWTHORNE STREET
                         SAN FRANCISCO, CA 94105
                      STEP-RATE TEST PROCEDURE GUIDELINES


PURPOSE:
The purpose of the document is to provide guidelines for performing a Step-Rate Test (SRT).
Test results shall be used by the EPA Region 9 (EPA) Underground Injection Control (UIC)
offices to determine a Maximum Allowable Injection Pressure (MAIP) at the wellhead that will
provide for the protection of underground sources of drinking water (USDW) at injections wells.
A detailed work plan proposal must be submitted to EPA for review and approval prior to the
SRT being performed. The work plan must include detailed plans, supporting justifications and
associated calculations for conducting the SRT. Refer to the Society of Petroleum Engineers
(“SPE”) paper 16798 for supporting test design and analysis guidance (1987, Society of
Petroleum Engineers).
Dialogue is expected and encouraged during the actual development of the work plan. EPA will
review the work plan proposal and will send written communications either to request
clarification or changes to the proposed work, or grant approval of the proposed work. Once the
SRT plan is approved, we require at least 30 days’ notice in advance of SRT operations so we
may schedule an EPA representative to witness the SRT.
Test results will be used by Region 9's Underground Injection Control permitting program to
determine a Maximum Allowable Injection Pressure (MAIP) which is the surface pressure that
correlates to (a) 80 percent of the bottom hole pressure (BHP) that represents the Formation
Parting Pressure (FPP) of the permitted injection zone, or, (b) 80 percent of the maximum
pressure applied during SRTs in which the FPP was not achieved. This determination serves to
provide for the protection of the Underground Sources of Drinking Water (USDWs) as required
by the regulations at 40 CFR §§ 146.12(e)(3) (fracture pressure) and 146.14(b)(3) (the
anticipated maximum pressure and flow rate at which the permittee will operate).
SRT results must be documented and the test should be witnessed by an EPA inspector who can
assist in approving real-time modifications.

RECOMMENDED TEST PROCEDURES:

1) The well should be shut in long enough prior to testing such that the BHP approximates static
formation pressures.
2) It is important to use equipment that will be capable of accurately controlled pumping rates at
varying amounts and exceeding the estimated Formation Parting Pressure (FPP) or alternately,
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equipment that will exceed the operator's equipment limitations by 120%. Operator must also
ensure that sufficient water will be available onsite to complete the SRT. The water used for the
SRT may be the operator's permitted wastewater or other water with known specific gravity.
3) Measure and record test pressures with both down-hole and surface pressure recorders.
Observe, record, and synchronize surface and BHP pressures, times, dates, and injection rates for
each increment (step) of the test. The BHP behavior will be the basis for the determination of
FPP. Surface pressures will also be observed to monitor pressure versus rate behavior during the
SRT and to determine pressure losses due to friction and other factors that affect the MAIP.
4) The step intervals must be of equal duration and their duration must be of no less than the
minimum 30 minutes. Engineering based justification of the planned duration for the steps is
required. Steps must be sufficiently long to overcome well bore storage effects and achieve or
clearly demonstrate a stabilized pressure (radial flow) at the end of each timed step.
5) The SRT should proceed continuously and uninterrupted, with minimally delayed transition
between steps. The SRT must be planned to provide at least 3 to 5 steps before reaching the
expected FPP and at least 3 additional steps after exceeding the FPP. Alternatively, the SRT
must exceed the BHP that occurs at the operator's maximum equipment surface pressure
limitation by at least 120 percent of that corresponding BHP.
6) Because a surface readout of the BHP is employed, the duration of the planned injection rate
increments may be modified during the initial part of the test. This will allow, for instance, an
initial determination whether modification of the subsequent rate increments may be necessary to
obtain at least three BHP data points above the FPP or to adequately exceed the proposed
operator's maximum equipment limitation before concluding the test. The well operator shall
consult and receive approval from the onsite EPA inspector before any modifications to the plan
are implemented during ongoing SRT operations.
7) After pumping stops, observe and record (a) the instantaneous shut-in pressure (ISIP) and (b)
the injection zone's pressure fall-off decline for a sufficient time to allow a pressure transient
analysis which shall be included in the operator's report. The length of time for pressure fall-off
observation will be determined in consultation with EPA prior to conducting the SRT, but may
be modified by EPA depending on the actual BHP fall-off behavior observed at the conclusion of
the test.
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APPENDIX G


Plugging and Abandonment Plan
UIC Permit R9UIC-CA1-FY17-2R
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                                  Rig kelly bushing (KB) depth = 13 feet above Ground




                                    Surface Casing cemented to surface with 151.4 bbls of
                                    Type III cement (50 bbls returned to surface).




                                   DV Tool at 1,611 feet.



                               First Intermediate Casing cemented to surface with 434 bbls of
                               Class G cement in two stages. DV tool at 1,611 feet. (30 bbls
                               returned to surface).

                              Plug #2 - 1085 sx Premium cement, 94 lb/sk, mixed to
                              15.6 ppg, from approximately 4,000 to surface
                              emplaced with coiled tubing.
                             First Intermediate Casing: 9-5/8 in., 40 and 36 lb./ft., K-55,
                             LTC, set from surface to 4,980 feet. DV tool at

                              Plug #1 - 670 sx Premium cement, 94 lb/sk, mixed to
                              15.6 ppg, from Total depth to approximately 4,000 feet
                              emplaced with coiled tubing.

                              Second Intermediate Casing: 7-5/8 in., 29.7 and 26.4 lb./ft., N-
                              80 and K-55, LTC, set from surface to 4,592 to 7,470 feet with
                              388 feet of lap in 9 5/8 in..

                              Second Intermediate Casing cemented to 4,592 feet with 225 bbls
                              of Class G cement (35 bbls circulated off top of liner).

                            5-1/2 in. Slotted Liner Assembly: from 7,351 to 8,341 feet: 17 lb/ft,
                            L-80, blank and slotted liner (slotted from 7,460 - 8,320 feet and
                            8,179 to 8,330 feet).

                            Hanger Assembly consists of: Select Oil Tools PBR, Liner Top
                            Packer (7-5/8 x 5-1/2 in.) Texas Iron Works HLX-15, and Liner

                          3-1/2 in. Sand Control Liner Assembly from 7,389 to 8,329 feet.
                          0.012 in. stainless steel screen (screen from 7,425 to 8,323 feet).

                          Hanger consists of hydraulic set 5-1/2 x 3-1/2 in. packer from
                          7,389 to 7,396 feet.




                           Prepared by Haley & Aldrich, Inc. and Weegar-Eide & Associates, LLC 11/12/18
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                                                                 TABLE Q-1

                                                    IW1 Proposed Plugging Program

Day   Task                                                                  Task Description
1      a.    Move in frac tanks and accessories and fill with plant makeup water for well flush and final mechanical integrity testing (MIT).
             Move in and rig up Wireline and perform MIT testing to include 1) Temperature Survey, 2) Static Bottomhole Pressure Measurement,
2      b.
             and 3) Radioactive Tracer Survey.
       c.    Mobilize workover rig to well location. Rig up workover rig, rig pump, circulating tank, and pipe racks for Plugging Operations.
3            Receive necessary volume of weighted workover fluid to kill well (approximately 220 bbls to kill tubing & 510 bbls to kill well with
       d.
             tubing removed)
       e.    Rig up for laying down injection tubing. Kill injection tubing.
       f.    Remove injection tree, spear tubing, strip over and test BOP, pull seal assembly.
4
       g.    Lay out landing joint. Rig up lay down machine for injection tubing. Re-kill well if necessary
       h.    Pull 5.5-inch injection tie-back string and lay out to pipe racks.
       i.    Rig down and move out workover rig and ancillary equipment.
5
       j.    Run Casing Inspection Log as per 40 CFR 146.69.d.4 from maximum safe depth to surface.
       k.    Move-in and rig up 2-inch coiled tubing, pumping unit, and cement transports.
       j.    Run CT to bottom. If significant wellbore fill is indicated, attempt to circulate fill out and wash down to total plugback depth.
6
             Pump first plug per cementing program for IW1* through 2-inch coiled tubing from PBTD to approximately 4,000 ft. Plug to consists of
       l.
             approximately 185 bbls or approximately 670 sx premium cement. Wait appropriate amount of time for plug to cure.
      m.     Run in hole with coiled tubing. Tag top of cement plug. Shut-in BOP and pressure test plug to confirm integrity.
             Pump second plug per cementing program for IW1* through 2-inch coiled tubing from top of first plug to surface. Plug to consists of
7      n.
             approximately 306 bbls or approximately 1085 sx premium cement.
       o.    Rig down and move out coiled tubing, pumping unit, and transports. Let cement cure.
       p.    Cutoff casing 3 feet below ground level and weld steel plate on top with well identification information as required by CDOGGR rules.
8
       q.    Load out and return remaining rental equipment (e.g. frac tanks, forklift, etc..). Secure location.
       r.    Within 60 days of completion submit final plugging report and EPA form 7520-14 in accordance with 40 CFR 144.51.p.

       *     Cementing Program and Cost Estimate included in Exhibit Q
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                         Panoche Energy Center                                                             FIGURE Q-2
                                                                                                 Plug and Abandonment Plan
                               Well IW2
EPA UIC Permit # CA10600001                                          Spud: December 19, 2008 Final Drilling Rig (Kenai #5)
                                                                     Report: January 17, 2008 Final Comple on Rig (Rival #9)
Operator: Panoche Energy Center, LLC
                                                                     Report: January 29, 2009
Loca on: Sec on Sec 5 T15S R13E
County/State: Fresno/ California
                                                                     Surface Eleva on: 408 feet above Mean Sea level (MSL)
                                      CUT CASING OFF 3 FEET BELOW    Rig kelly bushing (KB) depth = 13 feet above Ground
Wellhead Loca on:                    SURFACE AND PLACE STEEL PLATE
                                       WITH WELL IDENTIFICATION
                                                                     Surface (KB =421 . MSL)
La tude: 36.650588 and                      INFORMATION              (All depths listed below are referenced to a depth below KB.)
Longitude:-120.5849399
                                                                                                                   GROUND SURFACE
                                                                             16-1/4 in. Conductor Casing run to 80 fee n 20 inch
                                                                             (in.) borehole and cemented to surface.
                                                                             Surface Casing String cemented to surface with 1,175 cubic
                                                                             feet ( .3) of Type III cemen n two stages (353 .3
1,000 feet
                                                                             circulated to surface).
               14-3/4 in. borehole
                                                                              10-3/4 in. Surface Casing (40.5#, grade K-55, STC threads)
                                                                              se rom surface to 1,612 feet.

2,000 feet
                                                                       Plug #2 - Approximately 805 sx Premium cement, 94
     Alluvium / Tulare Forma on /                                      lb/sk, mixed to 15.6 ppg, from top of cement retainer
      Undiﬀeren ated Sandstone                                         to surface emplaced with coiled tubing.
               and Shale
3,000 feet
                      9-7/8 in.borehole                                Cement Squeeze behind 7 5/8” Intermediate casing.
                                                                       Shoot squeeze perfs at approximately 4820’. Set
                                                                       cement retainer at approximately 4,815’ and squeeze
             Kreyenhagen Forma on                                      with 725 sx Premium Plus cement, 94 lb/sk, mixed to
4,000 feet
                (Conﬁning Strata)                                      13.5 ppg and emplaced with coiled tubing.

                                                                       Hole packed-oﬀ while circula ng through DV tool, unable to
               Domengine / Lodo                                        ﬁnish cemen o surface.
                 Forma ons                                             2 stage cement diﬀeren al valve (DV) tool at 4,826 feet.
5,000 feet                                                             Plug #1 - Approximately 580 sx Premium cement, 94
                                                                       lb/sk, mixed to 15.6 ppg, from total depth to
                                                                       approximately 4,830 emplaced with coiled tubing.
                   9-7/8 in. borehole                                  Intermediate Casing String cemented with 913 3 of Type G
                                                                       cement (only one stage was pumped due to pack-o ole).
6,000 feet


               Moreno Forma on
               (Conﬁning Strata)
                                                                     5-1/2 in. Liner Hanger Assembly (consis ng of a Select Tools PBR, a
7,000 feet
                                                                     5-1/2 in. x 7-5/8 in. Texas Iron Works HLX15 retrievable liner top
                                                                     packer and a liner top hanger), top of assembly set at 7,502 feet.


                                                                        7-5/8 in. Intermediate Casing String (29.7 and 26.4#, grades
Panoche Forma on (Injec on Zone)                                        N80 and K-55, LTC threads) run from surface to 7,609 feet.
8,000 feet
                                                                     5-1/2 in. Steel Wire Wrapped Screen (0.012 in. slot) and blank Liner
                         7 1/2 in.RWD                                Interval (17#, grade L-80, LTC threads)se rom 7,502 to 8,781 feet
                         borehole                                    with blank sec ons at 7,530 to 7,604 feet and 7,981 to 8,169 feet.

                         Total Depth: 8,901 feet                     5-1/2 in. Liner Shoe top set at 8,781 feet.
9,000 feet
Bo omhole Loca on:                                                   Top of ﬁll at 8,520 feet on 12/12/2016
La tude: 36.6505542 and Longitude:-120.5860567
                                                               Prepared by Haley & Aldrich, Inc. and Weegar-Eide & Associates, LLC 11/12/18
                                  Case: 23-1268, 06/23/2023, DktEntry: 5.1, Page 93 of 119                                                                    (93 of 119)




                                                                    TABLE Q-2

                                                        IW2 Proposed Plugging Program

Day   Task                                                                      Task Description
1      a.    Move in frac tanks and accessories and fill with plant makeup water for well flush and final mechanical integrity testing (MIT).
             Move in and rig up Wireline and perform MIT testing to include 1) Temperature Survey, 2) Static Bottomhole Pressure Measurement, and 3)
2      b.
             Radioactive Tracer Survey.
       c.    Mobilize workover rig to well location. Rig up workover rig, rig pump, circulating tank, and pipe racks for Plugging Operations.
             Receive necessary volume of weighted workover fluid to kill well (approximately 225 bbls to kill tubing & 385 bbls to kill well with tubing
3      d.
             removed)
       e.    Rig up for laying down injection tubing. Kill injection tubing.
       f.    Remove injection tree, spear tubing, strip over and test BOP, pull seal assembly.
4      g.    Lay out landing joint. Rig up lay down machine for injection tubing. Re-kill well if necessary
       h.    Pull 5.5-inch injection tie-back string and lay out to pipe racks.
       i.    Rig down and move out workover rig and ancillary equipment.
5
       j.    Run Casing Inspection Log as per 40 CFR 146.69.d.4 from maximum safe depth to surface.
       k.    Move-in and rig up 2-inch coiled tubing, pumping unit, and cement transports.
       j.    Run CT to bottom. If significant wellbore fill is indicated, attempt to circulate fill out and wash down to total plugback depth.
6
             Pump first plug per cementing program for IW2* through 2-inch coiled tubing from PBTD to approximately 4,830 ft. Plug to consists of
       l.
             approximately 175 bbls or approximately 630 sx premium cement. Wait appropriate amount of time for plug to cure.
      m.     Run in hole with coiled tubing. Tag top of cement plug. Shut-in BOP and pressure test plug to confirm integrity.
      n.     Rig up wireline and shoot approximately 5 feet of perforations at 4,820 ft. for squeeze cementing of 7 5/8-inch longstring casing.
      o.     POOH with perforating guns and run in hole with 7 5/8-inch cement retainer to set at approximately 4,805 feet.
7
             Run in hole with coiled tubing and sting into retainer. Open backside and squeeze cement 7 5/8-inch x 9 7/8-inch hole and 7 5/8-inch x 10 3/4-
       p.    inch casing with 725 sx premium cement mixed to 13.5 ppg as per squeeze cementing program for IW2*. Unsting from retainer and leave 20
             feet of cement on top of retainer and reverse clean. Pull out of hole and wait on cement to cure.
       q.    Rig up wireline and run CBL on squeezed interval.
       r.    Run in hole with CT to bottom.
8            Pump second plug per cementing program for IW2* through 2-inch coiled tubing from top of first plug to surface. Plug to consists of
       s.
             approximately 224 bbls or approximately 805 sx premium cement.
      t.     Rig down and move out coiled tubing, pumping unit, and transports. Let cement cure.
      u.     Cutoff casing 3 feet below ground level and weld steel plate on top with well identification information as required by CDOGGR rules.
9
      v.     Load out and return remaining rental equipment (e.g. frac tanks, forklift, etc..). Secure location.
      w.     Within 60 days of completion submit final plugging report and EPA form 7520-14 in accordance with 40 CFR 144.51.p.

       *     Cementing Program and Cost Estimate included in Exhibit Q
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                         Panoche Energy Center                                                                     FIGURE Q-3
                                                                                                          Plug and Abandonment Plan
                               Well IW3
EPA UIC Permit # CA10600001                                              Spud: April 30, 2009
Operator: Panoche Energy Center, LLC                                     Final Original Hole Drilling Rig Report : May 25, 2009
Loca on: Sec on Sec 5 T15S R13E                                          Start of Well Deepening Sidetrack: October 19, 2011
County/State: Fresno/ California                                         Final Well Deepening Report: May 15, 2012

Wellhead Loca on:                                                        Surface Eleva on: 408 feet above Mean Sea level (MSL)
                                       CUT CASING OFF 3 FEET BELOW        Rig kelly bushing (KB) depth = 13 feet above Ground
La tude: 36.6506313 and               SURFACE AND PLACE STEEL PLATE
                                                                          Surface (KB =427 . MSL)
Longitude:-120.5833801                  WITH WELL IDENTIFICATION
                                             INFORMATION                  (All depths listed below are referenced to a depth below KB.)
                                                                                                                 GROUND SURFACE
                                                                                    16 inch (in.) Conductor Casing run to 80 feet and
                                                                                    cemented to surface.

                                                                                    Surface Casing String cemented to surface with
                                                                                    1,292 cubic feet (ft3) of Type III cement in two stages
1,000 feet
                14-3/4 in. borehole                                                 (224 ft3 were circulated to surface).

                                                                                    10-3/4 in. Surface Casing (40.5 lb/ ,K-55, LTC) se rom
                                                                                    surface to 1,652 feet.

2,000 feet


     Alluvium / Tulare Forma on /                                               Intermediate Casing String cemented to surface with 1,583
      Undiﬀeren ated Sandstone                                                    .3 of Type G cemen n two stages (112 . 3 were circulated
               and Shale                                                        to surface).
3,000 feet
                                                                        Plug #2 - 660 sx Premium cement, 94 lb/sk, mixed to
                                                                        15.6 ppg, from approximately 4,000 feet to surface
                                                                        emplaced with coiled tubing.
             Kreyenhagen Forma on
4,000 feet
                (Conﬁning Strata)
                          9-7/8 in. hole                                 Plug #1 - 575 sx Premium cement, 94 lb/sk, mixed to 15.6
                                                                         ppg, from total depth to approximately 4,000 . emplaced
               Domengine / Lodo                                          with coiled tubing.
                 Forma ons
                                                                            7-5/8 in. Intermediate Casing (mixed string consis ng of K-55
5,000 feet                                                                  and N-80, 26.4 lb/ and P110, 29.7 lb/ .,LTC threaded) set from
                                                                            surface to 6,147 feet

                                                                           Liner Hanger Assembly consis ng of a Weatherford‘s polished
              Moreno Forma on                                              borehole receptcale, TSP liner hanger packer and a 7-5/8 in. x
              (Conﬁning Strata)                                            5-1/2 in. PHR liner hanger set star ng at 5,784 feet.
6,000 feet
              Whipstock set at 5,989 feet.
Abandoned comple on: cement plug                                              Milled window from 5,976 to 5,986 feet.
placed from 5,985 to 6,753 fee n original
hole using 123 .3 of Class G cement. Plug                                                                          17lb/ft, N-80, LTC threads)
dressed to 5,990 feet.                                                                      ran from 5,784 to 8,995 feet with Weatherford
7,000 feet
                                           Original Comple on                               ﬂoat shoe and ﬂoat collar.
                                       Total Depth = 6,847 feet

    Panoche Forma on (Injec on Zone)
                                      6-3/4 in. sidetrack borehole
8,000 feet
      Sidetrack Casing cemented with 460 .3 Bondcem cement.                                                 Casing perforated in selected
      Circulated out approximately 112 .3 excess cement.                                                    intervals from 8,220 to 8,800 feet
                                                                                                            at 6 shot per foot and 60 degree
                                                                                                            phasing.

9,000 feet
                                                                  Total Depth: 9,000 feet                     PBTD =8,947 feet
                                                                                       Bo omhole Loca on:
        Top oﬃ ll at 8,785 feet on 12/14/2016                La tude: 36.6510755 and Longitude:-120.5837323
                                                                  Prepared by Haley & Aldrich, Inc. and Weegar-Eide & Associates, LLC 11/12/18
                                       Case: 23-1268, 06/23/2023, DktEntry: 5.1, Page 95 of 119                                                     (95 of 119)




                                                                    TABLE Q-3

                                                        IW3 Proposed Plugging Program

Day   Task                                                                        Task Description
1      a.    Move in frac tanks and accessories and fill with plant makeup water for well flush and final mechanical integrity testing (MIT).
             Move in and rig up Wireline and perform MIT testing to include 1) Temperature Survey, 2) Static Bottomhole Pressure Measurement, and 3)
2      b.
             Radioactive Tracer Survey.
       c.    Mobilize workover rig to well location. Rig up workover rig, rig pump, circulating tank, and pipe racks for Plugging Operations.
             Receive necessary volume of weighted workover fluid to kill well (approximately 184 bbls to kill tubing & 346 bbls to kill well with tubing
3      d.
             removed)
       e.    Rig up for laying down injection tubing. Kill injection tubing.
       f.    Remove injection tree, spear tubing, strip over and test BOP, pull seal assembly.
4      g.    Lay out landing joint. Rig up lay down machine for injection tubing. Re-kill well if necessary
       h.    Pull 5.5 x 3.5-inch injection tie-back string and lay out to pipe racks.
       i.    Rig down and move out workover rig and ancillary equipment.
5
       j.    Run Casing Inspection Log as per 40 CFR 146.69.d.4 from maximum safe depth to surface.
       k.    Move-in and rig up 2-inch coiled tubing, pumping unit, and cement transports.
       j.    Run CT to bottom. If significant wellbore fill is indicated, attempt to circulate fill out and wash down to total plugback depth.
6
             Pump first plug per cementing program for IW3* through 2-inch coiled tubing from PBTD to approximately 4,000 ft. Plug to consists of
       l.
             approximately 159 bbls or approximately 575 sx premium cement. Wait appropriate amount of time for plug to cure.
      m.     Run in hole with coiled tubing. Tag top of cement plug. Shut-in BOP and pressure test plug to confirm integrity.
             Pump second plug per cementing program for IW3* through 2-inch coiled tubing from top of first plug to surface. Plug to consists of
7      n.
             approximately 185 bbls or approximately 660 sx premium cement.
       o.    Rig down and move out coiled tubing, pumping unit, and transports. Let cement cure.
       p.    Cutoff casing 3 feet below ground level and weld steel plate on top with well identification information as required by CDOGGR rules.
8
       q.    Load out and return remaining rental equipment (e.g. frac tanks, forklift, etc..). Secure location.
       r.    Within 60 days of completion submit final plugging report and EPA form 7520-14 in accordance with 40 CFR 144.51.p.

       *     Cementing Program and Cost Estimate included in Exhibit Q
                          Case: 23-1268, 06/23/2023, DktEntry: 5.1, Page 96 of 119                                                           (96 of 119)


                         Panoche Energy Center                                                                    FIGURE Q-4
                                                                                                        Plug and Abandonment Plan
                               Well IW4
EPA UIC Permit # CA10600001                                             Spud: May 6, 2009
Operator: Panoche Energy Center, LLC                                    Final Original Hole Drilling Rig Report: June 4, 2009
Loca on: Sec on Sec 5 T15S R13E                                         Start of Well Deepening Sidetrack: October 20, 2011
County/State: Fresno/ California                                        Final Well Deepening Report: May 15, 2012

Wellhead Loca on:                                                       Surface Eleva on: 410 feet above Mean Sea level (MSL)
La tude: 36.6509366 and                     CUT CASING OFF 3 FEET BELOW Rig kelly bushing (KB) depth = 13 feet above Ground
                                        SURFACE AND PLACE STEEL PLATE Surface (KB =429 . MSL)
Longitude:-120.585846                     WITH WELL IDENTIFICATION
                                               INFORMATION
                                                                      (All depths listed below are referenced to a depth below KB.)
                                                                                                                       GROUND SURFACE
SURFACE PLUG CEMENT CONSISTING OF                                                 16 inch (in.) Conductor Casing run to 80 feet and
APPROXIMATELY 28 SACKS OF PREMIUM                                                 cemented to surface.
CEMENT SET FROM GROUND SURFACE TO
APPROXIMATELY 100 FEET                                                            Surface Casing String cemented to surface with 1,856
                14-3/4 in. borehole                                               cubic feet ( .3) of Type III cemen n two stages (196
1,000 feet
                                                                                   .3 circulated to surface).


                                                                                  10-3/4 in. Surface Casing (40.5 lb/ ,K-55, LTC
                                                                                  threads) set from surface to 1,617 feet.

2,000 feet

                                                                             Intermediate Casing String cemented to surface with 1,673
     Alluvium / Tulare Forma on /                                              .3 of Type G cemen n two stages (84 .3 were circulated to
      Undiﬀeren ated Sandstone                                               surface).
               and Shale
3,000 feet                                                             Plug #2 - 660 sx Premium cement, 94 lb/sk, mixed to
                                                                       15.6 ppg, from approximately 4,000 feet to surface
                                                                       emplaced with coiled tubing.

         Kreyenhagen Forma on
            (Conﬁning Strata)                                          Plug #1 - 570 sx Premium cement, 94 lb/sk, mixed to
4,000 feet
                       9-7/8 in. borehole                              15.6 ppg, from total depth to approximately 4,000 .
                                                                       emplaced with coiled tubing.
              Domengine / Lodo                                               7-5/8 in. Intermediate Casing mixed string consis ng of K-55
                Forma ons                                                    and N-80 (both 26.4 lb/ ) and P110 (29.7 lb./ .) LTC threaded
5,000 feet
                                                                             se rom surface to 6,258 feet



                                                                          Liner hanger Assembly consis ng of a Weatherford‘s polished
              Moreno Forma on                                             borehole receptacle, TSP liner hanger packer and a PHR liner
              (Conﬁning Strata)                                           7-5/8 in. x 5-1/2 in.; hanger set starts at 5,788 feet.
6,000 feet
             Whipstock set at 6,038 feet.
Abandoned Comple on: cement plug                                            Milled window from 6,021 to 6,031 feet.
placed from 5,744 to 6,704 fee n original                                              5-1/2 in. sidetrack liner (#17lb./ ., N-80, LTC threads)
hole using 156 .3 of Class G cement. Plug                                              ran from 5,788 to 8,950 feet with Weatherford ﬂoat
Dressed to 6,039 feet.                                                                 shoe and ﬂoat collar.
7,000 feet                 Original Comple on Borehole
                                 Total Depth = 6,800 feet                                       5.5 in. x 2-7/8 in. Weatherford ArrowDrill
                                                                                                Sealbore Packer bo omhole assembly.
    Panoche Forma on (Injec on Zone)                                                            Currently packer (center of element) set
                                                                                                depth at 7,290 feet.
                                      6-3/4 in. sidetrack borehole
8,000 feet
    Sidetrack Casing cemented with 435 .3 Bondcem cement .                                                 Casing perforated in selected
    Circulated out approximately 56 .3 excess cement.                                                      intervals from 7,380 to 8,785 feet
                            CLEAN WELL-FILL MATERIAL OUT OF HOLE AND SET                                   at 6 shot per foot and 60 degree
                            CEMENT PLUG CONSISTING OF APPROXIMATELY 194                                    phasing.
                            SACKS OF PREMIUM CEMENT FROM 7,280 TO 8,903 FEET
                                                              Total Depth: 8,955 feet                PBTD =8,903 feet
9,000 feet
             Top oﬃ ll at 8,799 feet on 12/12/2016                                  Bo omhole Loca on:
                                                                La tude:36.6518668 and Longitude:-120.5856758
                                                                 Prepared by Haley & Aldrich, Inc. and Weegar-Eide & Associates, LLC 11/12/18
                                        Case: 23-1268, 06/23/2023, DktEntry: 5.1, Page 97 of 119                                                           (97 of 119)




                                                                     TABLE Q-4

                                                         IW4 Proposed Plugging Program

Day   Task                                                                        Task Description
1      a.    Move in frac tanks and accessories and fill with plant makeup water for well flush and final mechanical integrity testing (MIT).
2      b.    Radioactive Tracer Survey.
       c.    Mobilize workover rig to well location. Rig up workover rig, rig pump, circulating tank, and pipe racks for Plugging Operations.
             Receive necessary volume of weighted workover fluid to kill well (approximately 182 bbls to kill tubing & 346 bbls to kill well with tubing
3      d.
             removed)
       e.    Rig up for laying down injection tubing. Kill injection tubing.
       f.    Remove injection tree, spear tubing, strip over and test BOP, pull seal assembly.
4      g.    Lay out landing joint. Rig up lay down machine for injection tubing. Re-kill well if necessary
       h.    Pull 5.5 x 3.5-inch injection tie-back string and lay out to pipe racks.
       i.    Rig down and move out workover rig and ancillary equipment.
5
       j.    Run Casing Inspection Log as per 40 CFR 146.69.d.4 from maximum safe depth to surface.
       k.    Move-in and rig up 2-inch coiled tubing, pumping unit, and cement transports.
       j.    Run CT to bottom. If significant wellbore fill is indicated, attempt to circulate fill out and wash down to total plugback depth.
6
             Pump first plug per cementing program for IW4* through 2-inch coiled tubing from PBTD to approximately 4,000 ft. Plug to consists of
       l.
             approximately 158 bbls or approximately 570 sx premium cement. Wait appropriate amount of time for plug to cure.
      m.     Run in hole with coiled tubing. Tag top of cement plug. Shut-in BOP and pressure test plug to confirm integrity.
7     n.     approximately 185 bbls or approximately 660 sx premium cement.
      o.     Rig down and move out coiled tubing, pumping unit, and transports. Let cement cure.
      p.     Cutoff casing 3 feet below ground level and weld steel plate on top with well identification information as required by CDOGGR rules.
8
      q.     Load out and return remaining rental equipment (e.g. frac tanks, forklift, etc..). Secure location.
      r.     Within 60 days of completion submit final plugging report and EPA form 7520-14 in accordance with 40 CFR 144.51.p.

       *     Cementing Program and Cost Estimate included in Exhibit Q
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APPENDIX H


Operating Data
UIC Permit R9UIC-CA1-FY17-2R
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ATTACHMENT H – OPERATING DATA

PERMIT REQUIREMENTS

As stated in U.S. Environmental Protection Agency (USEPA) Form 7520-6, Attachment H requires the
applicant to submit the following proposed “operating data for each well (including all those to be
covered by area permits):

        (1) average and maximum daily rate and volume of the fluids to be injected;
        (2) average and maximum injection pressure;
        (3) nature of annulus fluid;
        (4) for Class I wells, source and analysis of the chemical, physical, radiological and biological
        characteristics, including density and corrosiveness, of injection fluids.”

AVERAGE AND MAXIMUM FLUID INJECTION RATES, VOLUMES, AND OPERATING PRESSURE

As described in Attachment P, all quarterly data can be found in the Quarterly Injection monitoring
reports (tables and raw data spreadsheets) and in the Annual Monitoring Reports (USEPA Form 7520-11)
submitted to USEPA for the last 10 years (See Exhibits folder on compact disc). A summary of an
example set of consecutive four quarters of submitted operating data, including the average and
maximum injection rate, daily volume of injectate, and injection pressure, are presented for each
injection well in Table H-1. As the wells operate on an intermittent basis (only a few hours at a time) and
thus, injection rates are presented in gallons per minute (gpm) as measure just during these injection
periods rather than daily rates.

As described in Attachment K and previously discussed in Attachment A, the construction of the
enhanced wastewater system (EWS) caused a decrease in wastewater injection at the Panoche Energy
Center (PEC) facility starting in June 2016 (Haley & Aldrich, 2016). As a result, the anticipated
wastewater injection rate is expected to be less between 2018 and 2027 than the wastewater injection
rate that occurred between 2009 and 2016. Therefore, the data shown in Table H-1 was aggregated
from the four most recent quarters of monitoring data (Haley & Aldrich, 2016, Haley & Aldrich, 2017a,
Haley & Aldrich, 2017b, Haley & Aldrich, 2017c).

Maximum historic recorded daily injection volumes for each well are as follows: 144,039 gallons in IW1
during August 2013; 172,041 gallons in IW2 during September 2014; 155,147 gallons in IW3 during
July 2013; and 164,002 gallons in IW4 during October 2014 (Haley & Aldrich, 2013b, Haley & Aldrich,
2014b, Haley & Aldrich, 2014c). While it is anticipated that future injection rates will be significantly
lower most of the time due to the installation of the EWS, similar maximum daily injection volumes may
occur when the EWS maintenance is required during a high electricity demand season. Therefore, we
propose that the maximum daily injection volumes for the next permit period are set to be the same as
the previous historic daily maximums. Similarly, the highest historical daily average volumes and
maximum daily injection rates for individual wells reported in the quarterly reports are used as the
proposed future values. The proposed average daily injection rates are estimated by the ratios of the
proposed maximum daily volumes (in gallons) to 1,440 minutes; these estimates represent potential




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daily average rates that may occur when the EWS maintenance is required during a high electricity
demand season.

Based on Attachment I, the proposed maximum injection pressures at well head are 2,478 pounds per
square inch (psi) for IW1, IW3, and IW4; and 2,416 psi for IW2. The proposed average injection pressure
at well head is 2,065 psi based on the historical maximum injection pressure for all wells. Note that the
current injection pressure is limited by the capability of injection pumps (approximately 2,000 psi). The
injection pumps can be upgraded to have the capability of performing injection at around 2,400 psi at
well head.

The proposed average and maximum injection pressures, as well as the proposed average and
maximum daily rate and volume of the fluids to be injected, are summarized in Table H-2.

NATURE OF ANNULUS FLUID

The annular fluid used in wells IW1 and IW2 consists of Amber Chemical’s corrosion inhibitor packer
fluid, which is composed of sodium bisulfite with a bio-filming amine (URS, 2009a; URS, 2009b). On
21 May 2013, IW3 was topped off with 10 pounds per gallon (ppg) inhibited fluid, and a packer was set
in-place during the re-installation of injection tubing after fracture stimulation of this well (Haley &
Aldrich, 2013a). On 16 June 2014, during the well repair of IW4, approximately 150 barrels (bbls) of
10.5 ppg calcium chloride inhibited with Geo Drilling Fluids, Inc.’s Amberguard COS and CAP was
emplaced down the backside of the injection tube prior to setting the tubing sting packer (Haley &
Aldrich, 2014a).

INJECTION FLUID CHARACTERISTICS

When it became operational, PEC performed a hazardous waste determination of the injection fluids on
28 April 2009, per the requirements of Code of Federal Regulations Title 40 (40 CFR) §262.11. The
results of that determination indicated that the injection fluids did not meet the definition of hazardous
waste as defined in 40 CFR §146.3 and §261. In addition, PEC performed a new hazardous waste
injectate determination in the third quarter of 2016, per the above listed requirements and according to
Section C, paragraph 1(b)(ii) of the Underground Injection Control (UIC) Permit, once an on-demand
wastewater treatment system became operational and began contributing to the combined injectate
flow. This Hazardous Waste Determination document concludes that the injectate still does not meet
the definition of hazardous waste as defined in 40 CFR §146.3 and §261 and demonstrates that PEC
continues to comply with the injection fluid limitations as required by Section C, paragraph 5(a) of the
current UIC Permit. The Hazardous Waste Determination document prepared by PEC is presented as
Appendix C of the Third Quarter 2016 Injection Monitoring Report (Haley & Aldrich, 2016).

In accordance with the Permit, injection fluid is analyzed on a quarterly basis (See Attachment P for
details). The injection fluids for wells IW1 through IW4 originate from the same wastewater storage
tank. Therefore, a single sample of injection fluid (a composite of all the wells) is collected and analyzed.
A summary of the past four quarters of analytical results for injection fluids is presented in Table H-3.
This time frame (previous four quarters) was selected because, as described above, the EWS system is in
operation and the future injectate is expected to closely match the analytical results from the last four
quarters.




                                                    H-2
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References

1.    Haley & Aldrich, Inc. (Haley & Aldrich). 2013a. IW3 Fracture Stimulation Report and Request to
      Operate Well IW3, Class 1 Nonhazardous Waste Injection Wells, UIC Permit Number
      CA10600001, Panoche Energy Center, LLC, Fresno County, California. July.

2.    Haley & Aldrich. 2013b. Third Quarter 2013 Monitoring Report, Class 1 Nonhazardous Waste
      Injection Wells, UIC Permit CA 10600001, Panoche Energy Center, LLC, West Panoche Road,
      Firebaugh, California.

3.    Haley & Aldrich. 2014a. Second Quarter 2014 Monitoring Report, Class 1 Nonhazardous Waste
      Injection Wells, UIC Permit CA 10600001, Panoche Energy Center, LLC, West Panoche Road,
      Firebaugh, California.

4.    Haley & Aldrich. 2014b. Third Quarter 2014 Monitoring Report, Class 1 Nonhazardous Waste
      Injection Wells, UIC Permit CA 10600001, Panoche Energy Center, LLC, West Panoche Road,
      Firebaugh, California.

5.    Haley & Aldrich. 2014c. Fourth Quarter 2014 Monitoring Report, Class 1 Nonhazardous Waste
      Injection Wells, UIC Permit CA 10600001, Panoche Energy Center, LLC, West Panoche Road,
      Firebaugh, California.

6.    Haley & Aldrich. 2016. Third Quarter 2016 Monitoring Report, Class 1 Nonhazardous Waste
      Injection Wells, UIC Permit CA 10600001, Panoche Energy Center, LLC, West Panoche Road,
      Firebaugh, California.

7.    Haley & Aldrich. 2017a. Fourth Quarter 2016 Monitoring Report, Class 1 Nonhazardous Waste
      Injection Wells, UIC Permit CA 10600001, Panoche Energy Center, LLC, West Panoche Road,
      Firebaugh, California.

8.    Haley & Aldrich. 2017b. First Quarter 2017 Monitoring Report, Class 1 Nonhazardous Waste
      Injection Wells, UIC Permit CA 10600001, Panoche Energy Center, LLC, West Panoche Road,
      Firebaugh, California.

9.    Haley & Aldrich. 2017c. Second Quarter 2017 Monitoring Report, Class 1 Nonhazardous Waste
      Injection Wells, UIC Permit CA 10600001, Panoche Energy Center, LLC, West Panoche Road,
      Firebaugh, California.

10.   URS. 2009a. Well Completion Report – UIC Well IW1, Panoche Energy Center, UIC Permit No.
      CA10600001, Firebaugh, Fresno County, California. March.

11.   URS. 2009b. Well Completion Report – UIC Well IW2, Panoche Energy Center, UIC Permit No.
      CA10600001, Firebaugh, Fresno County, California.




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                        TABLES
                                                                                                                                                   Case: 23-1268, 06/23/2023, DktEntry: 5.1, Page 105 of 119                                                                                                                                                          (105 of 119)
TABLE H‐1
INJECTION WELL OPERATIONAL DATA
PANOCHE ENERGY CENTER, LLC
FRESNO COUNTY, CALIFORNIA




                                                                                           IW1                                                                            IW2                                                                     IW3                                                                     IW4
                                                          Daily                  Well Head Injection                                             Daily           Well Head Injection                                     Daily           Well Head Injection                                     Daily           Well Head Injection
                                                                                                                   Injection Rate                                                            Injection Rate                                                          Injection Rate                                                          Injection Rate
                   Month                           Injection Volume                   Pressure                                            Injection Volume            Pressure                                    Injection Volume            Pressure                                    Injection Volume            Pressure
                                                                                                                       (gpm)                                                                     (gpm)                                                                   (gpm)                                                                   (gpm)
                                                          (gal)                         (psig)                                                   (gal)                  (psig)                                           (gal)                  (psig)                                           (gal)                  (psig)
                                                 Average       Maximum          Average      Maximum           Average       Maximum    Average       Maximum   Average      Maximum      Average    Maximum    Average       Maximum   Average      Maximum      Average    Maximum    Average       Maximum   Average      Maximum      Average     Maximum
                   July, 2016                    17,698.0        90,730.0        1,856.6         1,993.4         104.0          156.0   19,472.4    108,765.0   1,849.7         1,994.3    140.2        234.9   7,910.9     52,917.0    1,840.7         1,913.3     88.6        179.6   5,298.5     70,769.0    1,814.9         1,935.9    134.6        162.8
                August, 2016                     27,265.3        87,759.0        1,889.1         2,004.8          99.1          145.1   28,235.3     88,500.0   1,885.9         1,993.4    132.0        186.6   13,983.4    42,859.0    1,893.7         1,949.7     82.0        111.8      ‐‐          ‐‐          ‐‐              ‐‐        ‐‐           ‐‐
              September, 2016                    6,709.2         46,000.0        1,837.6         1,922.2         103.8          143.9   13,915.4    129,051.0   1,862.1         2,001.2    140.5        253.1   7,266.0     71,004.0    1,887.2         1,998.0     89.5        150.2   11,598.9    59,125.0    1,857.4         1,953.3    150.4        230.7
               October, 2016                     5,994.1        107,000.0        1,885.1         1,998.6         106.3          147.5   11,792.6    113,046.0   1,862.8         1,997.7    143.3        186.7   5,510.1     32,101.0    1,878.1         1,978.3     90.0        124.4   10,302.0    61,830.0    1,867.8         1,977.4    145.6        203.3
              November, 2016                     2,367.6         31,110.0        1,849.7         1,955.6         112.7          131.9   7,888.2      56,495.0   1,873.3         1,979.9    143.5        204.6   3,991.0     33,940.0    1,870.4         1,976.9     94.3        130.3   5,474.0     58,842.0    1,852.7         1,909.6    142.4        163.9
              November, 2016                     7,311.0         93,612.0        1,885.6         1,972.8         106.6          234.7   7,792.3     102,000.0   1,779.2         1,977.1    125.9        199.4   6,130.9     67,002.0    1,923.3         1,978.3     87.2        111.8   6,157.8     49,913.0    1,895.1         1,977.1    143.3        181.9
                January, 2017                    5,987.9         45,472.0        1,879.6         1,989.5         101.6          178.0   13,849.9     62,445.0   1,906.5         1,999.3    134.3        166.0   4,359.7     21,170.0    1,899.5         1,991.3     96.0        135.9   16,041.7    65,650.0    1,922.9         1,996.6    141.4        206.9
               February, 2017                    2,440.9         33,221.0        1,942.6         1,989.7         118.5          139.5   6,202.1      42,502.0   1,931.6         1,977.4    144.0        197.8      ‐‐          ‐‐          ‐‐              ‐‐        ‐‐           ‐‐    9,677.9     47,244.0    1,952.4         1,992.2    146.0        186.3
                 March, 2017                     1,859.1         39,582.0        1,860.0         1,902.1         103.4          126.3   7,898.2      43,213.0   1,907.2         1,988.8    146.8        251.3      ‐‐          ‐‐          ‐‐              ‐‐        ‐‐           ‐‐    8,994.0     44,583.0    1,930.7         1,998.0    143.6        182.5
                  April, 2017                    5,963.4         33,000.0        1,884.7         1,981.0          99.6          121.6   9,839.6      54,463.0   1,891.9         1,984.0    139.0        174.2   2,353.6     21,768.0    1,859.1         1,897.7    103.4        151.2   10,779.5    61,731.0    1,903.4         1,991.5    140.3        161.3
                  May, 2017                      4,888.6         37,627.0        1,855.7         1,968.4          98.8          139.2   7,713.9      34,002.0   1,857.0         1,969.6    140.6        200.1   1,762.3     33,009.0    1,949.5         1,991.3    104.8        117.2   12,133.0    41,989.0    1,908.8         1,990.9    141.6        168.1
                  June, 2017                     13,922.5        71,285.0        1,856.0         1,958.1          74.2          141.6   25,292.4     97,581.0   1,879.6         2,000.7    113.7        172.5   5,803.4     44,981.0    1,867.8         1,919.0     89.6        122.3   27,859.0    97,792.0    1,898.9         1,998.6    121.3        170.3


 Historical Operating Parameters (12‐month
                                                 8,534.0        107,000.0        1,873.5         2,004.8         102.4          234.7   13,324.4    129,051.0   1,873.9         2,001.2    137.0        253.1   5,907.1     71,004.0    1,886.9         1,998.0    92.5         179.6   11,301.5    97,792.0    1,891.4         1,998.6    141.0        230.7
        average, 12‐month maximum)


Abbreviations:
 ‐‐ = not applicable
 gal = gallons
 gpm = gallons per minute




HALEY & ALDRICH, INC.                                                                                                                                                                                                                                                                                                                                           FEBRUARY 2019
\\haleyaldrich.com\share\oak_common\Panoche Energy Center\REGULATORY\NOD RESPONSE\Attachment H\Table_H‐1_Combined Injection Data.xlsx
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TABLE H‐2
PROPOSED INJECTION PRESSURES, RATES, AND VOLUMES
PANOCHE ENERGY CENTER, LLC
FRESNO COUNTY, CALIFORNIA



                                                                                                               Proposed Quantity
Operation Parameter
                                                                           IW1                           IW2                          IW3       IW4
Injection Pressure (psi)                 Average                          2,065                          2,065                         2,065    2,065
                                         Maximum                          2,478                          2,416                         2,478    2,478
                                         Average                            98                            119                           108      114
Injection Rate (gpm)
                                         Maximum                           240                            224                           181      253
                                         Average                          7,808                         149,555                       99,458   123,890
Daily Volume (gallons)
                                         Maximum                         141,039                        172,041                      155,147   164,002

                                                                                                       Rationale fofr Proposed Quantity
Operation Parameter
                                                                           IW1                           IW2                     IW3            Iw4
                                          Average                                                          Historical Maximum Pressure
Injection Pressure (psi)
                                        Maximum                                                                   See Attachment I
                                         Average                                                     Based on maximum daily volume (÷1440)
Injection Rate (gpm)
                                        Maximum*                         2Q‐2016                       2Q‐2016                       4Q‐2014   3Q‐2014
                                        Average*                         3Q‐2015                       3Q‐2015                       3Q‐2013   3Q‐2015
Daily Volume (gallons)
                                        Maximum*                         3Q‐2013                       3Q‐2014                       3Q‐2013   3Q‐2015

Notes:
 * = based on the historical values reported in a quarterly report (2Q2016 = second quarter 2016 monitoring report)
 gpm = gallons per minute
 psi = pounds per square inch




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TABLE H‐3
LABORATORY ANALYTICAL RESULTS FOR INJECTION FLUIDS
PANOCHE ENERGY CENTER, LLC
FRESNO COUNTY, CALIFORNIA




                                                                               17‐Aug‐16                   9‐Dec‐16                 1‐Mar‐17    12‐May‐17
Sample Date:
                                                      Units                      Results                    Results                 Results       Results
Physical/Chemical Properties
                                                                                                                                          1                1
pH                                                   pH Units                     8.0                        7.4 J                    7.3 J        7.2 J
                                                                  1
Specific Conductivity                           µmhos/cm @ 25°C                  13,000                     9,900                    14,000        15,000
Specific Gravity                                   @ 60/60°F2                    1.008                      1.0054                   1.0107        1.011
Density                                           g/mL @ 60°F3                   1.007                      1.0054                   1.0097         1.01
                                                              4
Viscosity                                         cSt @ 100°F                     0.7                        0.71                      1.1          0.76
                                                           5
Total Dissolved Solid                                 mg/L                       8,900                      5,400                    10,000        8,300
Total Suspended Solid                                 mg/L                         17                         21                       32            22
Turbidity                                             NTU6                        0.31                        2.7                      7.4          0.86
Alkalinity, as CaCO37                                 mg/L                         410                        270                     280            260
Inorganic Analytes ‐ Cations/Metals
Aluminum                                               mg/L                       < 0.050                    < 0.050                 < 0.0509      < 0.050
                                                                                                                                                               9

Antimony                                               mg/L                      < 0.0020                   < 0.0040                 < 0.0040      < 0.0020
Arsenic                                                mg/L                        0.190                      0.079                    0.150         0.210
Barium                                                 mg/L                        0.019                      0.019                    0.037         0.021
Beryllium                                              mg/L                      < 0.0010                   < 0.0020                 < 0.0020      < 0.0010
Cadmium                                                mg/L                      < 0.0010                   < 0.0020                 < 0.0020      < 0.0010
Calcium                                                mg/L                          37                         61                       18            15
Chromium                                               mg/L                       < 0.010                    < 0.020                  < 0.020        0.010
Cobalt                                                 mg/L                        0.011                       0.32                    0.081         0.087
Copper                                                 mg/L                        0.041                      0.050                    0.200         0.130
Fluoride                                               mg/L                         2.2                        1.6                      2.3           2.7
Iron                                                   mg/L                         0.60                       3.1                       23           1.9
Lead                                                   mg/L                     < 0.0050                     < 0.010                  < 0.002       < 0.001
Magnesium                                              mg/L                          14                         21                      5.2           7.2
Manganese                                              mg/L                        0.023                      0.054                     0.29         0.029
Mercury                                                mg/L                    < 0.00020 J                 < 0.0010                 < 0.0002       < 0.0002
Molybdenum                                             mg/L                        0.490                       0.44                    0.390         0.650
Nickel                                                 mg/L                       < 0.010                    < 0.020                   0.020         0.010
Phosphorus                                             mg/L                         1.2                        0.79                     1.9           0.59
Potassium                                              mg/L                          25                        100                       70            50
Selenium                                               mg/L                        0.180                      0.084                    0.079         0.150
             9
Silica (SiO2) , total                                  mg/L                         180                        150                      170           180
Silica (SiO2), dissolved                               mg/L                         190                        140                      150           180
Silver                                                 mg/L                       < 0.010                    < 0.020                  < 0.020       < 0.010
Sodium                                                 mg/L                        3,900                      2,600                    3,900         4,900
Strontium                                              mg/L                        0.500                       0.70                    0.660         0.460
                                                                                                                                                            14
Thallium                                               mg/L                     < 0.0010                    < 0.0020                 < 0.0020   < 0.0010 UJ
Thorium                                                mg/L                     < 0.00050                  < 0.00050                < 0.00050     < 0.00050
Uranium                                                mg/L                      < 0.0010                   < 0.0020                 < 0.0020      < 0.0010
Vanadium                                               mg/L                        0.013                    < 0.0060                 < 0.0060        0.010
Zinc                                                   mg/L                        0.067                      0.160                   < 0.100        0.058
Inorganic Analytes ‐ Anions
Bicarbonate, as CaCO3                                  mg/L                        410                        270                     280            260
Carbonate, as CaCO3                                    mg/L                       < 3.0                      < 3.0                   < 3.0          < 3.0
Hydroxide, as CaCO3                                    mg/L                       < 3.0                      < 3.0                   < 3.0          < 3.0
Chloride                                               mg/L                        810                        650                    1,100           940
Sulfate, as SO410                                      mg/L                       4,900                      3,900                   6,400          6,500
Nitrate, as NO311                                      mg/L                       < 20                       < 1.0                    < 50          < 100
                      12
Orthophosphate, as P                                   mg/L                       < 4.0                      < 0.20                   < 10          < 20
Mass Balance
                                                            13
Anions                                               meq/L                         130                        110                     170            170
Cations                                              meq/L                         170                        120                     170            220
Non‐Ionic Analytes
Biochemical Oxygen Demand                              mg/L                        2.0                        47 J                    17 J           8.0
Detected Organic Analytes
Acetone                                                mg/L                       0.022                     0.035                     0.080        0.064
Dibromomethane                                         mg/L                     < 0.00050                   0.0086                    0.0026       0.0022
Dibromochloromethane                                   mg/L                     < 0.00050                   0.0014                  < 0.00050      0.0011
Bromoform                                              mg/L                       0.0086                    0.057                     0.015      < 0.00050

Notes:
 µmhos/cm @ 25°C = micromhos per centimeter at 25 degrees Celsius
 g/mL @ 60°F = grams per milliliter at standadization temperture in degrees Fahrenheit
 meq/L = milliequivalents per liter
 mg/L = milligrams per liter
 @ 60/60°F = standardization temperature in degrees Fahrenheit
 < = not detected at or above the reporting limit shown
 CaCO3 = calcium carbonate
 cSt @ 100°F = centistokes at 100 degrees Fahrenheit
 NO3 = nitrate
  NTU = nephelometric turbidity units
  P = phosphorus
  SiO2 = silicon dioxide
  SO4 = sulfate




HALEY & ALDRICH, INC.                                                                                                                                FEBRUARY 2019
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       EXHIBIT B
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        June 13, 2023                                                   Ankur K. Tohan
                                                                        Partner
                                                                        ankur.tohan@klgates.com

                                                                        T +1 120 637 0765
                                                                        F +1 206 623 7022
        U.S. Environmental Protection Agency, Region IX
        Attn: Martha Guzman Aceves, Regional Administrator              J. Timothy Hobbs
                                                                        Partner
        75 Hawthorne Street
                                                                        tim.hobbs@klgates.com
        San Francisco, CA 94105-3901
                                                                        T +1 161 551 4181


        Re:     Panoche Energy Center, LLC’s Request for a Stay of UIC Permit Condition


                 Panoche Energy Center, LLC (“Panoche”) respectfully requests that the U.S.
        Environmental Protection Agency (“EPA” or “agency”) stay Condition II.E.2 of Panoche’s
        Underground Injection Control (“UIC”) Permit No. R9UIC-CA1-FY17-2R (the “Permit”) pending
        judicial review of that condition. 1 The Permit will become effective on June 21, 2023, at which
        time Panoche will appeal EPA’s imposition of Condition II.E.2 to the U.S. Court of Appeals for the
        Ninth Circuit. 2

                Condition II.E.2 of the Permit requires Panoche to enter onto private property it does not
        own or control and drill a multimillion-dollar, 3,900-foot deep well to monitor water quality in the
        underground aquifer. According to the Notice of Final Permit Decision, signed on June 7, 2023,
        the Permit will take effect on June 21, 2023. Sixty days later, by August 20, 2023, Panoche must
        submit plans to construct this off-site monitoring well for EPA approval and provide certain
        financial assurances. Panoche is then required to begin drilling the well within 120 days of EPA’s
        approval of these plans.

                A stay of Condition II.E.2 of the Permit pending judicial review is appropriate. Panoche
        contends that EPA’s decision to impose this condition is unlawful, and raises serious, novel
        questions of law that should be resolved by the judicial branch. EPA failed to articulate a rational
        basis for the permit condition it imposed, its decision conflicts with prior EPA rulemaking, and—
        most critically—Panoche lacks property rights necessary to comply with the condition. The
        consequences of Panoche’s inability to comply with this permit requirement are severe: EPA
        could find Panoche out of compliance with its permit and force Panoche to shut down. 3 That
        would take offline 417 megawatts of electricity, enough to power approximately 420,000 homes,
        and jeopardize the reliability of California’s electric grid.


        1 See Fed. R. App. P. 18; Administrative Procedure Act (“APA”), 5 U.S.C. § 705.

        2 See 42 U.S.C. § 300j-7(a); 5 U.S.C. § 704.

        3 See 40 C.F.R. § 144.40(a).




K&L GATES LLP
925 FOURTH AVENUE SUITE 2900 SEATTLE WA 98104-1158
T +1 206 623 7580 F +1 206 623 7022 klgates.com
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        At the same time, EPA has no urgent need for the off-site monitoring well required under
the Permit. EPA has allowed Panoche to operate for the last 14 years without such off-site
monitoring. EPA has cited no evidence that water quality has deteriorated in this period, much
less that Panoche’s activities are affecting water quality in any way.

         Over the past 14 years Panoche has complied with appropriate monitoring requirements
that are rationally linked to Panoche’s activities, within Panoche’s control to implement on its
property, and appropriate to assess how Panoche’s injection activity may be affecting (if at all)
the injection zone and underground sources of drinking water. These on-site monitoring
requirements include continuous monitoring of injection conditions and volumes, continuous
monitoring of well integrity, and an annual demonstration of internal and external mechanical
integrity for each injection well. Panoche will continue with such on-site monitoring and does not
challenge those aspects of its Permit. However, the new off-site monitoring requirements are
irrational and outside Panoche’s legal authority to implement.

       In addition, in 2016, Panoche—in close coordination with EPA—implemented an
Enhanced Wastewater System, which reduced injection rates by up to 80 percent. 4 Panoche
continues to strive and has sought to identify and implement such innovations, including recently
sending two requests to EPA Region 9 to discuss alternatives to off-site monitoring that would
address the agency’s concerns and avoid the need for further litigation. EPA declined Panoche’s
request to even discuss these issues.

       For the reasons set out below, we respectfully urge you to stay Condition II.E.2 of the
Permit pending judicial review. 5

1.      Relevant Background

         Panoche operates a 417-megawatt simple cycle power generation plant located in Central
California, consisting of four natural gas-fired combustion turbine generators. This plant provides
a critical energy need to the state, ensuring the reliability and stability of California’s electrical grid
during peak energy demands—when solar or other renewable sources are unavailable. 6

        In 2008, EPA issued a UIC permit authorizing Panoche to operate onsite injection wells to
dispose of nonhazardous wastewater. For more than 14 years, Panoche has operated these
injection wells without issue and in compliance with the UIC permit. In addition, Panoche
voluntarily invested more than $12 million in new water and wastewater infrastructure upgrades—
upgrades that significantly reduce wastewater injection volumes and any impacts on local aquifer
demands. 7

4 See Petition for Review at 13 (EAB Dkt. # 1) (attached hereto as Attachment A).

5 Panoche does not challenge the remaining portions of the Permit, including all uncontested conditions,

which went into effect on or around December 7, 2022, or 30 days after EPA provided notice of such
uncontested conditions. See Notice of Stay dated Nov. 7, 2022 (EAB Dkt. # 2) (citing 40 C.F.R.
§ 124.16(a)(2)(i) and (ii)). Panoche’s request for a stay concerns only the contested conditions of the UIC
permit that were subject to EPA’s initial stay. See id.
6 See Petition for Review at 1.

7 See id. at 13–16.




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        In October 2017, Panoche submitted to EPA a renewal application for the UIC permit to
continue operation of its upgraded onsite injection wells. In July 2020, EPA shared an early draft
of the permit, requiring Panoche to take “corrective action” by, among other things, installing a
monitoring well within 100 feet of the Silver Creek 18 Well (“Silver Creek”), an abandoned well
located on a privately owned property >1 mile away from Panoche. Because Panoche
demonstrated that its onsite injection activities did not endanger underground sources of drinking
water, 8 EPA removed the Silver Creek monitoring well requirement when it published a draft
permit for public comment on April 12, 2021. 9 Yet, EPA included the very same requirement to
construct and operate an “ambient monitoring” well as a new “monitoring condition” in the
published draft, as well as in the Permit issued by EPA on September 30, 2022. 10 As you know,
Panoche challenged the ambient monitoring condition during the notice and comment process
and before the Environmental Appeals Board (“EAB”).

       While the agency’s decision was on appeal before the EAB, the contested conditions of
the UIC permit were automatically stayed in accordance with EPA regulations. 11 On May 26,
2023, the EAB denied Panoche’s appeal. 12

         Shortly thereafter, in your capacity as Regional Administrator, you signed and issued the
Notice of Final Permit Decision on June 7, 2023. 13 In issuing this Notice, the agency appeared
to lift the automatic stay of the contested conditions of the UIC permit, concluding that the
“contested conditions shall become fully effective and enforceable . . . two weeks after this Notice
was signed,” i.e., on June 21, 2023. 14

        Once the UIC permit’s contested conditions “become[] effective for purposes of judicial
review” on June 21, 2023, Panoche will file an appeal before the Ninth Circuit, challenging EPA’s
final agency action under the APA. 15 If EPA denies or delays ruling on Panoche’s instant request
for a stay, Panoche will also move for a stay before the Ninth Circuit. 16




8 See 40 C.F.R. §§ 144.55 and 146.7.

9 See Draft Permit Part II.C (attached hereto as Attachment B).

10 See Draft Permit Part II.E.2; Permit Part II.E.2 (attached hereto as Attachment C).

11 See Notice of Stay (EAB Dkt. # 2); see also 40 C.F.R. § 124.16(a).

12 See EAB Order Denying Review (EAB Dkt. # 14) (attached hereto as Attachment D).

13 See Notice of Final Permit Decision (attached hereto as Attachment E).

14 Id.; see also 40 C.F.R. § 23.7 (providing that the Administrator’s determination shall take effect at 1:00

p.m. eastern time “two weeks after it is signed”).
15 See 42 U.S.C. § 300j-7(a); 5 U.S.C. § 704.

16 See Fed. R. App. P. 18(a)(2).




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2.       Legal Standard

         Federal Rule of Appellate Procedure 18 permits parties seeking direct review of final
agency action by a U.S. Court of Appeals to move for a stay, either before the agency itself or the
court. 17 In the Ninth Circuit, a party requesting a stay must show that either (1) a probability of
success on the merits and the possibility of irreparable injury, or (2) serious legal questions are
raised and the balance of hardships tips sharply in the moving party’s favor. 18 “These standards
represent the outer extremes of a continuum, with the relative hardships to the parties providing
the critical element in determining at what point on the continuum a stay pending review is
justified.” 19

         Likewise, the APA provides that:

         When an agency finds that justice so requires, it may postpone the effective date
         of action taken by it, pending judicial review. On such conditions as may be
         required and to the extent necessary to prevent irreparable injury, the reviewing
         court, including the court to which a case may be taken on appeal . . . may issue
         all necessary and appropriate process to postpone the effective date of an agency
         action or to preserve status or rights pending conclusion of the review
         proceedings. 20

        EPA similarly recognizes the need for postponing the effective date of contested
conditions of UIC permits, at least pending agency review. 21

3.       Panoche Will Likely Prevail on the Merits of Its Appeal, Which Involves Serious
         Legal Questions

        EPA failed to meaningfully address a critical aspect of its determination to require off-site
monitoring: Panoche does not own the land on which EPA has ordered Panoche to construct
the multimillion-dollar monitoring well. 22 The EAB also avoided this issue in concluding that “the
Region is not required to take ownership of land into account before filing UIC permit decisions.”
However, the EAB cites to no authority in support of its position that the agency may knowingly
condition a UIC permit on requiring a permittee to construct a monitoring well on another
landowner’s property—regardless of that other landowner’s consent.




17 See Fed. R. App. P. 18(a)(1), (2).

18 See Lopez v. Heckler, 713 F.2d 1432, 1435 (9th Cir. 1983); accord Andreiu v. Ashcroft, 253 F.3d 477,

483 (9th Cir. 2001) (en banc).
19 Id. (citation omitted).

20 5 U.S.C. § 705.

21 See 40 C.F.R. § 124.16(a).

22 See Beno, 30 F.3d at 1073–74.




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         Instead, the EAB relied on inapplicable agency precedent demonstrating that EPA lacks
authority to resolve underlying property disputes raised by a “potentially impacted” landowner who
is not the UIC permittee, as between the permittee and third-party landowner. 23 By contrast here,
the property at issue is not in dispute: EPA knows that Panoche, as the UIC permittee, does not
own the planned site of the monitoring well, which will undoubtedly impact another landowner.
Certainly, EPA has some obligation to consider whether the UIC permittee owns (or can otherwise
secure the use of) a planned well site mandated by the agency. 24

        Further, the new monitoring well requirement is a substantial, unexplained departure from
the regulatory scheme underlying EPA’s UIC program. 25 Not only has EPA rejected the efficacy
of monitoring wells, 26 EPA has previously concluded that it would not require a UIC permit
applicant “to go on the property of others” as it would be “inappropriate for these regulations to
require an applicant to perform actions which may not be within his legal ability, as a condition or
recondition of obtaining a permit.” 27 Yet this is precisely what EPA has done here.

        Indeed, the agency’s regulations expressly provide that “[t]he issuance of a permit does
not authorize any injury to persons or property or invasion of other private rights or any
infringement of State or local law or regulations.” 28 Yet, by requiring Panoche to construct an
ambient monitoring well on property it does not own (with or without the consent of that
landowner), EPA appears to potentially compel Panoche to invade another landowner’s property
rights or infringe California property law—thereby violating EPA’s own regulations.

        To be sure, the landowner is within its rights to refuse to allow Panoche to construct and
maintain a well on its property. As such, to comply with the Permit in this case would in fact require
Panoche to violate California law. California landowners do not have a right to access “air, light,
and view over an adjoining property,” let alone a right to construct a 3,900-foot deep well on an
adjoining property. 29 The Ninth Circuit has ruled that, even when the government’s planning is
“wise and perfectly acceptable,” when the means to achieve those plans “may be illegal under




23 See, e.g., In re Suckla Farms, 4 E.A.D. 686, 694–95 (1993); In re Archer Daniels Midland Co., 17 E.A.D.

380, 404 (EAB 2017).
24 Even assuming that the EAB lacks the statutory authority to review (or correct) the agency’s final action

compelling a UIC permittee to potentially violate another landowner’s property rights, the Ninth Circuit
undoubtedly possesses the authority to review such unlawful agency action under the Safe Drinking Water
Act and the APA. See 42 U.S.C. § 300j-7(a); 5 U.S.C. § 704. These issues will soon be squarely before
that Court.
25 See Ctr. for Biological Diversity v. Zinke, 900 F.3d 1053, 1070 (9th Cir. 2018) (concluding an “unexplained

inconsistency” between two agency actions can render the action arbitrary and capricious).
26 See 45 Fed. Reg. 42,472, 42,499 (June 24, 1980) (explaining the “extremely high cost” and other “serious

drawbacks” of monitoring wells).
27 45 Fed. Reg. at 42,481 (emphases added).

28 40 C.F.R. § 144.35(c).

29 See Mira Mar Mobile Cmty. v. City of Oceanside, 190 Cal. App. 3d 347, 358 (Cal. 1987).




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California law,” the government “may be preventing the landowners from applying for permits to
develop their property.” 30

        Furthermore, EPA failed to meet the conditions necessary to impose an ambient
monitoring condition. Under EPA’s regulations, ambient monitoring is a discretionary
determination “based on a site-specific assessment of the potential for fluid movement from
the well or injection zone and on the potential value of monitoring wells to detect such
movement.” 31 EPA has cited no evidence that the underground sources of drinking water located
near the power plant are endangered by Panoche’s injection activities or that water quality has
deteriorated over the past 14 years. 32 This is particularly problematic, given that Panoche has
recently expended millions of dollars to upgrade its facility to significantly reduce wastewater
injection volumes and any impacts on local aquifer demands. 33 Likewise, EPA has to date failed
to explain why its ambient monitoring condition is rationally related the alleged risks posed by
Panoche’s injection activities. 34

        It is well settled that an agency violates the APA if it “offers an explanation for its decision
that runs counter to the evidence before the agency, or [if its explanation] is so implausible that it
could not be ascribed to a difference in view or the product of agency expertise.” 35 Accordingly,
there is a strong probability that Panoche would ultimately prevail on these fundamental issues—
namely, (1) whether there is sufficient evidence in the record to support EPA’s alleged concerns
regarding Panoche’s impact on underground water quality or (2) whether such concerns are
rationally related to the agency’s chosen solution of mandating the construction of a multimillion-
dollar monitoring well. 36

       These are significant legal questions that should be resolved by the judicial branch prior
to Condition II.E.2 of the Permit taking effect.

3.      Panoche Will Suffer Irreparable Injury and the Balance of Hardships Favors
        Panoche’s Request for a Stay

        Critically, if these contested permit conditions take effect on June 21 and Panoche is
thereafter required to begin constructing and maintaining the monitoring well on a neighboring
property without requisite site control, Panoche will suffer irreparable injury. On the one hand, if

30 Sederquist, 756 F.2d at 761; see also Del Monte Dunes at Monterey Ltd. v. City of Monterey, 920 F.2d

1496, 1506, 1509 (9th Cir. 1990) (concluding that plaintiffs’ unconstitutional takings, due process, and equal
protection violations were ripe for trial based on evidence showing that the government required permit
applicants to provide access “over the land of a neighboring owner” and subjecting plaintiffs to a “protracted
application process”).
31 40 C.F.R. § 146.13(b)(1) (emphasis added).

32 See Petition for Review at 19–25.

33 Id. at 13–16.

34 See id. at 26–29.

35 Beno v. Shalala, 30 F.3d 1057, 1073 (9th Cir. 1994) (quoting Motor Vehicle Mfr. Ass’n v. State Farm Ins.,

463 U.S. 29, 44 (1983)) (concluding “the record contains a rather stunning lack of evidence that the [agency]
gave plaintiffs’ objections any such consideration” or “considered the materials plaintiffs submitted”).
36 See Lopez, 713 F.2d at 1438.




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Panoche attempts to comply with the permit condition, assuming it can obtain site control, it will
expend millions of dollars on a monitoring well it contends is unlawful but before judicial review is
complete; and Panoche may have no other vehicle for recovery. 37

        On the other hand, if Panoche cannot comply with the new condition or the short timeline
set forth in the Permit, Panoche will risk being out of compliance with its Permit and shut down by
the agency. 38 The impact of a plant shutdown could be catastrophic—as about 420,000 homes
in California would lose a total of 417 megawatts of power, during the hottest months of the year.

        When courts are faced with a conflict between “preventable human suffering” and any
concerns raised by the government, they “have little difficulty concluding that the balance of
hardships tips decidedly in plaintiffs’ favor.” 39 Here, the “public interest” in the continued operation
of the power plant is substantial and “inseparable from the issues relating to the relative hardship
suffered by” Panoche. 40 Further, as noted above, EPA has no urgent need for offsite monitoring,
as it has authorized Panoche to inject its non-hazardous wastewater underground for 14 years
without issue; and EPA further stayed Condition II.E.2 while Panoche appealed that condition to
the EAB. Accordingly, to the extent that EPA has an interest in avoiding further delay of the
ambient monitoring requirement (if any), courts will favor the shared interests of the public and
Panoche, and any economic harm to Panoche for which there is “no vehicle for recovery.” 41

       In short, under any of these scenarios, Panoche would suffer irreparable harm, as would
up to hundreds of thousands of Californians. Accordingly, the balance of hardship, as between
EPA and Panoche (and the public) tips sharply in favor of Panoche.




37 See E. Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 677 (9th Cir. 2021) (concluding that “where

parties cannot typically recover monetary damages flowing from their injury—as is often the case in APA
cases—economic harm can be considered irreparable”).
38 See 40 C.F.R. § 144.40 (permitting Director to “terminate a permit during its term” for “[n]oncompliance”).

39 Lopez, 713 F.2d at 1437.

40 Id.

41 Id.; E. Bay Sanctuary Covenant, 993 F.3d at 677.




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4.      Conclusion

        For these reasons, Panoche respectfully requests an immediate stay of Condition II.E.2
of the final UIC permit pending judicial review of EPA’s final agency action. The issuance of a
stay is within EPA’s authority, 42 and it is proper for the agency to stay these contested permit
conditions in order to avoid the need for Panoche to seek the same relief from the Ninth Circuit. 43


Very truly yours,



Ankur K. Tohan
J. Timothy Hobbs

Attorneys for Panoche Energy Center, LLC




42 See 5 U.S.C. § 705 and 40 C.F.R. § 124.16(a)(1).

43 See Fed. R. App. P. 18(a)(2).




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       EXHIBIT C
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                     UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                                 REGION IX
                                         75 Hawthorne Street
                                     San Francisco, CA 94105-3901


June 2, 2023

Warren MacGillivray
Panoche Energy Center, LLC
43883 West Panoche Road
Firebaugh, CA 93622

Re: 7HPSRUDU\ Stay of UIC Permit Condition, UIC Permit No. R9UIC-CA1-FY17-2R.

Dear Warren MacGillivray

On June 13, 2023, Panoche Energy Center, LLC (“PEC”) requestHG WKDWWKH86(QYLURQPHQWDO
3URWHFWLRQ$JHQF\5HJLRQ (3$ LVVXHD stay of Part II.E.2 of its Underground Injection Control
(“UIC”) Class I Permit No. R9UIC-CA1-FY17-2R (the “Permit”) pending judicial review. In the letter,
PEC asserts that it will appeal the contested condition (Part II.E.2) to the U.S. Court of Appeals for the
Ninth Circuit on June 21, 2023, when the Permit becomes effective for judicial review purposes under
42 U.S.C. 300-j(7) and 5 U.S.C. § 705.

3HU 5 U.S.C. § 705; DQG 40 C.F.R. § 124.15(b)(3$KHUHE\JUDQWV3(&DVL[W\  GD\VWD\RI3DUW
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WKHORFDWLRQRIWKHQHZO\UHTXLUHGPRQLWRULQJZHOOAlthough not requested by PEC in its letter, EPA
ZLOO also stay the recordkeeping and reporting requirements ZKLFK are inseverable from Part II.E.2,
specifically Parts II.E.2.5.a.iv, II.E.5.a.v., and II.E.6.d.

+RZHYHULf, through good-faith efforts, PEC cannot obtain access to the property, (3$UHTXHVWVWKDW
DSSURSULDWHdocumentDWLRQRIVXFK denial of access EHVXEPLWWHGLQDGGLWLRQWRSURSRVHGalternative
location V for monitoring near the abandoned wells of concern. The alternative monitoring location V 
must provide a sufficient level of assurance that PEC’s injection activities will not impact underground
sources of drinking water near the abandoned wells. EPA may modify the Permit, as necessary, to
incorporate the alternative monitoring location into the terms of the Permit. EPA may be willing to
extend the 60-day stay if PEC GHPRQVWUDWHV that it is making reasonable efforts to obtain access or
propose a viable alternative monitoring location near the abandoned wells.

6KRXOG \RX RU the property owner haYH any questions regarding thLV DFWLRQ, SOHDVH Fontact David
Albright, UIC Program Manager, at (415) 972-3971 or albright.david@epa.gov.

                                                     Sincerely,
                                                                            Digitally signed by TOMAS
                                                                            TORRES
                                                   TOMAS TORRES             Date: 2023.06.21 09:43:45
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                                                     Tomás Torres
                                                     Director, Water Division


cc:    Ankur Tohan, Partner, K&L Gates LLP
       J. Timothy Hobbs, Partner, K&L Gates LLP
       Shelby R. Stoner, Associate, K&L Gates LLP
       Robin Shropshire, Power Plant Management Services, LLP
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                      CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2023, I arranged for the foregoing
document to be electronically filed with the Clerk of the Court for the United
States Court of Appeals for the Ninth Circuit by using the appellate CM/ECF
system.
      Participants in the case who are registered CM/ECF users will be served
by the appellate CM/ECF system.



                                              /s/ Abigail Belscher
                                              Abigail Belscher




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